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               Exhibit A
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  1                         IN THE UNITED STATES DISTRICT COURT
  2                           FOR THE DISTRICT OF SOUTH CAROLINA
  3                                            COLUMBIA DIVISION
  4
  5      CASE NUMBER:               3:21-cv-03302-JMC-TJH-RMG
  6
  7      THE SOUTH CAROLINA STATE CONFERENCE
  8      OF THE NAACP,
  9      and TAIWAN SCOTT, on behalf of himself
 10      and all similarly situated persons,
 11                         Plaintiffs,
 12      vs.
 13      HENRY D. MCMASTER, in his official
 14      capacity as Governor of
 15      South Carolina, et al.,
 16                         Defendants.
 17
 18
 19
 20
 21                                            DEPOSITION
 22                                                   OF
 23                                        BRENDA MURPHY
 24                           February 4, 2022 at 9:05 a.m.
 25

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  1      REPORTED BY:
  2                                       Jan A. Mann, CSR
  3                                Veritext Legal Solutions
  4                                260 North Joachim Street
  5                                   Mobile, Alabama 36603
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  1                           S T I P U L A T I O N S

  2

  3                   IT IS STIPULATED AND AGREED by and between the

  4      parties through their respective counsel, that the

  5      deposition of BRENDA MURPHY may be taken before Jan A.

  6      Mann, Commissioner, via videoconference on the 4th day

  7      of February, 2022.

  8                   IT IS FURTHER STIPULATED AND AGREED that the

  9      signature to and the reading of the deposition by the

 10      witness is waived, the deposition to have the same force

 11      and effect as if full compliance had been had with all

 12      laws and rules of Court relating to the taking of

 13      depositions.

 14                   IT IS FURTHER STIPULATED AND AGREED that it

 15      shall not be necessary for any objections except as to

 16      form or leading questions, and that counsel for the

 17      parties may make objections and assign grounds at the

 18      time of the trial, or at the time said deposition is

 19      offered in evidence or prior thereto.

 20                   IT IS FURTHER STIPULATED AND AGREED that the

 21      notice of filing of the deposition by the Commissioner

 22      is waived.

 23

 24

 25

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  1                                 A P P E A R A N C E S
  2
  3      APPEARING ON BEHALF OF THE PLAINTIFF:
  4          NAACP LEGAL DEFENSE & EDUCATIONAL FUND, INC.
  5          Mr. Antonio Ingram, II
  6          Ms. Leah Aden
  7          Mr. John Cusick
  8          40 Rector Street, 5th Floor
  9          New York, New York                   10006
 10
 11      APPEARING ON BEHALF OF THE HOUSE DEFENDANTS:
 12          NEXSEN PRUET, LLC
 13          Mr. Mark C. Moore
 14          Mr. Michael A. Parente
 15          1230 Main Street, Suite 700
 16          Columbia, South Carolina                        29201
 17
 18      APPEARING ON BEHALF OF THE DEFENDANT
 19      GOVERNOR MCMASTER:
 20          OFFICE OF SOUTH CAROLINA GOVERNOR
 21          HENRY MCMASTER
 22          Mr. Thomas Limehouse
 23          Mr. William Grayson Lambert
 24          1100 Gervais Street
 25          Columbia, South Carolina                        29201

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  1      APPEARING ON BEHALF OF THE SENATE DEFENDANTS:
  2           ROBINSON, GRAY, STEPP & LAFFITTEE, LLC
  3           Mr. Robert E. Tyson
  4           1310 Gadsden Street
  5           Columbia, South Carolina                          29211
  6
  7      APPEARING ON BEHALF OF ELECTION DEFENDANTS:
  8           Burr & Forman
  9           Ms. Jane W. Trinkley
 10           1221 Main Street, Suite 1800
 11           Columbia, South Carolina                          29201
 12
 13      ALSO PRESENT:
 14           Sheree Rabon
 15           Cynthia Nygord
 16           Melissia Ford
 17
 18
 19
 20
 21
 22
 23
 24
 25

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  1                   I, Jan A. Mann, CSR, a Court Reporter and

  2      Notary Public of the State of Alabama, acting as

  3      Commissioner, do certify that on this date, as provided

  4      by the Federal Rules of Civil Procedure and the

  5      foregoing stipulation of counsel, there came before me

  6      via videoconference on February 4, 2022, beginning at

  7      9:05 a.m., BRENDA MURPHY, witness in the above cause for

  8      oral examination, whereupon the following proceedings

  9      were had:

 10

 11                                 BRENDA MURPHY,

 12      being first duly sworn, was examined and testified as

 13      follows:

 14

 15      EXAMINATION BY MOORE:

 16             Q.            So good morning.           I'm ready to proceed.

 17      My name is Mark Moore and I am one of the attorneys for

 18      the House defendants.             Good morning, Ms. Murphy.               How

 19      are you?

 20             A.            Good morning.         I'm fine.         Thank you.

 21             Q.            It's a rainy day in Columbia.                I'm

 22      assuming you're in Columbia as well?

 23             A.            I am.

 24             Q.            One of our paralegals just mentioned to

 25      me that we have a woman who works with us who is also

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  1      named Brenda Murphy so -- and she brings her dog to work

  2      and that's one of my favorite parts of the day when I

  3      get to see her dog but -- so, Ms. Murphy, have you ever

  4      been deposed before?

  5               A.          Yes.

  6               Q.          Okay.     Can you tell me about that?

  7               A.          It was regarding litigation regarding

  8      the Black Bikers Week in Myrtle Beach, South Carolina.

  9               Q.          Was that the case with that went to trial

 10      before Judge Lydon?

 11               A.          I don't recall the name of the judge

 12      but it was -- I was deposed for that situation.

 13               Q.          And is that the only time you -- I'm

 14      sorry.        Is that the only time you've ever been deposed?

 15               A.          Yes.

 16               Q.          And despite the fact that you may have

 17      been deposed before, I'm required to go over some of the

 18      ground rules of the deposition with you.                      First of all,

 19      you understand you're under oath today in the federal

 20      civil proceeding and you must give truthful answers to

 21      all the questions I ask and your answers are subject to

 22      the pains and penalties of perjury.                    Do you understand

 23      that?

 24               A.          I do, yes.

 25               Q.          Okay.     Is there any reason why you don't

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   1      believe you could testify under oath today?

   2             A.            No.

   3             Q.            Okay.      And are you taking any medication

   4      or anything else that impairs your ability to listen and

   5      understand my questions?

   6             A.            No.

   7             Q.            Thank you so much.           So I'm going to be

   8      asking you questions and I'm going to try my best to be

   9      clear and concise, but if at any point you don't

  10      understand the question, please ask me to rephrase,

  11      please tell me you don't understand it, and I'll do my

  12      best to rephrase, okay?

  13             A.            I will.

  14             Q.            And because if I ask a question and you

  15      answer it, I'm going to assume that you understood my

  16      question.     Do you understand that?

  17             A.            Yes.

  18             Q.            Okay.      And if you have questions during

  19      your deposition, you're required to direct your

  20      questions to me and not your counsel.                     Please wait until

  21      I finish my question before answering so the court

  22      reporter has an opportunity to take everything down.

  23      It's very important that you and I not try to talk over

  24      each other and I'm bad about that and I'm going to try

  25      my best not to do it, okay?

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   1             A.            Okay.

   2             Q.            And so please wait again until I finish

   3      my question before you answer and please give verbal

   4      responses because the court reporter is required to take

   5      everything down.            So as I understand it, is that

   6      Mr. Ingram with you this morning?

   7             A.            Yes.

   8                           MR. INGRAM:        Yes.

   9             Q.            Okay.     And Mr. Ingram is going to be

  10      defending the deposition.               Is that correct?

  11             A.            Yes.

  12             Q.            Okay.     And so while Mr. Ingram may object

  13      to the form of certain questions, if he makes such an

  14      objection, you still have to answer my question unless

  15      he instructs you not to answer.                  Do you understand?

  16             A.            Yes.

  17             Q.            Okay.     And if you need to take a break,

  18      use the restroom, to go get a glass of water, just ask

  19      and we'll take a break.              The only thing I ask is if we

  20      take a break, I would need you to answer the question

  21      that's pending before we take a break.                        Do you

  22      understand that?

  23             A.            Yes.

  24             Q.            Okay.     And when we take a break, if you

  25      have any conversations with counsel about the substance

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   1      of your testimony, I'm going to be allowed to ask about

   2      those conversations.             Do you understand that?

   3               A.          Yes.

   4               Q.          And I do want this understood upfront and

   5      I may say it again when I get to certain questions but I

   6      want to be very clear that I'm not seeking confidential

   7      information or communications between you and your

   8      counsel.        And so if you can't answer a question without

   9      getting into that sort of information, just please let

  10      me know, okay?

  11               A.          I will.

  12               Q.          Okay.      And so where are you located

  13      today?        Where are you physically located?

  14               A.          At the South Carolina State Conference

  15      office in --

  16               Q.          Okay.      I'm sorry.

  17               A.          In Columbia, South Carolina.

  18               Q.          Okay.      And is anyone in the room with you

  19      other than Mr. Ingram?

  20               A.          No.

  21               Q.          Okay.      Do you have any materials in front

  22      of you?

  23               A.          No.

  24               Q.          Okay.      Did you bring any materials to

  25      this deposition?

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   1             A.            No.

   2             Q.            Is anyone providing input to you by

   3      phone, text, email or otherwise during the deposition?

   4             A.            No.

   5             Q.            And as I noted to counsel, I don't

   6      believe that we're going to be able to conclude this

   7      deposition today because the plaintiffs have still not

   8      produced all of the documents that may be relevant to

   9      your deposition.

  10                           We just received the first production

  11      from the plaintiffs last night, and so while I may ask

  12      some questions about some documents that were produced

  13      last night, we're going to hold this deposition open and

  14      we will finish this deposition, if necessary, at a later

  15      date after we -- after your document production is

  16      complete and after we've had a meaningful opportunity to

  17      review those items.             Do you understand that?

  18             A.            I do.

  19             Q.            Okay.      I intend to ask you questions

  20      about your personal knowledge, okay.                    If Mr. Ingram

  21      objects to my questions, under our rules and under our

  22      local rules, he can object but he cannot object in a way

  23      that suggests to you an answer.                  The extent of his

  24      objections other than to the form, if he directs you not

  25      to answer on the basis of privilege.                    Do you understand

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   1      these instructions?

   2              A.           Yes.

   3              Q.           And do you have any questions before we

   4      get started?

   5              A.           I do not.

   6              Q.           Okay.     Thank you so much, Ms. Murphy.

   7                           MR. INGRAM:        One clarification point,

   8      Mark.    You are asking questions as to her personal

   9      knowledge as president of the NAACP South Carolina

  10      chapter and this is not a 30(b)(6) deposition.

  11                           MR. MOORE:        This is not a 30(b)(6)

  12      deposition.         As I mentioned to Mr. Bryant (sic), while

  13      we are I guess having a lot of flexibility in terms of

  14      scheduling depositions, I believe that a true 30(b)(6)

  15      deposition has to be -- notice as to be provided with

  16      respect to topics and those topics have to be discussed.

  17      This is not a 30(b)(6) deposition.

  18                           MR. INGRAM:        Thank you.

  19                           MR. MOORE:        Yes, sir.       And if I ask a

  20      question that you think veers into that realm, Mr.

  21      Ingram, I'm sure you will object.

  22                           MR. INGRAM:        Correct.

  23              Q.           Okay.     So there are a number of attorneys

  24      who I guess are here today for the plaintiffs.                        Mr.

  25      Ingram, Mr. Cusick, Ms. Aden.                 Are all of those your

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   1      attorneys, Ms. Murphy?

   2              A.           They are attorneys but all are from LDF

   3      and are part of a coalition that was formed in I think

   4      around August of last year.

   5              Q.           And so who do you believe represents you

   6      in the South Carolina Chapter of the NAACP?

   7              A.           For today, Mr. Ingram, Attorney Ingram.

   8              Q.           Okay.      What about Mr. Cusick and Ms.

   9      Aden?    Do they represent you as well?

  10              A.           They are attorneys that are on the

  11      coalition, yes.

  12              Q.           Okay.      And who else represents you in

  13      this lawsuit if you know?

  14              A.           There were several members of the

  15      coalition.     ACLU was also one of the members, partners

  16      in the coalition.

  17              Q.           Okay.      And I'm going to ask about the

  18      coalition.     I'm going to ask a number of questions later

  19      but are you paying anyone to represent you in this case?

  20              A.           No.

  21              Q.           Okay.      And are you paying Mr. Ingram to

  22      be here with you today?

  23              A.           No.

  24              Q.           Okay.      So none of the attorneys who are

  25      representing the NAACP are being paid by the NAACP.                         Is

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   1      that right or wrong?
   2               A.            That's correct.
   3               Q.            Okay.      And so I don't want to go into any
   4      conversations you had with your lawyers but could you
   5      tell me what you've done to prepare for this deposition
   6      today?
   7               A.            The only thing that I have done is
   8      basically make sure I have a clear understanding of
   9      what to expect, and when I say what to expect, that is
 10       some of the same things that you talked to me about
 11       and that's it basically.
 12                Q.            Okay.      So did you meet with someone to
 13       prepare yourself for your deposition?
 14                A.            Yes, I did.
 15                Q.            And who did you meet with and when and
 16       for how long?
 17                A.            It was the LDF staff, the ones that are
 18       online here today.              And basically there were two
 19       opportunities for me to ask for clarification in terms
 20       of what to expect, not in terms -- just what to
 21       expect.
 22                Q.            Okay.      So you had two separate meetings.
 23       Is that right?
 24                A.            Correct.
 25                Q.            Were those meetings in person or

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   1      conducted via Zoom or by phone?
   2              A.             They were not in person.                They were by
   3      Zoom.
   4              Q.             And when were they?
   5              A.             Those were this week.
   6              Q.             Okay.      Can you tell me what days and for
   7      how long?
   8              A.             One was I think it was Tuesday or
   9      Wednesday.          You know, in terms of my schedule, it's
 10       been pretty busy.              And then for a period yesterday.
 11               Q.             Okay.      About how long was the first one,
 12       the first session?
 13               A.             I would say approximately an hour.
 14               Q.             Okay.      And the second session?
 15               A.             Both were about the same.
 16               Q.             Okay.      And did you review any documents
 17       in those sessions?
 18               A.             No.
 19               Q.             Okay.      Have you reviewed any documents to
 20       prepare yourself for your testimony here today?
 21               A.             No, I have not reviewed -- I haven't
 22       had time because of the notice given for this
 23       deposition today with everything else I had going on.
 24               Q.             Okay.      So did you review the complaints
 25       that have been filed in federal court?                         And I guess now

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   1      there are three, an initial complaint, an amended
   2      complaint, and a second amended complaint.                            Have you
   3      reviewed those documents, Ms. Murphy?
   4              A.             I received copies of those complaints,
   5      yes.
   6              Q.             Okay.      Did you review them?
   7              A.             We review and I am speaking on behalf
   8      of the South Carolina State Conference.                          We have
   9      reviewed those documents as a coalition.                          In terms of
 10       the complaints, we all as a coalition discussed the
 11       complaints that -- prior to submission and all were in
 12       agreement.
 13               Q.             So you reviewed each of these complaints
 14       prior to their submission to the federal court?
 15               A.             The coalition reviewed them.
 16               Q.             Okay.      Were you a part of the coalition
 17       that conducted that review I guess is my question?
 18               A.             Yes.
 19               Q.             Okay.      So did you personally review them
 20       is my question?
 21               A.             I reviewed them in concert with the
 22       coalition.
 23               Q.             And did you review any of the discovery
 24       that has been submitted in this case?
 25               A.             Some of it, not all of it because that

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   1      I received late as well.

   2              Q.           And were you asked to produce any

   3      documents to your lawyers?

   4              A.           We were asked to produce documents and

   5      we submitted those documents.

   6              Q.           And when were those documents -- what

   7      were the documents that were asked to be submitted and

   8      when were they submitted?

   9              A.           Minutes of our coalition meetings.

  10      Well, any meetings regarding redistricting so those

  11      included our coalition meetings.                  Training, documents

  12      regarding training that we had had regarding

  13      redistricting, and any minutes that the South Carolina

  14      State Conference executive committee may have

  15      submitted regarding redistricting.

  16              Q.           So were you asked to submit any documents

  17      other than the minutes and these training materials that

  18      you just mentioned?

  19              A.           No.

  20              Q.           And when did you submit these documents?

  21              A.           I think we began the submission

  22      Wednesday.

  23              Q.           Okay.      But when were you asked to submit

  24      them?    Were you asked to submit them on the day you

  25      began the submission?

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   1             A.            I think it was either Monday or -- it

   2      was maybe Monday of this week.

   3             Q.            Okay.      All right.       So before that time,

   4      no one had asked you for any documents?

   5             A.            No.

   6             Q.            And no one had attempted to collect any

   7      documents from you to your knowledge?

   8             A.            What was that question again?

   9             Q.            No one had collected any documents from

  10      you to your knowledge?

  11             A.            No.

  12             Q.            Okay.      And from your organization.             Is

  13      that correct?

  14             A.            Yes.

  15             Q.            And from this broader coalition?                 To your

  16      knowledge, were any documents asked to be collected from

  17      this broader coalition if you know?

  18             A.            I do know that because the minutes are

  19      kept by our staff so, no, none were.

  20             Q.            Okay.      All right.       And we've talked for a

  21      few minutes but I always need to know a little bit about

  22      the person I'm talking to.                Can you tell me, Ms. Murphy,

  23      where are you from?

  24             A.            I am a South Carolinian born in a

  25      little town called Ridgeway, South Carolina but

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   1      currently have lived most of my life here in Columbia.
   2               Q.            Okay.      And so you were born in Ridgeway.
   3      When did you move to Columbia?
   4               A.            Six years old.
   5               Q.            Okay.      All right.        And where do you
   6      reside in Columbia?               What's your address?
   7               A.            115 Saxonbury Drive, Columbia, South
   8      Carolina.
   9               Q.            Okay.      Do you know what House district
 10       you reside in?
 11                A.            Yes.
 12                Q.            And what House district is that?
 13                A.            77.
 14                Q.            Okay.      And you know who the current
 15       representative is for that House district?
 16                A.            Yes, I do.
 17                Q.            And who is that?
 18                A.            Leon Howard.
 19                Q.            Okay.      And you know Mr. Howard?
 20                A.            Yes, I know him as a representative.                     I
 21       certainly do.
 22                Q.            Okay.      Do you speak to him on a regular
 23       basis?
 24                A.            I wouldn't say I speak to him on a
 25       regular basis.            Only an as-need basis.

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   1              Q.             Do you know other representatives who are
   2      currently in the House of Representatives?
   3              A.             Yes.
   4              Q.             And who else do you know personally?
   5              A.             I don't know any of them personally.
   6              Q.             Okay.      Do you socialize with any of them?
   7              A.             No.
   8              Q.             Okay.      Do you meet with them on occasion?
   9              A.             On an as-need basis.
 10               Q.             Okay.      So let me ask this question.
 11       Prior to the submission of this first complaint in
 12       October of 2021, did you meet with any members of the
 13       House of Representatives to discuss any redistricting
 14       matters?
 15               A.             No.
 16               Q.             Okay.      All right.        Between the time that
 17       that initial complaint was presented and the House and
 18       Senate passed a plan, did you meet with any House
 19       members of the House of Representatives?
 20               A.             No.
 21               Q.             Did not meet with them at all to discuss
 22       redistricting?
 23               A.             The only -- in terms of -- we've had
 24       meetings.      I can think of one occasion where perhaps a
 25       NAACP member that was a member -- that is also a

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   1      member of the NAACP participated in one of our
   2      community meetings.               I would say meetings with
   3      presidents and members interested in attending.                             That
   4      was the only occasion.
   5              Q.             When you use the term "we", to whom do
   6      you refer?
   7              A.             I am talking about the coalition.
   8              Q.             Okay.      And who is this representative to
   9      whom you refer?
 10               A.             I --
 11                              MR. INGRAM:         Objection.         Asking for --
 12       I'm going to instruct my client not to answer.                            That's
 13       asking for the identity of a NAACP member.
 14                              MR. MOORE:        I don't believe that's --
 15       is that a privileged -- you're instructing your client
 16       not to answer when I ask her who she met with.                            Is
 17       that correct?
 18                              MR. INGRAM:         The answer would reveal
 19       the name of a member and a partial disclosure of a
 20       membership list and we would be happy to submit a
 21       motion under Federal Rules of Civil Procedure
 22       30(b)(1) and there's Supreme Court case law, NAACP v.
 23       Alabama that places precedent as a compelling sort of
 24       prevention of this disclosure.
 25                              MR. MOORE:        Well, then you're going to

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   1      need to file a motion for protective order.

   2             Q.            And so, Ms. Murphy --

   3             A.            Yes.

   4             Q.            -- have you met with any member of the

   5      House of Representatives or have you been at any meeting

   6      where a member of the House of Representatives, whether

   7      they are or aren't a member of the NAACP, has attended

   8      those meetings prior to the passage of the Senate and

   9      House plans?

  10             A.            Now, are you asking if I met --

  11             Q.            I'm asking if you met or were at a

  12      meeting when one of those House of Representatives

  13      members attended?

  14             A.            He attended -- the person attended as a

  15      member of the NAACP.             We are a non -- may I make a

  16      comment?

  17             Q.            Yes, ma'am.

  18             A.            We are a nonpartisan organization,

  19      nonprofit, and if there's anything that I do is make

  20      sure that all discussions are nonpartisan.                      Any

  21      discussion that we have, it is done in such a

  22      manner -- we are concerned about the citizens, the

  23      black citizens of this state and their -- ensuring

  24      justice in terms of their rights.

  25                           There is no discussion about a

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   1      political -- if somebody is there to talk politics in
   2      a way, that is not acceptable.                     We do not consider it.
   3      And the work that we do even in terms of redistricting
   4      has been done in such a way that it's for the people
   5      and we have not considered an incumbent.
   6              Q.             This meeting that you refer to, where was
   7      the meeting held?
   8              A.             It was a Zoom meeting.
   9              Q.             Okay.      Were members of the public invited
 10       to attend?
 11               A.             It was for presidents of -- the
 12       leadership of the branches throughout the state.                             It
 13       included presidents and their members who wanted to
 14       join the meeting.
 15               Q.             And why was this representative there?
 16               A.             He's a member of the NAACP.
 17               Q.             Was this meeting open to all members of
 18       the NAACP?
 19               A.             It was.
 20               Q.             Okay.      Was it announced publicly to all
 21       members of the NAACP?
 22               A.             It was announced -- it was announced to
 23       presidents and secretaries and they were to invite
 24       members that wanted to attend.
 25               Q.             And how many people attended this

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   1      meeting?
   2              A.             If I recall, approximately a hundred.
   3      It may have been more but I know -- I know -- I would
   4      say approximately a hundred.
   5              Q.             And was redistricting discussed?
   6              A.             We talked about redistricting, sharing
   7      the maps -- mapping that had been done by the House
   8      subcommittee, Senate subcommittee and feedback --
   9      requested feedback from those individuals that were
 10       present.
 11               Q.             And when was this meeting?
 12               A.             I don't have the minutes in front of
 13       me.    I don't know.
 14               Q.             Were there minutes of that meeting kept?
 15               A.             That was a coalition meeting.                  I
 16       don't -- I don't think -- no, minutes were not kept
 17       because that was a general meeting and it involved all
 18       coalition members and it was basically for the
 19       membership, the leadership and membership of the NAACP
 20       to provide feedback regarding mapping.
 21               Q.             So I've seen -- I saw produced late last
 22       night a number of minutes of a number of meetings.                              Do
 23       you keep minutes for all of the meetings of the
 24       coalition that you just mentioned?
 25               A.             We keep the minutes for our weekly

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   1      meetings.     They are scheduled weekly.                  Sometimes we do

   2      not meet dependent on the need but we have scheduled

   3      meetings for the coalition weekly.

   4             Q.            Do you keep minutes of those?

   5             A.            Yes.

   6             Q.            Okay.      Were minutes kept of this meeting?

   7             A.            No.

   8             Q.            Can you tell me why minutes were not kept

   9      of this particular meeting?

  10             A.            Well, it really wasn't my -- my

  11      meeting, the state conference meeting.                        It was more of

  12      a meeting of the coalition to listen to the

  13      membership.

  14             Q.            What membership?

  15             A.            The NAACP leadership, presidents from

  16      throughout the state of South Carolina and their

  17      members.

  18             Q.            Were the members of your coalition also

  19      invited?     For example, were folks from the ACLU invited?

  20             A.            Yes, it was -- yes, they were in

  21      attendance as a matter of fact.                  They were there as --

  22      and also receiving feedback because in terms of

  23      mapping and recommendations for mappings, we have to

  24      use our resources to help us with this because I don't

  25      have the luxury of having the staff that can do the

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   1      analytical work that needs to be done.                         So we have to
   2      depend on our partners who have worked with us over
   3      the years.
   4                             Redistricting is not a new initiative
   5      for the South Carolina State Conference.                          It is
   6      something that has been happening here for the -- at
   7      least I can say the last thirty years.                         We have always
   8      used resources.            LDF and ACLU, AFL-CIO, others that I
   9      could name that are participants and I think you have
 10       a list of who our coalition is.                     We have worked
 11       together for years when it comes to using them,
 12       consulting with them as need be.                      So this is nothing
 13       new that has happened this year.
 14               Q.             I understand that, ma'am.                 I'm just
 15       trying to figure out how many -- who all was in
 16       attendance.          For example, were some of the lawyers who
 17       are with you today, were they in attendance at that
 18       meeting?
 19               A.             Yes.     I just stated they were.
 20               Q.             Okay.      And I've seen a number of minutes
 21       and we're going to get to those in a little bit.                             And
 22       those minutes reflect everyone who is in attendance
 23       whether they are or aren't a member of the NAACP.                              Is
 24       that right?
 25               A.             Yes.

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   1              Q.           Okay.     I'm wondering why there were no

   2      minutes of this particular meeting.

   3              A.           Well, I guess, as you asked, were some

   4      of the lawyers or I would refer to them as our

   5      partners that have been associated with us for years

   6      in terms of providing information not only for this,

   7      in terms of redistricting but, you know, assisting

   8      during the time of COVID in terms of providing

   9      supplies to us, providing information to us as we

  10      educate our members and communities regarding in this

  11      case what redistricting is all about, what it means,

  12      the importance of being involved as members of the

  13      community.

  14                           So, yes, they were there and, yes, they

  15      have been there since the coalition was formed and

  16      they were invited because of their resourcefulness in

  17      terms of having some of the tools that we don't have,

  18      as I said earlier, in terms of the analytics that

  19      relate -- regarding mapping, assisting with the

  20      interpretation --

  21              Q.           I hate to cut you off but that really

  22      isn't responsive to my question.                  My question was simply

  23      this.    You have minutes from a number of other meetings.

  24      Who made the decision that you weren't going to have

  25      minutes for this meeting and who made the decision that

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   1      those minutes would not identify this legislator that
   2      you refuse to identify?
   3              A.             Minutes were not even discussed as
   4      being an option because this was an open forum.
   5              Q.             Open to -- when you say it was an open
   6      forum, could I have attended?
   7              A.             Well, if you wanted to, yes.
   8              Q.             Okay.      So I could have attended?
   9              A.             Yes.
 10               Q.             I'll come back to this in a minute.                     So
 11       let me ask you this.               Do you vote?
 12               A.             Do I what?
 13               Q.             Do you vote?
 14               A.             Yes, I vote.
 15               Q.             Okay.      And how many elections would you
 16       say you voted for since 2000?
 17               A.             I voted in every election.
 18               Q.             Okay.      And do you make political
 19       contributions?
 20               A.             No.
 21               Q.             Okay.      Are you affiliated with a
 22       particular political party?
 23               A.             Sir, whenever -- do I -- no, I don't
 24       say whether I am an affiliate of any party.                           No, I do
 25       not.

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   1               Q.          Okay.     How do you typically tend to vote?

   2      Do you tend to vote more for the Democratic Party or the

   3      Republican Party?

   4               A.          I vote for the person that's going to

   5      represent my needs in -- and is reflective of what the

   6      needs of my community is.

   7               Q.          Okay.     But that doesn't really answer my

   8      question.        Do you tend to vote more for candidates of

   9      one party over another?

  10                           MR. INGRAM:        Objection.       Relevance.

  11               Q.          Okay.     You may answer.

  12               A.          My answer is the same.             I do not vote

  13      and I have not counted the number of times that I

  14      voted democratic or republic.                 My vote is for the best

  15      person that serves the needs of the community.

  16               Q.          Have you voted for a Republican candidate

  17      in any presidential election since 2000?

  18                           MR. INGRAM:        Objection.       Outside the

  19      scope.        She's not a personal plaintiff.                She's a

  20      president of NAACP South Carolina branch.

  21               Q.          You may answer, Ms. Murphy.               Ms. Murphy,

  22      I need an answer from you.

  23               A.          My vote for president has been

  24      Democratic.

  25               Q.          Okay.     Have you voted for any Republican

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   1      candidate for governor since 2000?
   2                             MR. INGRAM:         Objection.
   3              A.             May I ask a question?
   4              Q.             No, ma'am.        Oh, you may ask a question to
   5      me, yes, ma'am.
   6              A.             This hearing is about the South
   7      Carolina State Conference and its work regarding
   8      redistricting.            How is the way that I vote related to
   9      redistricting?
 10               Q.             I'm not going to answer that question.
 11       You can ask me questions about process.                          I posed a
 12       question to you.             Have you voted for any Republican
 13       candidate for governor since 2000?                       Could you please
 14       answer --
 15                              MR. INGRAM:         Objection.         Asked and
 16       answered.
 17                              MR. MOORE:        I've never gotten an answer,
 18       Mr. Ingram.
 19               Q.             Could you please answer my question,
 20       Representative Murphy -- Ms. Murphy?
 21                              MR. INGRAM:         I'm going to instruct my
 22       client not to answer.
 23                              MR. MOORE:        On what basis?           Are you
 24       instructing your client not to answer on the basis that
 25       it's privileged?

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   1                           MR. INGRAM:        She is a representative in

   2      the capacity of the South Carolina State Conference, not

   3      individual plaintiff.             Your questions are beyond the

   4      scope.

   5                           MR. MOORE:       Okay.      So you're instructing

   6      her not to answer --

   7                           MR. INGRAM:        Correct.

   8                           MR. MOORE:       -- so I'm clear?

   9                           MR. INGRAM:        Correct.      She does not have

  10      to disclose her personal political preferences for the

  11      scope of this litigation.

  12                           MR. MOORE:       Well, I guess that's a

  13      question the Court will have to answer because you're

  14      going to need to file a protective order motion.

  15               Q.          So what do you do for a living, Ms.

  16      Murphy?

  17               A.          I am a retired nurse.

  18               Q.          Okay.     And can you tell me a little bit

  19      about your educational background?                   Where did you go to

  20      school?

  21               A.          I received my bachelor's degree and my

  22      master's degree from the University of South Carolina,

  23      the Columbia campus.

  24               Q.          And when did you graduate?

  25               A.          In --

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   1               Q.            To the best of your recollection.
   2               A.            I can tell you when I graduated.
   3               Q.            Okay.
   4               A.            I graduated in 1975.
   5               Q.            Okay.      And as a nurse, did you work --
   6      what sort of work -- did you work in a hospital?                             Did
   7      you work in a doctor's office?                     What sort of work did
   8      you do?
   9               A.            I worked for the veterans of this
 10       country.      I am a retired Department of Veterans
 11       Affairs nurse working primarily starting as a clinical
 12       nurse and my last position was associate chief nurse.
 13                Q.            And so did you work at the Veterans
 14       Administration Hospital here in Columbia?
 15                A.            I worked at the VA hospital here in
 16       Columbia, Brooklyn, New York, New York City, and
 17       Charleston, South Carolina.
 18                Q.            Okay.      And so when you were working in
 19       Brooklyn, did you live in Brooklyn, Ms. Murphy?
 20                A.            Yes, I did.
 21                Q.            And so how long did you live in Brooklyn?
 22                A.            I was in Brooklyn I think it was four
 23       years.
 24                Q.            Okay.      And I hate to ask a lady her age
 25       so I'm not going to ask you your age but about how many

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   1      years would you say you've lived in the state of South
   2      Carolina?      Just give me a ballpark.
   3              A.             Most of my life.            All but -- in South
   4      Carolina, all but five years.
   5              Q.             Okay.      And have you lived in any other
   6      area of South Carolina other than Columbia?                           You
   7      mentioned Charleston.                Did you live in the Charleston
   8      area for a time?
   9              A.             Yes, I did.
 10               Q.             Okay.      And how long did you live there?
 11               A.             Nine years.
 12               Q.             Okay.      And are you married, Ms. Murphy?
 13               A.             Yes, I'm married.            And let me just add
 14       also, I served as -- in the U.S. Army Nurse Corps
 15       reserve unit.
 16               Q.             Yes, ma'am.         And what does your husband
 17       do?    Is he also retired?
 18               A.             He's retired.
 19               Q.             Okay.      And where is he from?
 20               A.             Here in Columbia, South Carolina.
 21               Q.             Okay.      And do you have any children?
 22               A.             I have three children.                Yes.
 23               Q.             Okay.      And do they live in the Columbia
 24       area or do they live elsewhere?
 25                              MR. INGRAM:         Objection.

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   1              Q.             You may answer, Ms. Murphy.
   2              A.             Yes, all in Columbia.
   3              Q.             Okay.      And so what areas of the state of
   4      South Carolina would you say you're familiar with?
   5              A.             All of them.
   6              Q.             Okay.      And how long have you been a
   7      member of the NAACP?
   8              A.             Since nineteen eighty -- around 1985.
   9      I'm thinking '85.
 10               Q.             And how long have you been in the role of
 11       the president of the NAACP?
 12               A.             Four years.
 13               Q.             Okay.      Prior to that time, did you serve
 14       in any sort of leadership role?
 15               A.             I was the advisor for the youth and
 16       college division.
 17               Q.             Okay.      Are you a member of any other
 18       organizations?
 19               A.             I am.
 20               Q.             Can you tell me the other organizations
 21       that you are a member of?
 22               A.             I am a member of (unintelligible).
 23                              (Court reporter clarification.)
 24               A.             The Order of Eastern Stars.
 25               Q.             Yes, ma'am.         What others?

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   1              A.             The Daughters of South Carolina.                   The
   2      Golden Circle.            These are all Prince Hall affiliated
   3      Masonic Orders.
   4              Q.             Yes, ma'am.
   5              A.             I am a member of the American Nurses
   6      Association, the South Carolina Nurses Association.
   7      Also Chi Eta Phi Nursing Sorority.                       I'm a founding
   8      member of that sorority.                 Those are the primary ones.
   9              Q.             And so do you know how many members the
 10       South Carolina State Conference of the NAACP has
 11       currently?
 12               A.             Approximately thirteen thousand.
 13               Q.             Okay.      And how does one become a member?
 14               A.             You simply become a member by -- if you
 15       desire to join, then you just complete an application.
 16               Q.             Okay.      Do you have to pay dues or
 17       anything of that nature?
 18               A.             Yes.     Dues are required.
 19               Q.             Okay.      And what are the dues?
 20               A.             There is a thirty dollar cost for an
 21       annual membership.              You can also buy -- purchase a
 22       lifetime membership.
 23               Q.             Okay.      What's the cost of the lifetime
 24       membership, Ms. Murphy?
 25               A.             There are three different categories.

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   1      Well, Junior Life is one you have to purchase before
   2      moving up to Diamond and Silver.                      I would say the cost
   3      would be -- a member without having to pay any other
   4      dues is six hundred -- seven hundred and fifty
   5      dollars.
   6               Q.            Okay.      And when you say this approximate
   7      thirteen thousand figure, that's -- those are folks who
   8      are members of the South Carolina State Conference of
   9      the NAACP.          Is that right?
 10                A.            Yes.     We are a conference of branches
 11       so the branches make up the membership of the state
 12       conference.          So branches that are located in the
 13       different counties, that's -- our membership comes
 14       from those branches.               So it's a conference of
 15       branches.      So within that conference of branches, it's
 16       approximately thirteen thousand members, yes.
 17                Q.            Is the state conference somehow related
 18       to the national conference of the NAACP?
 19                A.            Yes, we are.
 20                Q.            Okay.      And could you explain that
 21       relationship to me?
 22                A.            Organizationally, they have oversight
 23       of the South Carolina State Conference.                          So is that
 24       clear?
 25                Q.            Yes, ma'am.

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   1               A.            Okay.
   2               Q.            And what's the relationship between the
   3      national conference of the NAACP and the Legal Defense
   4      Fund if you know?
   5               A.            They are two separate organizations.
   6               Q.            Okay.      Do they work together if you know?
   7               A.            They do work -- I wouldn't say they
   8      work together on everything but they do work together.
   9      And I'm not able to say how the national and the
 10       national LDF, how they work together.                         You know, my
 11       association is primarily with the -- here at the state
 12       level so that would need to be something that would
 13       need to be clarified regarding how they work together
 14       by the national and the national office of LDF.
 15                Q.            Okay.      And you mentioned earlier that you
 16       consider your organization to be nonpartisan.                            Is that
 17       right?
 18                A.            That's right.
 19                Q.            Okay.      Explain that.          Why do you consider
 20       your organization to be nonpartisan?
 21                A.            We do not engage in political
 22       activities with one particular party.                         We do not
 23       advocate for one party or the other.                         It's just not a
 24       part of our agenda.
 25                Q.            Does your organization -- and I'm

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   1      referring to the South Carolina State Conference of the
   2      NAACP.        Do you endorse candidates in --
   3               A.            No.
   4               Q.            You do not?
   5               A.            No, we do not.           No.
   6               Q.            Have you ever gone to -- do you support
   7      particular candidates?
   8               A.            No, I do not.
   9               Q.            Okay.      Have you ever gone to a campaign
 10       rally for a particular candidate?
 11                              MR. INGRAM:         Objection.
 12                A.            No.
 13                Q.            You may answer, Ms. Murphy.
 14                A.            No.
 15                Q.            Okay.      All right.          And so have you
 16       reviewed your organization's responses to our -- have
 17       you reviewed your objections and responses to our first
 18       set of request for admissions?
 19                A.            No.
 20                Q.            Okay.      So I'm going to put a document up
 21       on the screen.
 22                               (Whereupon, Defendant's
 23                               Exhibit 1 was marked for
 24                               identification.)
 25                              MR. MOORE:        Let's put up Exhibit Number

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   1      1, Ms. Rabon.           I don't see it.            Is it up?
   2                             MR. INGRAM:         We're refreshing now.             Let's
   3      see if it loads on the platform.
   4                             MR. MOORE:        Who's on for Veritext?
   5                             MR. INGRAM:         It popped up on our end.
   6                             MR. MOORE:        It has?        You do have it?
   7                             MR. INGRAM:         Exhibit 1.
   8              Q.             Take a look at that document, Ms. Murphy.
   9      Have you ever seen that document before?                          Have you seen
 10       that document, Ms. Murphy?
 11               A.             I'm reviewing it now.
 12               Q.             Yes, ma'am.
 13               A.             I'm looking at it.             This is request for
 14       documents?
 15               Q.             It's an objection to a request for
 16       documents.
 17                              MR. PARENTE:          I don't see it on that big
 18       screen.
 19                              MR. INGRAM:         This is actually objection
 20       to the first set of request for admissions.
 21                              MR. MOORE:        That's correct.
 22                              MR. INGRAM:         Not documents.
 23               Q.             Have you seen this document before, Ms.
 24       Murphy?
 25                              MR. MOORE:        You're correct, Mr. Ingram.

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   1      Thank you.
   2              A.             Okay.      Now --
   3                             MR. INGRAM:         Is there a specific portion
   4      of the document that Ms. Murphy should be looking at?
   5                             MR. MOORE:        Well, I've asked the question
   6      first of all if she's ever seen the document.                            I would
   7      like a response to that question and then I will point
   8      her to a particular portion.
   9              A.             Okay.      I can't say -- I've had so many
 10       documents, I can't say that I have not, okay.                            So is
 11       there a particular area that you want --
 12               Q.             I'm about to focus you there as soon as I
 13       got a response to my question.                     If you could turn to
 14       page 8.
 15               A.             Page 8.       Okay.      I'm on page 8.
 16               Q.             Okay.      Do you see request number six?
 17       And are you looking at a hard copy document or are you
 18       looking at the document on the screen?
 19               A.             On the screen.
 20               Q.             Okay.      All right.        And so where it says
 21       request number six, do you see that?
 22               A.             Yes.
 23               Q.             Okay.      It says admit the SCNAACP's
 24       federal employee identification number is XX-XXXXXXX.
 25       And there's an objection.                  Do you know if that is the

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   1      SCNAACP's EIN number?

   2             A.            I provided the EIN number.

   3             Q.            You provided -- so what is the EIN number

   4      that you provided, Ms. Murphy?

   5             A.            I don't have that directly in front of

   6      me.

   7             Q.            Well, if you flip over to the next page,

   8      page 9, it says that that is admitted.                       Do you see that?

   9             A.            Okay.     Just one second.          Page 9?

  10             Q.            Yes, ma'am.

  11             A.            Okay.

  12             Q.            Do you see that?

  13             A.            Okay.     Admit -- we submitted it.              Now I

  14      see that other number.              That's different, isn't it?

  15      I'd have to scroll back to look at that but we

  16      provided that number that was requested.

  17             Q.            Let me ask you this question.                What's the

  18      official name of your organization?

  19             A.            The South Carolina State Conference --

  20      NAACP South Carolina State Conference of Branches.

  21             Q.            Okay.     And where was it established?

  22             A.            It was established in 1939.

  23             Q.            And when was it established?

  24             A.            I think it's April, March or April.

  25             Q.            And do you agree that your request for

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   1      admission, it meant that the SC NAACP is unincorporated,

   2      it is an association as well as a 501(c)(4 organization

   3      and that its employment identification number is the

   4      number that we just saw?              You see that on the site.              Is

   5      that right, Ms. Murphy?

   6              A.           I'm looking at page 9 and what my

   7      statement is I can't validate that without looking at

   8      the number.         I don't know it by, you know -- I just

   9      can't tell you what it is but I will say that we

  10      provided the EIN number for the state conference.

  11              Q.           Okay.     Well, if you look at page 8 and

  12      page 9 together, would you agree with me that it admits

  13      that the EIN number is XX-XXXXXXX?

  14              A.           I will have to validate the number.                 I

  15      will say this, that our EIN numbers, we don't generate

  16      them.     Our EIN numbers are provided to us by the

  17      national office.

  18              Q.           I understand that, ma'am.               It's a very

  19      simple question.           The request to admit that has been

  20      filed by your organization admit that that is your EIN

  21      number based on this document, correct?

  22              A.           I will admit that the number that I

  23      gave to -- when it was requested was the EIN number of

  24      record.

  25              Q.           Well, but you would agree with me that

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   1      this document that I put before you says that the NAACP
   2      admits that its EIN number is XX-XXXXXXX.                             That's what
   3      this document says, does it not?
   4               A.            The documents states that, yes.
   5                              (Whereupon, Defendant's
   6                              Exhibit 2 was marked for
   7                              identification.)
   8               Q.            All right.         So let's put up Exhibit
   9      Number 2 and let us know when it's on your screen.                               Is
 10       it your on your screen yet?
 11                A.            No.
 12                              MR. MOORE:         Erin, are you on?
 13                              MR. INGRAM:         Give us one second.
 14                              MR. PARENTE:          You may need to refresh
 15       after he introduces it.
 16                              MS. RABON:         Technical difficulties.               It's
 17       showing up in the marked exhibit folder.
 18                A.            Okay.      What would you like me to look
 19       at it?
 20                Q.            Do you see it now?             Is it on your screen?
 21                A.            Yes.
 22                Q.            Okay.      Have you seen this document
 23       before, Ms. Murphy?               It's a document we sent to your
 24       counsel several days ago.
 25                A.            Okay.      Okay.      What do you want me to

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   1      look at?

   2             Q.            Well, do you know if you have seen this

   3      document before is my first question?

   4             A.            We file this report annually.

   5             Q.            Okay.     All right.        And it says South

   6      Carolina State Conference of the NAACP and it lists you

   7      as the registered agent.               Is that right?

   8             A.            Yes, my name is there.

   9             Q.            And it lists you at 611 North Main

  10      Street.     Is that the office of the South Carolina State

  11      Conference of the NAACP?

  12             A.            It is.

  13             Q.            Okay.     And it lists a federal employers

  14      identification number as XX-XXXXXXX.                    Do you see that?

  15             A.            Yes.

  16             Q.            Okay.     Can you explain to me why that

  17      document lists a different EIN number than the

  18      XX-XXXXXXX document that your attorneys have admitted is

  19      your EIN number?

  20             A.            What date is on this report?               I'm

  21      looking to see a date.

  22             Q.            I believe if you look at the bottom of

  23      the page it says filed on 6/10/2021.

  24             A.            Okay.     This is a report that our

  25      treasurer files.            Now the one thing -- as I have said

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   1      before, the number that we gave you was the one that
   2      we've been given by the national office, this one,
   3      and, you know, I have to defer to the national office
   4      in terms of the response to this because I do know
   5      there was a change in our EIN number and it may have
   6      been after this report was filed.                       That's the only
   7      answer I can give to that.
   8              Q.             When was that change?
   9              A.             I can't give you an exact date.
 10               Q.             Okay.      Can you tell me as you sit here
 11       today what is the correct EIN number?
 12               A.             Yes.     The number, the number, most
 13       recent number that was given to -- reported as being
 14       our EIN number was the most recent number given to us
 15       by the national office as our EIN number.
 16               Q.             And what number is that?                And you keep
 17       looking at Mr. Ingram.                What number --
 18               A.             I'm looking because I think I said
 19       several times I cannot confirm which one of those two
 20       numbers is -- I know the one that was given is the one
 21       that's correct.
 22               Q.             But as you sit here today, you can't tell
 23       me if the 57 or the 23 number is the correct one.                              Is
 24       that right or wrong?
 25                              MR. INGRAM:         Objection.         Asked and

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   1      answered.

   2             Q.            Please answer my question, Ms. Murphy.

   3             A.            If you will allow me, since I'm in my

   4      office, to give you the most recent number we were

   5      given, then I can answer that question.

   6             Q.            My question to you right now is as you

   7      sit here right now, can you tell me if the 57 number is

   8      correct or the 23 number --

   9                           MR. INGRAM:        Object to the form.

  10             A.            No, I cannot.         No, I cannot.

  11             Q.            Okay.     Thank you.        So has your agency

  12      previously been involved in a litigation against the

  13      House of Representatives or any member or any officer of

  14      the House of Representatives?

  15             A.            I can't answer that question.

  16             Q.            You can't answer it because --

  17             A.            Not since I have been president.

  18                           (Simultaneous crosstalk.)

  19             Q.            I'm sorry.        I'm sorry.       I'm talking over

  20      you and I need to stop.              Please answer the question.

  21             A.            Not as I have been president.

  22             Q.            Okay.     All right.        So I want to talk

  23      about this lawsuit.            I mean you are the president of

  24      this organization.            Is that right?

  25             A.            Yes.

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   1             Q.            The South Carolina State Conference of

   2      the NAACP.     Can you tell me why you decided to sue

   3      Speaker Lucas, Chairman Murphy, and Chairman Jordan over

   4      the House plans?

   5             A.            Because of -- and it wasn't just I.                  It

   6      was the coalition's decision that we were very

   7      concerned that the mapping that was approved was

   8      detrimental to black voters.

   9             Q.            How?

  10             A.            In terms of representation.               In terms

  11      of how the vote -- the influence of the vote has been

  12      minimized.     It has created a situation where there is

  13      the potential for less representation by black

  14      individuals.

  15                           When we look at the numbers,

  16      potentially we had -- there were opportunity districts

  17      that no longer exists.              We have black -- where there

  18      are black representatives, you know, we have -- we now

  19      have -- those have been -- some of those districts

  20      have been combined and we're looking at even a further

  21      decrease in the opportunity for an African American or

  22      a black person to be a representative for their

  23      constituents, their communities.

  24             Q.            Okay.     I'm going to get into the

  25      specifics in a moment but you decided to sue before the

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   1      maps were even passed.                Is that right?
   2              A.             No.
   3              Q.             Your organization sued in October of this
   4      year before the House and the Senate passed maps in
   5      December, correct?
   6              A.             That was due to timeliness.
   7              Q.             My question was were you involved in that
   8      decision to bring that first lawsuit?
   9              A.             That was a decision of the coalition.
 10               Q.             My question was were you involved in that
 11       decision, Ms. Murphy?
 12               A.             As a member of the coalition, I was.
 13               Q.             Okay.      The coalition is not a named
 14       plaintiff here.              However, it's South Carolina State
 15       Conference of the NAACP and Taiwan Scott were the named
 16       plaintiffs, correct?
 17               A.             That's correct.
 18               Q.             Okay.      Do you know Taiwan Scott?
 19               A.             No, I don't personally.
 20               Q.             Okay.      And so why was it decided that the
 21       South Carolina State Conference of the NAACP was the
 22       plaintiff and not this coalition?
 23               A.             Well, the South Carolina State
 24       Conference was the initiator or first coalition.                             So
 25       in terms of I guess playing a leading role, the South

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   1      Carolina State Conference did.                 We have membership

   2      throughout the state of South Carolina, and because of

   3      the concerns that we heard from our membership

   4      throughout the state, it was something we watched very

   5      carefully in terms of how mapping was done and the

   6      concerns of our membership.

   7             Q.            But again you made the decision to file

   8      before the mapping was completed, correct?

   9                           MR. INGRAM:        Objection.       Asked and

  10      answered.

  11             Q.            Please answer my question, Ms. Murphy.

  12             A.            I repeat the same answer.               The filing

  13      before the mapping was completed, it was related to a

  14      different issue.           It was regarding timeliness of the

  15      committee to do its work.

  16             Q.            Who is funding this litigation for you?

  17             A.            No one.

  18             Q.            Who is paying for it?

  19             A.            There has been no cost associated that

  20      I have knowledge of.             No one has given me a price or a

  21      cost for this litigation.

  22             Q.            Okay.     Well, I mean your organization --

  23      and I'm getting there.              I'm going to get there in a

  24      minute but your organization submitted a number of maps,

  25      is that right, for consideration?

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   1              A.             We did submit a map as well as other
   2      people.      So, you know, our concern is more in terms of
   3      the map being reflective of feedback given at the
   4      hearings.      There were hearings.                 You know, in terms of
   5      individuals being able to participate in the hearings,
   6      you know, I have concerns about that but --
   7              Q.             But that isn't my question.
   8              A.             Okay.
   9              Q.             My question is simply this.                    Someone had
 10       to pay for an expert to draw these maps.                          Who paid for
 11       the expert to draw these maps?
 12               A.             We did not -- we did not pay for
 13       experts to draw these maps.                    As a matter of fact, I
 14       think I shared with you, when we came together, it was
 15       basically with our partners, our affiliates that we've
 16       been involved in over the years in terms of this
 17       redistricting process and we utilize the resources
 18       available to assist with the drawing of the maps at no
 19       cost to us.
 20               Q.             So let me ask you this question.                    Are you
 21       familiar with the fact that there are five experts who
 22       have submitted expert reports in this case?
 23               A.             I don't know what you mean.
 24               Q.             Well, there are five experts who
 25       submitted expert reports who apparently plan to be

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   1      expert witnesses in this case.                     Are you familiar with
   2      that?
   3              A.             No, I'm not.
   4              Q.             Okay.      Do you know how much those experts
   5      charge?
   6              A.             No, I do not.
   7              Q.             Okay.      And do you know who is paying
   8      them?
   9              A.             No, I do not.
 10               Q.             Okay.      It's not your agency?               It's not
 11       your branch?           Is that correct?
 12               A.             No.     No.
 13                              MR. MOORE:        We've been going for almost
 14       an hour and fifteen minutes.                    Let's take about a
 15       five-minute break, okay?
 16                              MR. INGRAM:         Sounds good.
 17                              (Brief recess.)
 18               Q.             (BY MR. MOORE:)           Ms. Murphy, did you talk
 19       to your counsel during the break?
 20               A.             General conversation.                 Nothing about
 21       this.
 22               Q.             You didn't talk about the substance of
 23       your testimony.              Is that right?
 24               A.             No, I did not.
 25               Q.             So with respect to the timing issues,

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   1      you're aware that the census data came out late.                         Is

   2      that right?

   3               A.          Yes, I'm aware of the date that it came

   4      out.

   5               Q.          And you're aware that the late release of

   6      that data, it has affected redistricting.                      Is that

   7      right?

   8               A.          That was a factor I'm told.

   9               Q.          Okay.     And you're aware the Census Bureau

  10      releases its data every ten years.                   Is that right?

  11               A.          Yes.

  12               Q.          And it releases that data to the state

  13      after it conducts its census.                 Is that right?

  14               A.          Yes.

  15               Q.          And states must use that data to properly

  16      apportion new legislatures.                Is that correct?

  17               A.          Yes.

  18               Q.          Okay.     And you understand that the

  19      redistricting process takes some period of time to

  20      gather public input and have lawmakers propose districts

  21      with respect to redistricting.                 Is that right?

  22               A.          Yes.

  23               Q.          Okay.     And you actually attended several

  24      of the public hearings on the House districts.                        Is that

  25      right?

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   1              A.             Yes, I did.
   2              Q.             How many hearings did you attend?
   3              A.             Two -- I think two in person, one
   4      virtually.
   5              Q.             Okay.      Where were the two in persons?
   6              A.             Columbia.
   7              Q.             And do you understand that there's a lag
   8      period between the release of the census data and the
   9      enactment of properly apportioned maps every ten years?
 10       Is that right?
 11               A.             I understand.           Yes.
 12               Q.             Okay.      So would you agree with me that
 13       the lawsuit that was brought in October was premature?
 14               A.             No, I will not agree with that.
 15               Q.             Okay.      What was the purpose of it?
 16               A.             As you probably recall, there were --
 17       the House was not in session for some periods during
 18       that time.
 19               Q.             Well, at the time that that lawsuit was
 20       filed, the House had begun the process of having public
 21       meetings around the state, had it not?
 22               A.             It had started but it still was
 23       delayed.
 24               Q.             Why was the filing of the lawsuit
 25       necessary?

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   1              A.             To protect the rights of the people in
   2      terms --
   3              Q.             I'm sorry.        Please continue.
   4              A.             In terms of having adequate time to
   5      know who candidates would be for their respective
   6      districts and to learn or to understand what their
   7      platform is all about, would be all about.
   8              Q.             Would you agree that that complaint was
   9      mooted by the amended complaint that was filed in
 10       December of 2021?
 11               A.             It was amended, yes.
 12               Q.             Okay.      My question was, was it mooted in
 13       your view?
 14                              MR. INGRAM:         Objection.         Calls for a
 15       legal conclusion.
 16               Q.             You may answer, Ms. Murphy.
 17               A.             Would you -- I'm not an attorney so
 18       would you explain what that means, please?
 19               Q.             Did you believe that the complaint was
 20       any longer operative or needed to be acted on by the
 21       Court in any way?
 22                              MR. INGRAM:         Objection.         Calls for a
 23       legal conclusion.
 24               Q.             Please continue, Ms. Murphy.
 25               A.             I would say no.

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   1              Q.             No relief was granted under that initial
   2      complaint, correct?
   3              A.             Somebody is talking and I can't
   4      understand you.
   5                             (Off-the-record discussion.)
   6              A.             Okay.      Would you restate that, please?
   7              Q.             I said there was no relief granted under
   8      the initial complaint, right?
   9              A.             No.     No.
 10               Q.             And so with respect to the amended
 11       complaint that was filed on December 23, 2021, did you
 12       review that complaint before it was signed?                           You
 13       personally, Ms. Murphy?
 14               A.             We reviewed it as a coalition before
 15       any signature was placed on it.
 16               Q.             Okay.      Were you one of the people who
 17       reviewed it as a coalition?
 18               A.             Yes.
 19               Q.             Okay.      And do you know about how long
 20       after the enactment of Act Number 117 did you file the
 21       amended complaint?
 22               A.             I'm not looking at the dates.                  I can't
 23       tell you that.
 24               Q.             Would you disagree with me if I told you
 25       that the act was signed into law on December 10th and

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   1      you didn't file an amended complaint until December 23rd

   2      around midnight?

   3             A.            Yes.

   4             Q.            You would agree with that?

   5             A.            Yes.

   6             Q.            Can you tell me why it took so long after

   7      the amendment of the new House districts to file an

   8      amended complaint?

   9             A.            Well, we have to -- we had to evaluate

  10      the mapping that had been submitted in terms of were

  11      there any -- was there consideration given to

  12      testimony that was provided by individuals at the

  13      hearings, which was much, and to make an informed

  14      decision about was there still impact on those

  15      opportunity districts.

  16             Q.            Well, so isn't one of your organization's

  17      stated concerns about delay in the enactment of maps?

  18             A.            Please clarify.

  19             Q.            Hasn't your organization taken the

  20      position that the map drawing process and then the

  21      review of those maps through the litigation period has

  22      taken too long?

  23                           MR. INGRAM:        Objection.        Asked and

  24      answered.

  25             Q.            You may answer, Ms. Murphy.

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   1              A.             Yes, in terms of the completion of
   2      those maps and time to review those maps, that was
   3      affected by the delay in the processes of getting
   4      those maps -- the maps completed, yes.
   5              Q.             Well, but the longer it takes -- your
   6      organization was concerned about litigation and the
   7      delay that it would take for litigation to be complete.
   8      That's one of the positions they took.                         Is that correct
   9      or incorrect?
 10               A.             Yes.
 11               Q.             Okay.      And the longer it takes you to
 12       file documents in court means longer delay.                           Correct or
 13       incorrect?
 14                              MR. INGRAM:         Objection.         Argumentative.
 15               Q.             Please answer, Ms. Murphy.
 16               A.             I will answer it takes time for maps to
 17       be reviewed after they were completed and submitted in
 18       terms of evaluating what has been actually changed
 19       about -- what has changed about those maps.                           It takes
 20       time to do that.
 21               Q.             Okay.
 22               A.             And that's all a part of this process
 23       and why it's important that things are done in a
 24       timely manner.
 25               Q.             All right.        So I'm going to -- I'm about

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   1      to ask you a question and I don't want -- I don't want

   2      you to share with me any information that your lawyers

   3      have provided to you but I want to ask you this

   4      question.     The amended complaint alleges purposeful

   5      racial discrimination on the part of the House of

   6      Representatives.            Is that right?

   7             A.            I will say the outcome of the maps

   8      indicate that there was discrimination in terms of

   9      black voters and the opportunity for black voters

  10      to -- opportunity to be in that process of the

  11      districts in terms of it being competitive.

  12             Q.            Well, I didn't ask you a question about

  13      competitive.         Okay.     I asked you a very simple question.

  14      An allegation in this complaint is that in drawing

  15      certain districts, the House of Representatives engaged

  16      in purposeful racial discrimination.                    That's an

  17      allegation that your organization has made, is it not?

  18             A.            When you look at the outcome of the

  19      maps, that would be the opinion.

  20             Q.            Ma'am, I asked you a very simple

  21      question.     Is it a yes or no?              You can answer.

  22                           MR. INGRAM:        Objection.        Asked and

  23      answered.

  24             Q.            Did your organization allege --

  25             A.            Yes.

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   1              Q.             -- that there was purpose -- all right.
   2      So I would like you to tell me what evidence you had
   3      before you when you filed this amended complaint that
   4      the House of Representatives had engaged in purposeful
   5      racial discrimination?
   6                             MR. INGRAM:         Objection.         Asked and
   7      answered.
   8                             MR. MOORE:        I don't believe that's been
   9      asked and answered, Mr. Ingram.
 10               Q.             Can you please answer the question, Ms.
 11       Murphy?
 12               A.             I will restate what I said previously.
 13       When you look at the outcome, the opportunity for
 14       black people to have -- at least participate in a
 15       district are fewer districts now that actually are
 16       competitive was reduced.
 17               Q.             Are you telling me that just looking at
 18       the outcome is the only evidence that you have in front
 19       of you to support the allegation that there was
 20       purposeful racial discrimination?
 21                              MR. INGRAM:         Objection.         Argumentative.
 22               Q.             Please answer my question, Ms. Murphy.
 23               A.             There are more factors that we look at,
 24       not just in terms of discrimination.                         When we say
 25       discrimination, you have to look at outcomes in terms

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   1      of the overall -- in terms of how the maps was done

   2      and the opportunity for black people to at least have

   3      an opportunity or be in a competitive district was

   4      reduced.     That is my answer.

   5             Q.            Okay.     Well, I'm going to ask it again

   6      because you have not answered my question.                      I would like

   7      you to tell me what specific evidence you have in front

   8      of you that the members of the House of Representatives

   9      who passed this legislation engaged in purposeful,

  10      because that's the word that you use, purposeful racial

  11      discrimination?

  12                           MR. INGRAM:        Objection.       Asked and

  13      answered.

  14             Q.            Please answer my question, Ms. Murphy.

  15             A.            My answer is the same.

  16             Q.            Okay.     So can you identify any specific

  17      evidence that you had in front of you that the House of

  18      Representatives engaged in purposeful racial

  19      discrimination?

  20                           MR. INGRAM:        Objection.       Asked and

  21      answered.

  22             Q.            Please answer my question, Ms. Murphy.

  23             A.            My answer is the same.

  24             Q.            Can you -- as we sit here today, can you

  25      tell me a specific piece of evidence that you relied on

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   1      to make the allegation that the House of Representatives

   2      engaged in purposeful racial discrimination?

   3                           MR. INGRAM:        Objection.       Badgering the

   4      witness.     Asked and answered.

   5                           MR. MOORE:       I'm not getting any answer to

   6      my question, Mr. Murphy (sic).                 You can object to the

   7      form, okay, as is appropriate under our rules.

   8             Q.            I'm going to ask the question again.                 Ms.

   9      Murphy, do you have any specific evidence upon which you

  10      relied to make the allegation of purposeful racial

  11      discrimination?          I think I've given you several

  12      opportunities to provide me with a piece of information.

  13      I haven't heard any so I'm going to give you one final

  14      opportunity and I'm going to move on.

  15                           MR. INGRAM:        Objection.       Asked and

  16      answered and badgering the witness at this point.

  17             Q.            You may answer, Ms. Murphy.

  18             A.            I am going to say again we have to look

  19      at outcomes, and when you look at the mapping that is

  20      present, there is decreased opportunity --

  21      opportunities for black people that are black to -- in

  22      terms of districts competitive -- to be -- to run

  23      competitively in competitive districts.

  24             Q.            All right.       Do you know any of the

  25      members of the ad hoc committee who served in this

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   1      matter?

   2              A.           No, I do not.

   3              Q.           Okay.      Do you know --

   4              A.           I know -- may I -- I know

   5      representatives.

   6              Q.           So do you know, for example, Beth

   7      Bernstein who is a representative in the Columbia area?

   8      Do you know her?

   9              A.           No.     Only as a representative.

  10              Q.           Okay.      Have you ever spoken to her if you

  11      know?

  12              A.           No, I have not.

  13              Q.           Okay.      Do you know Representative Pat

  14      Henegan?

  15              A.           Only as a representative.

  16              Q.           Okay.      Have you spoken with her?

  17              A.           No, I have not.

  18              Q.           Okay.      Do you know Representative Justin

  19      Bamberg?

  20              A.           No, I do not.         Only as a

  21      representative.

  22              Q.           Have you ever spoken to him?

  23              A.           No, I have not.

  24              Q.           Okay.      Do you have any information in

  25      front of you which would lead you to conclude that those

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   1      three members would be party to engaging in purposeful

   2      racial discrimination?

   3             A.            Sir, I can't read the minds of those

   4      individuals.         I only can look at the outcome in terms

   5      of the mapping and the results of who it has -- will

   6      impact, not has the potential but will impact and that

   7      is people that are black.

   8             Q.            And do you know if Representative Henegan

   9      is African American?

  10             A.            I know she's African American, yes.

  11             Q.            Do you know if Mr. Bamberg is African

  12      American?

  13             A.            I know he's African American.

  14             Q.            All right.        And --

  15             A.            Also incumbent.

  16             Q.            And the person who attended this meeting

  17      that you refuse to name, was that person an incumbent?

  18             A.            Yes.

  19             Q.            Okay.     Is it Representative Jerry Govan?

  20                           MR. INGRAM:        Objection.        Not going to

  21      disclose membership lists or names.

  22                           MR. MOORE:        Well, Mr. Ingram, just so you

  23      know, the documents that you provided us in discovery

  24      last night and I'm going over them at the end of this

  25      deposition, they provide us names and identifications of

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   1      members of the South Carolina State Conference of the

   2      NAACP.        So I do not believe that that is a valid

   3      objection.

   4                           MR. INGRAM:        If there are public

   5      documents, you can point to names, by all means, but we

   6      will not be confirming or denying any membership names

   7      or lists.

   8               Q.          I didn't ask you for a list at this

   9      point.        I simply asked you if Representative Govan was a

  10      person who attended this meeting for which there are no

  11      minutes?

  12                           MR. INGRAM:        I'm instructing my client

  13      not to answer.          That is an NAACP meeting and you're

  14      asking my client to confirm a membership identity.

  15               Q.          Are you a member of the South Carolina

  16      Conference of the NAACP, Ms. Murphy?                    Are you?      I need

  17      an answer, Ms. Murphy.

  18               A.          That is a rhetorical question.

  19               Q.          Well, it may be a rhetorical question but

  20      it's a yes or no.           Are you a member of the South

  21      Carolina State Conference of the NAACP?

  22               A.          I am sitting before you as a member of

  23      the South Carolina State Conference.

  24               Q.          And I believe that you have identified

  25      yourself publicly in public hearings as a member of the

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   1      South Carolina State Conference of the NAACP.                         Is that

   2      right?

   3               A.          I identify myself as the president of

   4      the South Carolina State Conference NAACP.

   5               Q.          Okay.     And so in the amended complaint --

   6      and have you reviewed that amended complaint in

   7      preparation for your testimony here today, Ms. Murphy?

   8               A.          No, I have not.

   9               Q.          Okay.     When is the last time you looked

  10      at that document to the best of your recollection?

  11               A.          It's been at least a couple of weeks.

  12               Q.          Okay.     And there are a number of

  13      districts that are challenged districts.                       Is that right?

  14               A.          Yes.

  15               Q.          Okay.     And what was your involvement in

  16      choosing the challenged districts?

  17               A.          As I stated earlier, we have presidents

  18      throughout the state of South Carolina.                       It is -- in

  19      terms of where the challenges were, the presidents

  20      from those areas were the individuals that identified

  21      areas of concern and their membership.

  22                             (Whereupon, Defendant's

  23                             Exhibit 3 was marked for

  24                             identification.)

  25               Q.          Okay.     And so I believe that we have

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   1      Exhibit Number 2 up on the screen.                   Is that right?

   2      Excuse me.       Exhibit Number 4 up on the screen.                   Three.

   3      I'm sorry.       That's why I do not like virtual depositions

   4      but so we have Exhibit Number 3 up on the screen -- but

   5      we've all had to learn how to do this.                        Some better than

   6      others.       I'm a little older.           The technology isn't my

   7      favorite thing sometimes so I apologize.

   8                           With respect to Exhibit Number 3, do you

   9      recognize that document, Ms. Murphy?                    I think it's up on

  10      your screen now.            Is that right?

  11               A.          Yes, I'm trying to -- I can't read it.

  12               Q.          Well, when I go to a specific section,

  13      I'll make sure that we blow it up when I get to a

  14      specific page.

  15               A.          Okay.

  16               Q.          Okay.     Because I can't read it either

  17      from this distance.            And so would you agree with me that

  18      the challenged districts were grouped into the areas of

  19      Anderson, Chester, Sumter, Dillon, Horry, Lawrence and

  20      Williamsburg, Richland and Orangeburg?                        Would you agree

  21      with me that the challenged districts are in those

  22      areas?

  23               A.          Yes.

  24               Q.          Okay.     And do you know how your

  25      organization chose those challenged districts?

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   1               A.          As was stated, we had meetings with the

   2      branch presidents as well as members from those areas.

   3      And when I say that, I need to -- you know, is it a

   4      meeting?        Is it a seminar?         When you meet with

   5      individuals, you know, and you receive feedback, that

   6      information is collected and shared as a whole with

   7      the redistricting coalition in terms of the concerns.

   8               Q.          Okay.     Do you have members that reside --

   9      as you sit here today, can you tell me that you have a

  10      member that resides in each of the challenged districts?

  11               A.          Yes, I can.

  12               Q.          Okay.     And how is it that you can tell me

  13      that you have a member that resides in each of the

  14      challenged districts?

  15               A.          Because that data was validated by our

  16      national office.

  17               Q.          Okay.     Did you speak to a person from

  18      each of the challenged districts before filing this

  19      complaint?

  20               A.          We have representatives in every county

  21      of the state.          Presidents from every county of the

  22      state.        So each of those areas, there is a president.

  23               Q.          Well, there might be a president -- for

  24      example, are the presidents -- so I live in Columbia

  25      like you, okay.          And so is there a president for the

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   1      city of Columbia or a president for Richland County?
   2               A.            There is a president for Columbia.                    As
   3      a matter of fact, we have more -- in some places, we
   4      have more than one president and that's a good example
   5      that you're asking about.                  We have Lower Richland
   6      which has a branch and we also have the Columbia
   7      branch.       So there are two, two in the Columbia area.
   8               Q.            And so there would be two presidents for
   9      the entire Columbia area, Richland County.                            Is that
 10       right?
 11                A.            That's right.
 12                Q.            Okay.      Do you know how many challenged
 13       districts there are in Richland County?
 14                A.            I don't have that right in front of me
 15       but --
 16                Q.            I'm going to help you in a minute.
 17                A.            Okay.
 18                Q.            But here's my question.                Prior to filing
 19       this complaint, did you or anyone acting on your
 20       direction speak to a member, speak to someone who
 21       resided in each and every challenged district and get
 22       their input on how they were adversely affected by the
 23       drawing of the districts?
 24                A.            Yes.
 25                Q.            Who did that?           Who spoke to a person from

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   1      each of the challenged districts?
   2                             MR. INGRAM:         Objection.         I'm instructing
   3      my client not to answer as it would disclose
   4      confidential membership identity.
   5                             MR. MOORE:        I didn't ask her for the
   6      names of anyone, Mr. Ingram.                    I simply asked the
   7      question -- and so I don't believe that objection is
   8      well-founded.
   9                             (Simultaneous crosstalk.)
 10               Q.             My question is --
 11                              MR. MOORE:        Are you instructing her not
 12       to answer, Mr. Ingram?
 13                              MR. INGRAM:         Correct.
 14               Q.             Okay.      My question is without identifying
 15       any person, okay, who spoke to a person who resided in
 16       each of the challenged districts?
 17                              MR. INGRAM:         Objection.         I don't know how
 18       you respond to that question without identifying a
 19       person.      Same objection about membership lists.
 20               Q.             Did you speak to anyone from any
 21       challenged district, Ms. Murphy?
 22               A.             I have to answer that with more than
 23       just a yes or no.
 24               Q.             Please answer my question and then
 25       elaborate.

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   1               A.          As the president of the South Carolina

   2      State Conference, we coordinated meetings with our --

   3      ongoing meetings.            That is a standard of practice for

   4      us.     We meet routinely.

   5                           So in terms of meeting with leadership

   6      from throughout the state, that is a routine.                         That

   7      happens routine, not just regarding redistricting.

   8      It's about other issues of concern that are related to

   9      justice in all areas.             Related to criminal justice,

  10      education, et cetera.             I won't go through all of them

  11      but this is a standard practice.

  12                           So the question about meeting with

  13      leadership in the different areas, that it happens

  14      regarding -- and, yes, it does happen.                        We will not

  15      list an area unless there was feedback regarding

  16      concern.

  17               Q.          I didn't ask you about feedback from an

  18      area.     I asked you specifically if you can tell me under

  19      oath today that either you or your someone from your

  20      organization spoke to a person from each and every

  21      challenged district before filing this amended

  22      complaint?

  23               A.          Yes.

  24               Q.          And how is it that you can assure me that

  25      that happened?

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   1              A.             Because we have members in every area
   2      that is identified.
   3              Q.             That's not -- my question is not whether
   4      you have members in every area that is identified.                              My
   5      question is can you assure me that before this lawsuit
   6      was filed, either you or someone from your organization
   7      spoke to a person who resided in each of the challenged
   8      districts?
   9              A.             Yes.
 10               Q.             Okay.      How can you state that under oath,
 11       Ms. Murphy?
 12               A.             Because as I just said, we have routine
 13       meetings with individuals.                   We participated in the
 14       redistricting process as a state conference.                           This was
 15       not just done by the coalition.
 16               Q.             Ms. Murphy --
 17               A.             Yes, sir.
 18               Q.             -- is there a record that your
 19       organization maintains that indicates who spoke to
 20       each -- to a person from each of the challenged
 21       districts and who was spoken to there?                         Is there a
 22       record of that?
 23                              MR. INGRAM:         Objection.         Asked and
 24       answered.
 25                              MR. MOORE:        It's not been asked and

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   1      answered, Mr. Ingram.
   2              Q.             Please respond, Ms. Murphy.                    Is there a
   3      record of that?
   4              A.             I did respond in terms of how we
   5      interact with each other as a state conference.                              We
   6      meet regularly, monthly.                 We review -- the maps were
   7      reviewed.      Comments were made by those present.                          So
   8      nothing is here that is not known in our different --
   9      the listed areas.
 10               Q.             My question is very simple.                    Is there a
 11       record that your organization maintains that indicates
 12       who spoke to a representative of each of these
 13       challenged districts and on what date prior to the
 14       filing of this amended complaint?                       Is there a record of
 15       that?
 16               A.             There were two forums.                I cannot say
 17       that we kept minutes because they were forums but
 18       there was representation from all of these areas.
 19               Q.             You keep using the words "all of these
 20       areas".      I'm asking about specific challenged districts
 21       and I'm not getting --
 22               A.             I'm speaking --
 23               Q.             I'm asking --
 24               A.             I'm speaking on behalf of the listed
 25       districts of concern.

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   1             Q.            Can you tell me why your organization has

   2      not produced a list of the people who reside in each of

   3      the challenged districts who were spoken to prior to the

   4      filing of this lawsuit?

   5             A.            I do not have authorization to provide

   6      a listing of anyone that's a member of the NAACP.

   7             Q.            Is there a list -- is there a document

   8      that indicates that between the time of the passage of

   9      this legislation and the time of the filing of the

  10      second amended complaint that you or someone else from

  11      your agency spoke to a person who resides in each of the

  12      challenged districts and those people indicated that

  13      they wanted to bring this lawsuit?

  14             A.            There is not a list.

  15             Q.            Okay.     As you sit here today, can you

  16      assure me under oath that between the date this statute

  17      was passed, this act was passed and the date of your

  18      lawsuit that someone was spoken to from each and every

  19      one of these challenged districts and a person from each

  20      and every one of those challenged districts said they

  21      wanted to go forward with the challenged district?

  22                           MR. INGRAM:        Objection.       Asked and

  23      answered.     It's privileged communication.

  24                           MR. MOORE:       That was not my specific

  25      question, Mr. Ingram.

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   1              Q.             Would you please answer my question, Ms.
   2      Murphy?
   3              A.             I have answered the question to the
   4      best of my ability.
   5              Q.             Okay.      Can you confirm under oath that
   6      that was done?
   7                             MR. INGRAM:         Objection.         Asked and
   8      answered.
   9              Q.             Ms. Murphy, that's a yes or no and then
 10       you can explain.
 11               A.             I have answered the question to the
 12       best of my ability.               There were forums, two forums
 13       that were held with members that included -- that
 14       involved districts that there was representation.
 15               Q.             I'm going to take that as a no.                   I'm
 16       going to take that as a no and I'm going to move on and
 17       I'm going to come back to it.                    Do you know the members
 18       of your organization that reside in each of the
 19       challenged districts?
 20               A.             Yes, I know members that reside in the
 21       challenged districts.
 22               Q.             Did you speak to any of them about this
 23       litigation?
 24               A.             No.     In terms of this -- in terms of
 25       when you say -- you mean what we're doing today?

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   1             Q.            Yes, ma'am.

   2             A.            No, I did not.

   3             Q.            I'll come back to that in a few minutes.

   4      Did you or to your knowledge anyone from the NAACP speak

   5      to anyone from any party about the positions that you

   6      intended to take in this lawsuit?

   7             A.            No.

   8             Q.            Did you coordinate with anyone from the

   9      South Carolina Democratic or the South Carolina

  10      Republican Party?

  11             A.            No.

  12             Q.            Did you communicate with the League of

  13      Women Voters?

  14             A.            They were a part of the coalition.

  15             Q.            Okay.      And who determined who would be a

  16      part of this coalition?

  17             A.            We invited members to participate and

  18      they agreed to participate based on the fact that they

  19      were nonprofit and they were advocacy groups for, you

  20      know, for social justice.

  21             Q.            When was the coalition formed?

  22             A.            September.        I think September.             August,

  23      September.

  24             Q.            Of what year?

  25             A.            Last year.

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   1              Q.             2021?
   2              A.             Yes.
   3              Q.             And who are the members of the coalition?
   4              A.             I don't have all of those in front of
   5      me.    I think that they were listed for you.
   6              Q.             Okay.      And who decided to form this
   7      coalition?
   8              A.             We decided as a state conference to
   9      invite other advocacy groups and we decided who to ask
 10       whether or not they wanted to be a member of the
 11       coalition.
 12               Q.             Okay.      And who made the determination as
 13       to who would and who would not be invited?
 14               A.             I don't think we thought about who we
 15       would not invite.              If there was someone that wanted to
 16       be a part that was an advocacy group, we invited them
 17       to participate.
 18               Q.             And how did you identify these advocacy
 19       groups?
 20               A.             The ones that are -- well, there are a
 21       number that we know of such as the League of Women
 22       Voters we interact with throughout -- you know,
 23       routinely.          AFL-CIO, ACLU, the state president.                     We
 24       had worked together.               And so it was basically
 25       individuals that we have worked collaboratively

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   1      together with throughout the years.
   2                             Now if there was someone that -- a
   3      group that wanted to join, then we welcomed them.                              So
   4      we didn't prohibit anyone from joining that was --
   5      advocated for the social justice.                       There was no
   6      criteria for eliminating.
   7              Q.             Do you know Representative John King?
   8              A.             As a representative.
   9              Q.             Have you ever spoken to him?
 10               A.             Probably before redistricting, yes.
 11                              (Simultaneous crosstalk.)
 12               A.             -- this process, no.
 13               Q.             You have not spoken to him about the
 14       redistricting process.                Is that right?
 15               A.             No.
 16               Q.             Okay.      Do you know Representative Wendy
 17       Brawley?
 18               A.             Yes.
 19               Q.             How do you know Representative Brawley?
 20               A.             She's a representative.                I know her --
 21       I know the representatives for this state.
 22               Q.             Do you know all the representatives for
 23       this state?
 24               A.             I wouldn't say all but I do know the
 25       African American ones.

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   1              Q.           Okay.     How well do you know

   2      Representative Brawley?

   3              A.           I just -- I do not know her personally.

   4      I know her as a representative.

   5              Q.           Okay.     Have you ever had any

   6      conversations with her?

   7              A.           Not as a representative.                 I will share

   8      with you that when I became president, she did -- she

   9      had someone from her private business to interview me.

  10      That's the only association that I have of really

  11      knowing her as a representative.

  12              Q.           And so she offered your public submission

  13      as an amendment on the House floor to the House map.                         Do

  14      you recall that?

  15              A.           Yes.     She also offered the League of

  16      Women Voters as well.

  17              Q.           Okay.     And how did she come to do that if

  18      you know?

  19              A.           Well, the maps were all on display at

  20      the State House so I can't say how she came to that in

  21      terms of making that recommendation.                    That's something

  22      you will have to ask her.               I don't know.

  23              Q.           So you don't know how she came to do

  24      that.    Is that right?

  25              A.           I do not.

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   1              Q.             Do you know Jerry Govan?
   2              A.             As a representative.
   3              Q.             Okay.      Have you ever spoken to
   4      Representative Govan about redistricting?
   5              A.             Not as a representative, no.
   6              Q.             I didn't ask you if you had spoken to him
   7      as a representative.               I asked you have you ever spoken
   8      to Representative Govan about any issue related to
   9      redistricting?
 10                              MR. INGRAM:         Objection.         Asked and
 11       answered.
 12                              MR. MOORE:        It hasn't been answered.
 13       It's been asked.
 14               Q.             Please answer my question.
 15               A.             Well, I will answer your question.                    I
 16       have made a statement in the presence -- I think one
 17       of the meetings that, that -- I make it very clear in
 18       meetings our intent, the intent of this coalition is
 19       not to be partisan, not to protect incumbents, and
 20       that is very clearly stated.
 21                              He may have been in my presence when I
 22       said that.          I can't say that he was but that is
 23       something that I make very clear.                       If the conversation
 24       came up about redistricting and whether or not -- and
 25       it's just a general conversation regarding -- and it

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   1      wasn't with just Representative Govan.                         I have
   2      intentionally not included representatives in
   3      discussions about redistricting.
   4              Q.             Why is that?
   5              A.             Because I didn't want -- it needed to
   6      be about the people, not about the incumbent.                            When
   7      lines are drawn, it's opportunities for individuals,
   8      whoever it might be, to have that -- black individuals
   9      to have the opportunity to decide whether or not they
 10       want to run, campaign for a certain position or be a
 11       candidate for a certain position.                       I take that very
 12       seriously.
 13               Q.             I'm going to move on for a moment.                    So
 14       you spoke at at least one of the public hearings,
 15       correct?
 16               A.             Yes.
 17               Q.             Okay.      And I believe you provided some
 18       written testimony.              Is that right?
 19               A.             Yes.
 20                               (Whereupon, Defendant's
 21                               Exhibit 4 was marked for
 22                               identification.)
 23                              MR. MOORE:        Okay.      Let's pull up Exhibit
 24       Number 7, Ms. Rabon.               Yes, ma'am.          What's taking so
 25       long?

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   1              Q.             As she pulls up it, Ms. Murphy, you're
   2      familiar with that written testimony.                         Is that right?
   3              A.             Yes.
   4              Q.             Did you prepare it yourself?
   5              A.             Every document that was submitted was
   6      documented -- documents that the coalition reviewed
   7      and we agreed upon as a coalition.                       I was the
   8      representative to present the final document.
   9              Q.             So my question is did you write it
 10       yourself or did someone else write it for you?
 11                              MR. INGRAM:         Objection.         Asked and
 12       answered.
 13                              MR. MOORE:        It was asked.           It wasn't
 14       answered.
 15               Q.             Did you write it yourself or did someone
 16       else write it for you?
 17               A.             I think I just answered the question.
 18       The coalition developed the written document.                            We all
 19       reviewed it.           We all agreed to it and it was signed by
 20       me as the representative of the coalition.
 21               Q.             Okay.      Was there a primary author of it?
 22                              MR. INGRAM:         Objection.         Asked and
 23       answered.
 24               Q.             Was there a primary author of it, Ms.
 25       Murphy?

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   1              A.             It was developed by the coalition,
   2      reviewed by the coalition, and finalized by the
   3      coalition and I presented it at the hearings.
   4              Q.             Okay.      Do you know why that was emailed
   5      instead of -- by the NAACP LDF counsel rather than you
   6      sending it in directly?                 Do you know why it was done?
   7              A.             They are part of the coalition.                   We are
   8      not open because of COVID.                   Most of our meetings were
   9      done by Zoom.           And in terms of having the resources to
 10       type up and get these documents to you, the LDF has
 11       the resources to do that.
 12               Q.             Okay.      And do they represent you in
 13       addition to being part of the coalition?
 14               A.             They're here today representing me.
 15       They're here representing the desires of the coalition
 16       because I'm simply here as the president of the NAACP,
 17       one of the primary members for this coalition and who
 18       spearheaded the initiative but they were a part of the
 19       coalition, yes.
 20               Q.             Okay.      So in this written testimony, you
 21       claim that among South Carolinians that are old enough
 22       to vote, black voters make up approximately 29 percent.
 23       Is that accurate?
 24               A.             Yes.
 25               Q.             Okay.      How did you arrive at that number?

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   1               A.            That's day-to-day data that everybody
   2      knows.
   3               Q.            How did you arrive at that number?
   4                             MR. INGRAM:         Objection.         Asked and
   5      answered.
   6               Q.            Can you give me a specific answer as to
   7      how you arrived at that number, President Murphy?
   8               A.            I will.       I can give you an answer.
   9               Q.            Yes, ma'am.
 10                A.            I do -- I do -- I do and I have looked
 11       at the population throughout the state by county and I
 12       know the percentage.               That is something I have studied
 13       not only for the reasons of this deposition but I have
 14       studied intensely during the COVID which we -- still
 15       exist so it's something that I typically follow in
 16       terms of population, percentages of blacks, percentage
 17       of whites and other ethnic groups.                       So that is
 18       something I routinely study, study.
 19                Q.            And so you're familiar I guess that there
 20       are two different ways to gauge the number of black
 21       voters.       There's a phrase called any part black and DOJ
 22       statistics, correct?               Are you familiar with both of
 23       those?
 24                A.            Excuse me?        What's your question again?
 25                Q.            Are you familiar with the phrase -- that

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   1      there may be different ways to count whether these

   2      percentages -- for example, there's a statistic that

   3      uses the DOJ app and there's a statistic that uses the

   4      phrase any part black.              Are you familiar with those?

   5             A.            Let me just say when I study the

   6      population, I studied in terms of ethnic groups.

   7             Q.            Okay.      All right.       And have you reviewed

   8      the figures based on the 2020 census data?

   9             A.            Yes, I have.

  10             Q.            Okay.      And are you aware that if you look

  11      at the figures from the 2020 census data, the figure

  12      using the any part black criteria is 25.28 percent?                         Are

  13      you familiar with that?

  14             A.            I can't say that I am.

  15             Q.            Okay.      And are you familiar with the fact

  16      that if you use the 2020 census data using the DOJ

  17      criteria, the number is actually lower?                       It's 24.59

  18      percent.     Are you familiar with that?

  19             A.            Any part black?

  20             Q.            No, ma'am.        I said if you use -- if you

  21      use the criteria for any part black, the figure is 25.28

  22      percent, and if you use the DOJ criteria, it's 24.59

  23      percent.     Are you familiar with that?

  24             A.            No.     I'm familiar with the 27, 28.              A

  25      higher number.

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   1               Q.          Okay.      Do you have any reason as we sit

   2      here today to dispute that if you use the 2020 census

   3      data that using the criteria for any part black, the

   4      figure is 25.28 percent?

   5               A.          I'm not going to dispute it but I again

   6      state when I look at the data, I'm looking at black

   7      and white primarily and other ethnic groups.

   8               Q.          And do you have any reason to dispute the

   9      figure that when you use the DOJ criteria, black voters

  10      of voting age population are actually 24.59 percent of

  11      the South Carolina population?                   Do you know that?

  12               A.          When you're talking black voter

  13      population --

  14               Q.          Well, you claimed --

  15               A.          No.     No, let me clarify it.            I know

  16      about black voter population.                 Are we talking about

  17      black voters that actually -- are we looking at age or

  18      are you -- what is it that you're inferring?

  19               Q.          Well, you used the words in your

  20      testimony among South Carolinians that are old enough to

  21      vote, black voters make up approximately 29 percent.

  22      That was your testimony delivered on November 10, 2021

  23      well after the census data had been published.                        Is that

  24      right?

  25               A.          Yes, and I stand by that.

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   1             Q.            Okay.     All right.        But do you have any

   2      reason to disagree with me that when you actually look

   3      at the census data numbers that the figures are actually

   4      closer to 25 percent, a little over 25 percent if you

   5      use the criteria for any part black, and 24.59 percent

   6      if you use that criteria?               Do you have any reason to

   7      dispute that record, President Murphy?

   8             A.            At this point, I would say that I would

   9      have to further review that data.

  10             Q.            Okay.     All right.        Well, if I'm correct,

  11      then the figure is closer to 25 percent than your 29

  12      percent in your testimony, right?

  13                           MR. INGRAM:        Objection.       Argumentative.

  14             Q.            Please answer, Ms. Murphy.

  15             A.            I am saying at this point -- you had

  16      stated what you have reviewed.                 I at this point have

  17      no reason to dispute what you are saying but I stand

  18      beside those numbers in terms of the black voter

  19      population at the 28, 29 percent.

  20                           MR. MOORE:       So let's put up Number 6,

  21      Ms. Rabon.

  22             Q.            Because you testified at another hearing.

  23      Is that right?

  24             A.            Yes, I did.

  25             Q.            At least one other hearing?

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   1              A.             Yes, I did.
   2              Q.             Okay.      All right.        And how did you
   3      prepare for that live testimony?
   4              A.             How did I prepare?
   5              Q.             Yes, ma'am.
   6              A.             Basically the same as I did for others
   7      in terms of basically the coalition met, the coalition
   8      had discussions, and my reports were based on what
   9      we -- our decisions regarding what the mapping
 10       revealed and the impressions of the coalition.
 11                               (Whereupon, Defendant's
 12                               Exhibit 5 was marked for
 13                               identification.)
 14               Q.             Okay.      And so I want to pull up your
 15       testimony for a minute.                 I believe it's loading and I
 16       apologize that it takes so long to load.                          Technology is
 17       a wonderful thing when it works.
 18               A.             I agree.
 19               Q.             I'm of an age where we didn't have so
 20       much technology and I'm not so sure that all this
 21       technology is a good thing but I'm not going to ask you
 22       whether you agree or disagree with that statement, Ms.
 23       Murphy.
 24               A.             I'm not going to tell you my age.
 25               Q.             And as I said, I didn't ask.                   As I said,

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   1      I always hate to ask a lady her age.                    My mama taught me

   2      better than that.            Well, while we're trying to pull that

   3      up, I'm just going to read you a section.                      You use the

   4      phrase "but we are at this time dependent on you in

   5      terms of drawing maps that are competitive, maps that

   6      looks to -- ensures communities of interest, not packing

   7      or cracking".          Do you recall saying that?

   8             A.            Yes, I do.

   9             Q.            Okay.     How do you define the term

  10      communities of interest, Ms. Murphy?

  11                           MR. INGRAM:        Objection.        Calls for a

  12      legal conclusion.

  13             Q.            Can you please answer the question, Ms.

  14      Murphy?     I know you just looked at Mr. Ingram.

  15             A.            The communities of interest --

  16             Q.            How do you define -- how do you define

  17      it?

  18             A.            It's defined by those individuals that

  19      live within the community that have similar values in

  20      terms of ethics.            They're areas contiguous of each

  21      other and it's basically decided by those communities.

  22             Q.            And I guess you would agree with me like

  23      a municipality could have multiple communities of

  24      interest, right?

  25             A.            Yes.

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   1               Q.          Okay.     And the larger the municipality,

   2      the larger perhaps the number of communities of interest

   3      in that municipality, right?

   4               A.          You mean may be based on the

   5      Constitution there may be more than one?                      Is that what

   6      you're asking?

   7               Q.          I guess maybe that was a bad question so

   8      I'll try to rephrase it.

   9               A.          Okay.

  10               Q.          I believe you told me you lived in

  11      Brooklyn once.          Is that right?

  12               A.          Yes.

  13               Q.          Okay.     And Brooklyn is a part of New York

  14      City, right?

  15               A.          Yes.

  16               Q.          Okay.     There are a number of different

  17      communities of interest in Brooklyn.                    Is that right or

  18      wrong?        Would you agree or disagree?

  19               A.          Yeah.     I would agree with that, yes.

  20               Q.          And there are also a number of different

  21      communities of interest in Manhattan which is right

  22      across the river, right?

  23               A.          Yes.

  24               Q.          Okay.     The larger the municipality, the

  25      larger the number of communities of interest generally.

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   1      Would you agree or disagree with that?

   2               A.          That may be true but we do have some

   3      guidelines that we must follow in terms of numbers

   4      that -- constitutional numbers that are -- when we

   5      look at numbers in terms of how large a Senate -- the

   6      number of people that can be in a Senate district or

   7      House district, those are very different.                      So, you

   8      know, depending on the population, then that may

   9      change, yes.

  10               Q.          I'm just asking you questions about

  11      municipalities so I'm going to get there later.                          You

  12      also use the phrase -- so after the word communities of

  13      interest -- and now this document is up on the screen --

  14      you use the words not packing, not cracking.                          Do you see

  15      that?

  16               A.          I can't see it but I recall using those

  17      words.

  18               Q.          Okay.     What does packing mean to you?

  19               A.          Packing means to me having a greater

  20      number of -- for example, a district that's composed

  21      of 65 percent or 75, maybe even 80 percent of black

  22      individuals when that dilutes the voting strength of

  23      the black population in an area.

  24               Q.          And is there a magic number that gets to

  25      packing in your view?

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   1              A.             Well, I'm going to say it becomes
   2      questionable when there's no need to when we're
   3      greater than fifty percent or greater.
   4              Q.             When you say the "we", who is the "we" to
   5      whom you refer?
   6              A.             Well, I guess what I'm saying fifty
   7      percent, when I say we -- I'm saying we have a
   8      population for a district that's 65 percent or 70
   9      percent black individuals when it could have been
 10       configured in another way to allow the opportunity for
 11       another individual to represent the community.
 12               Q.             Again I guess that depends on one's
 13       definition of community, right?
 14               A.             Yes.
 15               Q.             Okay.      You use the word cracking, okay.
 16       What does that term mean to you?
 17               A.             Intentionally dividing a district in
 18       such a manner that there are -- and really these
 19       communities are communities of interest, very similar
 20       interests and they're divided.
 21                              The district is drawn in such a manner
 22       and that happens in -- it could happen in cities or
 23       counties where they are divided and they have two
 24       representatives that may think totally different
 25       because they may be paired with someone that's not of

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   1      the same mindset that they are.
   2               Q.            You used the word intentional.                   Is that
   3      right?
   4               A.            Did I use that, intentional?                   I said --
   5               Q.            No.     I believe you used the word -- when
   6      I asked you that question, you used the word
   7      intentional.           Is that right?
   8               A.            I don't know.           Did I -- what I intended
   9      to say was that districts, they are drawn that way.
 10       Whether it's intentional or not, I can't say but they
 11       are drawn in such a manner that it dilutes the black
 12       person's ability to vote.                  Not ability but in terms of
 13       the impact, influence of their vote.
 14                Q.            And then you went on to use the phrase,
 15       we hope you won't do that and we look to hopefully see
 16       more of us sitting in these seats the next time we come
 17       around.       What did you mean by that?
 18                A.            Well, that was explaining to them what
 19       the hope was in terms of redistricting that it would
 20       be done in a fair manner and it would be done to
 21       reflect constitutional requirements as well as not
 22       packing and cracking districts.                     That was a request.
 23                Q.            When you use the term "us" and then you
 24       use the term "we", who is the term "us"?                          "Hopefully
 25       more of us sitting in these seats."

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   1             A.            Black people.

   2             Q.            Okay.      So you're basically saying you

   3      would like to see more African Americans or black people

   4      serving in the Legislature.                Is that right?

   5             A.            At least have an opportunity to serve,

   6      yes.   And with the current plan, that opportunity has

   7      decreased.

   8             Q.            Do you know -- and how about giving me

   9      some specific evidence to back that up?

  10             A.            You can look at the Columbia or the

  11      Richland County area.              It's very evident.          It's there.

  12             Q.            Give me some specific evidence to back

  13      that up.

  14             A.            The way the lines are drawn now, we

  15      have blacks that are -- will be competing against each

  16      other so that's one less representative for those

  17      communities.

  18             Q.            Are you referring to Representative

  19      Brawley and Representative Johnson?

  20             A.            No.     I'm talking about more than that

  21      in the Columbia area.

  22             Q.            Elaborate, please.

  23             A.            I'm not talking about individuals.                 I'm

  24      talking about opportunities for black people to be

  25      able to have the opportunity to decide whether or not

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   1      they want to run for office and that opportunity no
   2      longer exists.            I'm not talking about individuals and
   3      I think I made that very clear from the onset.
   4                             I have never -- we have never -- we
   5      have not considered incumbents and their positions.
   6      We've looked at opportunities for representation.
   7               Q.            Do you know how many African American
   8      representatives currently serve in the House of
   9      Representatives after the 2020 election?
 10                A.            Yes, I know.
 11                Q.            How many?
 12                A.            Currently we have twenty-four which
 13       will be reduced by three.
 14                Q.            Twenty-four or thirty-four?
 15                A.            We don't have thirty-four.
 16                Q.            I'm asking you.
 17                A.            No.
 18                Q.            You believe that there are twenty-four
 19       African American representatives in the House.                            Is that
 20       right?
 21                A.            At least.        At least that, yes.
 22                Q.            When you say at least that, what do you
 23       mean?
 24                A.            Well, I am saying I'm not looking at a
 25       document right now but I know that looking at those

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   1      districts and there has been a decrease in the number
   2      of opportunities for blacks to be represented.
   3              Q.             I'm going to look at a document and I'm
   4      going to ask Ms. Rabon to pull up a document that we
   5      just got last night.               Okay.       And it's taking us a few
   6      minutes, some time to digest them and we're not done
   7      digesting.
   8                             MR. MOORE:        Could you pull up Number 23,
   9      Ms. Rabon?
 10               Q.             And do you recall if you were at a
 11       meeting of the SC State Conference of the NAACP
 12       reapportionment committee minutes meeting that was on
 13       June 21, 2021?            Do you recall if you were at that
 14       meeting?
 15               A.             What minutes are you talking about?
 16               Q.             Minutes that were provided to us
 17       yesterday.          I'm trying to pull them up.
 18               A.             Okay.
 19               Q.             So take a moment.
 20               A.             Okay.
 21                              MR. MOORE:        You have to show her
 22       documents through this -- we're probably going to take
 23       a lunch break after I get done with these questions.
 24                              THE DEPONENT:           Okay.
 25                              MR. MOORE:        In fact, if you want to

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   1      take -- how long is it going to take for you to get
   2      that up, Ms. Rabon?               Ms. Rabon, if he clicks to
   3      refresh, should it be available to him?                          Is it
   4      available to you, Ms. Mann?
   5                             THE COURT REPORTER:              No.
   6                             MR. INGRAM:         Let me check.          What exhibit
   7      number is it?
   8                             MR. MOORE:        Twenty-three.           What do you
   9      mean it's 6 in this?               I know but I marked it Exhibit
 10       Number 23.          So are you telling me now it has to be
 11       Exhibit Number 6?              Exhibit Number 6 then.
 12                              MR. INGRAM:         Yes, I have it pulled up.
 13                               (Whereupon, Defendant's
 14                               Exhibit 6 was marked for
 15                               identification.)
 16               Q.             Have you seen this document before, Ms.
 17       Murphy?
 18               A.             I'm sure I have.
 19               Q.             And so are these minutes of a
 20       reapportionment committee meeting?
 21               A.             Yes.
 22               Q.             Okay.      And it lists a number of people in
 23       attendance including you.                  Is that right?
 24               A.             Yes.
 25               Q.             Okay.      It lists Attorney Charles Boykin.

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   1      Who is he?
   2              A.             He is a member of our executive
   3      committee.
   4              Q.             Okay.      When you say "ours", you mean your
   5      branch -- I mean your state conference's executive
   6      committee?
   7              A.             Yes.     Yes.
   8              Q.             And who is Amelia Glisson?
   9              A.             She is the administrative assistant.
 10               Q.             Who is Jennifer Tague?
 11               A.             She's from AFL-CIO.
 12               Q.             Who is John Ruoff?
 13               A.             Ruoff.      Dr. John Ruoff is our
 14       consultant.
 15               Q.             Consultant for whom?
 16               A.             For the state conference local
 17       redistricting.
 18               Q.             Okay.      Is he also someone who consults
 19       with the League of Women Voters if you know?
 20               A.             Yes.
 21               Q.             Okay.      And there are a number of
 22       attorneys listed on here, correct?
 23               A.             Yes.     Let me see.         Yes, there are
 24       several.      Yes.
 25               Q.             Okay.      And included in that list is Ms.

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 1      Aden who is in this call or in this deposition and Mr.
 2      Cusick, correct?
 3              A.            Yes.
 4              Q.            Okay.      And there's also a person named
 5      Adriel Cepeda.           Who is Adriel Cepeda?
 6              A.            He was with ACLU.
 7              Q.            Okay.      And so Mr. Cepeda states that
 8      their desire is to ensure SC maps that come out of the
 9      cycle are as fair and equitable as possible.                         SC black
10      voter age population, BVAP, is 26.6 percent voting
11      population and desire for representation to be
12      proportional.           Do you see that?
13              A.            Yes.
14              Q.            Okay.      And that was of course before the
15      census data was released, correct?
16              A.            Yes.
17              Q.            Okay.      All right.
18              A.            And may I make a statement?
19              Q.            Yes, ma'am.
20              A.            As I mentioned, we started as a
21      group even before this coalition was formed.                         We
22      started with our leadership group in terms of training
23      and I think I mentioned this earlier regarding what
24      the -- what redistricting was all about, how -- even
25      to the point of one -- South Carolina Proud (sic)

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 1      Academy.     I think you have a list -- I think you do

 2      have that -- where we attended BVAPs training where it

 3      introduced us to mapping, how to do mapping.                    Some of

 4      our members were very, very interested in doing that,

 5      learning how to do that.              And it culminated eventually

 6      with this group being formed.

 7                           Now as we look at the populations and

 8      the BVAP and as we worked, you know, we have these

 9      individuals that are partners and we work to --

10      towards as we work with the different learning how to

11      create maps, how to make sure we're looking at that

12      percentage there that was mentioned by Attorney

13      Cepeda.

14              Q.           Cepeda?

15              A.           Yeah, Cepeda.

16              Q.           And so he used the term BVAP.             That's his

17      term.     What does it mean to you?

18              A.           Black voters at the age -- at the age

19      to be able to vote.

20              Q.           Okay.     All right.       So I'm going to ask

21      you to flip over to the second page.                   So scroll down,

22      Ms. Rabon.     Okay.         You see at the bottom or close to the

23      bottom that has another statement from Attorney Cepeda

24      and I'll read it.

25                           It says we don't see an obvious

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 1      representational gap in the State House.                         Based on the
 2      26.6 percent of black voters, we should have 33 black
 3      representatives to be proportional and it has 34.                             Do
 4      you see that?
 5              A.            I see that.
 6              Q.            Okay.      And so Mr. Cepeda is saying, is he
 7      not, that after the 2010 election cycle there are 34
 8      African American representatives in the State House?
 9              A.            I'm going to say that I -- yeah, I
10      don't know if it's a typo.                  I can't say but I do know
11      that the number is not 34.
12              Q.            Well, he also --
13              A.            Unless he looked at -- unless he was
14      looking at the House and the Senate.                         That may have
15      been, you know.            I'm not sure.
16              Q.            But it says based on -- we don't see an
17      obvious representational gap in the State House, right?
18      He says that?
19              A.            He says that but I would like to
20      comment this, to make a statement regarding whether
21      it's there -- whatever that reference is, that 34 is a
22      combination of the House and representatives.                          What
23      we're looking now at our representation in the House
24      and that opportunity has decreased.
25                            Also I can't -- you know, in terms

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 1      of -- yes, when we look at population, the current
 2      maps, when we look at the population and the number
 3      that we will have the opportunity in terms of a black
 4      individual being -- running for an office or elected
 5      for an office, then that number has decreased.
 6                            MR. MOORE:         Okay.      So we're going to
 7      pause and have a lunch break here.                      So Ms. Mann, how
 8      long -- how much time has elapsed on our clock?                          You
 9      can tell me when we come back from the lunch break.
10      Is that right?
11                            THE COURT REPORTER:              Yes.
12                            MR. MOORE:         Okay.      So how long do y'all
13      need for lunch?
14                            THE DEPONENT:          I'm good.        You tell me
15      what you need.
16                            MR. MOORE:         Do y'all want to take a
17      thirty minute lunch break?
18                            MR. INGRAM:         That works.
19                            MR. MOORE:         Okay.      I certainly don't
20      think we need any longer than that, right?
21                            THE DEPONENT:          Okay.      No.
22                            MR. MOORE:         Okay.      So we will reconvene
23      then at 1:15.
24                            THE DEPONENT:          Okay.      Thank you.
25                            MR. MOORE:         Thank you.

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 1                           (Lunch recess.)

 2             Q.            (BY MR. MOORE:)         So Ms. Murphy, during

 3      the lunch break, did you consult with either Mr. Ingram

 4      or anybody else who is your counsel?

 5             A.            No.

 6             Q.            Did you have any discussions with them

 7      about the substance of this testimony?

 8             A.            No.

 9             Q.            Okay.    All right.        So I'm going to go

10      back to that document.             Thank you.       And while we do, I'm

11      assuming, Ms. Murphy, that you know Mr. Cepeda, correct?

12             A.            Yes, by virtue of being a part of this

13      coalition.     He was for a while and then he was

14      replaced by someone else in the organization.

15             Q.            But you don't have any reason to believe

16      that his counts would be inaccurate, do you?

17             A.            You know, as I said before, the

18      numbers -- I don't know if he was considering all of

19      the -- you know, the Senate as well as the House.

20             Q.            Okay.    Well, are you absolutely certain

21      that your count is correct because I will tell you that

22      Mr. Parente's count mirrors Mr. Cepeda's count with

23      respect to the number of African Americans who were in

24      the House after 2020 election.                So do you have any

25      reason to doubt Mr. Cepeda's figures?

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 1              A.            You are saying that there are 34
 2      African American representatives in the House.                          Is
 3      that what you're saying?
 4              Q.            Well, I'm asking a question.                Mr. Cepeda
 5      says that based on the 26 percent of black voters, we
 6      should have 33 black representatives which is a
 7      representative in the House and it has 34.                        His math
 8      agrees with mine.             Do you have any reason to dispute
 9      that?
10                            MR. INGRAM:         Objection.         Argumentative
11      and asked and answered.
12              Q.            Ms. Murphy, you may answer.
13              A.            My answer doesn't change from the
14      previous answer that I gave.
15              Q.            Okay.      Well, would you agree with me that
16      if there are 34 -- if there were 34 African American
17      representatives in the House of Representatives, then
18      that would be a greater proportional number than the
19      26.8 figure that is referenced?                     Would you agree with
20      that, Ms. Murphy?             And that's a yes or no.
21              A.            Thirty-four is greater than 26, 28.
22              Q.            Okay.      And it's pretty clear, is it not,
23      if you read the next line that he's only talking -- in
24      subparagraph one in your notes, he's only talking about
25      representatives in the House because he then goes on to

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 1      say the Senate just needs one more seat to be held by a

 2      black candidate to be proportional, correct?                    He breaks

 3      it out in terms of House and Senate, does he not?

 4             A.            From what I'm reading, yes.

 5             Q.            Okay.     And you told me earlier that you

 6      studied the census figures.                Is that right?

 7             A.            Yes, I did.

 8             Q.            Okay.     And so you are aware that the

 9      percentage of African Americans in the 2020 census, the

10      percentage of African Americans with respect to --

11      African Americans over the age to vote has decreased

12      rather than increased since the 2020 census, correct?

13             A.            Yes.

14             Q.            Okay.     And the 2020 census indicates that

15      there are a fewer percentage of African Americans in

16      South Carolina than were in the 2010 census.                    Correct or

17      incorrect?

18             A.            Yes.     That's correct.

19             Q.            Okay.     And so if currently there are --

20      if based on the -- well, I'm just going to move on.                       I'm

21      going to move on.            I think I've made my point.           Let me

22      ask you this question.              Did you record a video?

23             A.            I recorded -- yes, I have.

24             Q.            All right.

25             A.            It's not regarding redistricting per

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 1      se, no.
 2               Q.           Did you record a video saying Behind the
 3      Lines, Repercussions of Redistricting, Commentary and
 4      Perspectives by Brenda Murphy, the NAACP dated December
 5      6, 2021?        Did you record such a video?
 6               A.           I would need to see what video you're
 7      talking about.
 8                              (Whereupon, Defendant's
 9                              Exhibit 7 was marked for
10                              identification.)
11               Q.           Put up Number 8 and show her -- what is
12      my Number 8.          I guess this would be Number 7.                  Is that
13      right?        And we circulated the link.                    Are you going to
14      need me to play this video in order for you to tell me
15      if you recorded a video dated December 6th --
16               A.           I would need to see it, especially if
17      it's regarding redistricting.                    Yes, I would.
18               Q.           Okay.      Do you see that video up on the
19      screen?
20               A.           We're trying to find it.
21               Q.           Is it on the screen now?                  I believe it's
22      on the screen.           Is that you, Ms. Murphy?
23               A.           Yes.
24               Q.           Okay.      Commentary and Perspectives,
25      Behind the Lines, Repercussions of Redistricting.                           Did

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 1      you -- pause the video for a minute.                    Okay.   So Ms.

 2      Murphy, you see here that it says Behind the Lines,

 3      Repercussions of Redistricting, Commentary and

 4      Perspective by Brenda Murphy, NAACP, and underneath it

 5      shows views, December 6, 2021.                 Is that right?

 6             A.            I think that's what it says but I think

 7      I need to hear the contents because that's the first

 8      I've seen it labeled that way.

 9                           MR. MOORE:        Okay.     How long is it,

10      Mr. Parente?

11             Q.            I'm not going to play the entire nineteen

12      minutes.     I'm going to play a minute or two and then I'm

13      going to ask you some questions.

14                           (Video playing.)

15             A.            That is the not same video, sir.

16                           (Video playing.)

17             A.            Sir?

18                           MR. MOORE:        Pause it.       Pause it.

19                           (Video stopped.)

20             A.            Unless you need to play that entire

21      video --

22             Q.            I don't.

23             A.            Okay.     What it said on that video, it's

24      basically what I've said throughout this meeting, that

25      we saw the importance of providing education to our

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 1      members and others interested regarding the
 2      redistricting process.                There is nothing in there
 3      derogatory about what has -- any outcome or anything
 4      else.     It was just basically related to preparing the
 5      community to understand what redistricting is all
 6      about and how we did that.
 7               Q.           That wasn't in response to a question but
 8      now are you familiar with the video that I'm talking
 9      about, Ms. Murphy?
10               A.           Yes, I am.
11               Q.           Okay.      All right.         And that's you on the
12      video.        Is that right?
13               A.           Yes, it is.
14               Q.           Okay.      All right.         And do you disagree
15      with me you said that there was gerrymandering in the
16      process?        Do you disagree with me that you used those
17      words?
18               A.           I said that here today.
19               Q.           So you say that there's gerrymandering.
20      Is that correct?             In the House districts?
21               A.           Yes.
22               Q.           Okay.      Do you mean political
23      gerrymandering or racial gerrymandering, Ms. Murphy?
24               A.           Racial gerrymandering.
25               Q.           You had to think for a moment.                 What does

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 1      the term --
 2               A.           No.     I paused -- I paused to give my --
 3      to -- I didn't stop to think.                    I stopped before I
 4      answered because I needed to take a breath before I
 5      answered your question because I wanted to answer in a
 6      manner that is respective because I have said to you
 7      repeatedly over and over and over again that, yes, I
 8      do believe gerrymandering occurred.                          I have defined
 9      splitting and gerrymandering so I think I made that
10      clear.
11               Q.           Okay.      Well, here's my question to you,
12      Ms. Murphy.          What does the term racial gerrymandering
13      mean to you?
14               A.           With populations -- well, I'll tell
15      you.     In terms of how neighborhoods have changed, in
16      terms of the population ages and how lines are drawn
17      and -- I'm not going to say intentionally or
18      unintentionally.
19                            As I said before, it's what happens,
20      the end result, the outcome in terms of how those
21      lines have been drawn.                Maybe now we have communities
22      drawn in such a way that we are packing black people,
23      too many together in a community which dilutes the
24      potential for individuals to be a part of our
25      political process here in the state of South Carolina.

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 1              Q.            Do you believe that the NAACP's proposed
 2      maps engage in racial gerrymandering, Ms. Murphy?
 3              A.            No, I do not.
 4              Q.            And why not?
 5              A.            Because I think they were drawn in such
 6      a way considering all of the factors that needed to be
 7      considered.
 8              Q.            Okay.      So I want you to tell me why you
 9      believe that the House maps were not drawn in a manner
10      based on considering all the facts that needed to be
11      considered?
12              A.            I think I just answered that.
13              Q.            To use your words.             To use your words.
14              A.            I just answered that.
15              Q.            And I want you to answer it again.                   Why
16      do you believe that the House maps failed to consider
17      all of the factors that needed to be considered, to use
18      your words?
19              A.            I'm not able to answer that because I
20      don't know what was in the minds of that committee
21      when they drew the lines.
22              Q.            But you understand that racial
23      gerrymandering has a purposeful connotation, correct?
24              A.            Yes, I do.
25              Q.            Okay.      All right.         So as we sit here

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 1      today and we are in February, your first lawsuit was

 2      brought on October the 12th.               Your amended complaint was

 3      brought a couple of days before Christmas.                     I believe it

 4      was brought on December 23rd.

 5                           As we sit here today, I would like you to

 6      tell me as we sit here today what facts or evidence you

 7      have to support the allegation that the House engaged in

 8      racial gerrymandering to the detriment of minority

 9      votes.

10                           MR. INGRAM:       Objection.        President Murphy

11      is not a lawyer.          She's merely answering from her own

12      perspective.

13                           MR. MOORE:       And I'm asking from her own

14      perspective, Mr. Ingram, so I'm expecting an answer.

15               A.          I am not an attorney but I do know that

16      when you look at the maps in terms of how they are

17      presently drawn, the mapping, that there is packing in

18      some of the areas in terms of the community.

19               Q.          You also said in this video presentation

20      that there was splitting of communities.                     Is that right?

21               A.          You know, I think -- I think we do need

22      to listen at the whole -- you need to share that with

23      me because I think what I talked about is we needed to

24      be aware and, you know, we watch for -- you know,

25      gerrymandering could be an issue.                  Splitting should

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 1      not occur.     So maybe I do need to hear my own words.

 2               Q.          Well, we might do that at the end because

 3      I'm going to shift for a moment and I'll give you an

 4      opportunity to listen to this entire video but here's my

 5      question to you.          Do you believe that communities were

 6      split?

 7               A.          In my opinion or the opinion of the

 8      group?

 9               Q.          I'm asking for you --

10               A.          No, I'm not speaking on behalf of

11      myself here today.           I'm speaking on behalf of the

12      coalition so I will say to you the coalition in terms

13      of our meetings, yes.

14               Q.          But you're being deposed individually,

15      okay.     And so my question to you is do you believe that

16      communities were split?

17                           MR. INGRAM:       Objection.        Asked and

18      answered.

19                           MR. MOORE:       Asked.     Not answered.

20               Q.          Please answer the question, Ms. Murphy.

21      Do you believe communities were split?

22               A.          I am answering this as a member of the

23      coalition, not as Brenda C. Murphy because I was asked

24      to be -- I'm here representing the South Carolina

25      State Conference.

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 1               Q.          Ma'am, you're here because I issued --

 2      your lawyers agreed to produce you and we sent a notice.

 3      That's why you're here.             And so my question -- and if

 4      you're not going to answer my question, just tell me

 5      you're not going to answer it.                Do you believe that

 6      communities were split?

 7                           MR. INGRAM:       Objection.        Asked and

 8      answered and badgering the witness.

 9               Q.          Are you going to answer my question, Ms.

10      Murphy?

11               A.          I've answered your question.

12               Q.          Do you believe that communities were

13      split?

14               A.          I've answered your first question, sir.

15      My answers are based on the coalition.

16               Q.          Okay.    And so if your answers are based

17      on the coalition, which is a little inconsistent with

18      what Mr. Ingram said at the beginning of this

19      deposition, but if your answers are on behalf of the

20      coalition, can you explain exactly which communities the

21      coalition identified prior to the filing of this lawsuit

22      as communities that were split?

23               A.          I'm not -- I'm not prepared to answer

24      that question today.

25               Q.          So you can't answer that question.                Is

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 1      that right, Ms. Murphy?
 2              A.            How many communities do we have listed?
 3              Q.            I'm not here to answer questions.
 4              A.            Okay.      That's why I'm not going to
 5      answer that question today.
 6              Q.            Okay.      When will you be able to answer
 7      that question, Ms. Murphy?
 8                            MR. INGRAM:         Objection.         We've already
 9      had a discussion about the challenged districts.
10      Overlap of the subject matter so asked and answered
11      objection applies here as well.
12                            MR. MOORE:         You are giving speaking
13      objections to give hints to the witness on how to
14      respond, Mr. Ingram.              Please stop it.
15              Q.            Ms. Murphy, can you identify any specific
16      community that you or the coalition contends was
17      inappropriately split today?
18              A.            Of course I can.            Richland County.
19              Q.            Richland County is a community, is that
20      right, to you?
21              A.            There were areas in Richland County
22      that were split.
23              Q.            Okay.      Can you explain all of the
24      communities that you believe were split and how you
25      believe they were split?

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 1              A.            I think that's an unfair question and I
 2      will not answer that because you are asking me to
 3      respond to information where there is quite a few
 4      districts that we're talking about that have already
 5      been identified.            I have no access to my notes, no
 6      access to any written material, and I'm not going to
 7      respond off the top of my head.
 8              Q.            How would you be able to respond to that
 9      question?      What would it take you to be able to respond
10      to that question, Ms. Murphy?
11              A.            For you to give me -- you want to show
12      the districts that were identified?
13              Q.            I'm going to go over a number of
14      districts, Ms. Murphy.                I'm going to do that.            Yes,
15      ma'am, I am.          You told me a few minutes ago that you
16      weren't prepared to do it today.                     So what would it take
17      to allow you to be prepared to identify all of the
18      communities that you believe were split?
19              A.            Review my documents.
20              Q.            What documents are you talking about?
21              A.            I'm talking about the testimony that
22      was given.
23              Q.            Okay.      I believe -- do you agree that you
24      said that the ad hoc committee was not transparent in
25      how they defined communities of interest?

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 1               A.          That they were not transparent?

 2               Q.          Yes.     Do you recall saying that you

 3      believe that the ad hoc committee was not transparent in

 4      how they defined communities of interest?

 5               A.          When did I say -- oh, you mean -- you

 6      mean ad hoc committee for the House.

 7               Q.          Do you recall saying that in the video

 8      that the ad hoc committee was not transparent in how

 9      they defined communities of interest?                     Do you recall

10      saying that?         Yes or no.

11               A.          I recall -- and I probably said this

12      during the hearing as well -- that we needed more

13      transparency in terms of how communities were defined.

14               Q.          How do you define communities of

15      interest?

16               A.          Well, that could be several ways.

17               Q.          Okay.     And different people could define

18      communities of interest in different ways.                     Is that

19      right?        Do you agree or disagree with that?

20               A.          I agree with your definition.

21               Q.          Okay.     I don't believe that was a

22      definition.         My question was do you agree or disagree

23      with me that different people can define communities of

24      interest different ways?

25               A.          Yeah, that's true.

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 1              Q.            Okay.      And do you recall saying that the
 2      ad hoc committee was not following the law?
 3              A.            No.     When I spoke, I always said that
 4      the ad hoc committee, we ask that they follow the
 5      Constitution and comply with their criteria in terms
 6      of defining districts.
 7                            MR. MOORE:         You know, I hate to do this
 8      but I think that we need -- I think she's correct that
 9      we need to listen to this video so we're going to
10      listen and then I'm going to pause and ask some
11      questions as we go along.
12                            (Video playing.)
13                            MR. MOORE:         Can you pause it for a
14      moment, Ms. Rabon?
15                            (Video stopped.)
16              Q.            So you said there was gerrymandering.
17      Okay.     Again what evidence did you have to support that
18      when you went on to make this video, Ms. Murphy?
19              A.            Do you know in what context I said
20      there was gerrymandering?
21              Q.            No.     In what context did you say there
22      was gerrymandering?
23              A.            I did not -- I did not reference any
24      House or House maps in terms of gerrymandering during
25      that -- when I did that presentation or that

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 1      interview.
 2               Q.           Okay.      Well, you --
 3               A.           Gerrymandering is based on my general
 4      knowledge.          Gerrymandering does occur.                It has
 5      occurred in our black community.                     We know that it has.
 6      And, you know, to even ask that question has
 7      gerrymandering occurred, yes, it has.                        If you want a
 8      yes or no question, yes, it has.
 9               Q.           Okay.      My question is I believe you told
10      him in response to a question about the House districts
11      that had been criticized as gerrymandering that they
12      were gerrymandering.              Is that what you were saying?
13               A.           No, that was not what I was saying.
14               Q.           And then I believe -- let's keep going.
15                            (Video playing.)
16                            MR. MOORE:         Pause it for a moment.
17                            (Video stopped.)
18               Q.           I believe that you told him a minute or
19      two ago that you believe that communities had been
20      split.        What communities were you referring to at that
21      time?
22               A.           I was not referring to -- I did not
23      respond House or Senate.
24               Q.           I know, ma'am.           My question is when you
25      said that you believe that communities were split, what

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 1      communities were you referring to when you made that
 2      statement to Mr. Bailey?
 3              A.            It was an overall statement.
 4              Q.            You didn't have any specific community in
 5      mind?
 6              A.            He didn't ask me for a community.
 7              Q.            Okay.      My question to you is did you have
 8      a specific community in mind?
 9              A.            Let me just say that gerrymandering has
10      been an issue -- it was an issue in the 2010
11      redistricting as well.                So this is not a new idea or a
12      new concept.
13                            So when we talk about gerrymandering
14      and when we were talking about gerrymandering in this
15      conversation, it was general -- a general statement
16      that, yes, it has occurred in this state.                        It had no
17      relationship to the outcome in terms of what we are
18      dealing with today.
19              Q.            Okay.      So I mean you agree with me that
20      there were allegations made of gerrymandering in 2010
21      and 2010 cycle, correct?
22              A.            In the 2010 cycle?             There were
23      problems.      There were issues.
24              Q.            Okay.      And you recall that portions of
25      that lawsuit were dismissed and the Court, the three

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 1      judge panel in that case, ruled --

 2               A.          I don't recall, sir.

 3               Q.          And are you -- let me finish.             Are you

 4      aware that the Court ruled against those challenges?

 5               A.          I don't recall, sir.

 6               Q.          Okay.     Are you also aware that in the

 7      2010 cycle when pre-clearance was still an issue that

 8      the justice department pre-cleared the maps?                    Are you

 9      aware of that?

10               A.          We have a different situation now.

11               Q.          That wasn't my question, Ms. Murphy.                I

12      would really ask -- you can explain your answer, okay,

13      but an answer is yes or no and then an explanation.                          And

14      so I'm going to ask you to answer my question and then

15      explain your answer.             Are you aware that in 2010 the

16      justice department pre-cleared the House district?                       Yes

17      or no.

18               A.          Yes.

19               Q.          Okay.     And are you aware that in 2010 the

20      challenged districts were upheld by a federal court?

21      Are you aware of that?              Yes or no.

22               A.          May I answer the question and then make

23      a statement?

24               Q.          You may.

25               A.          Yes, in 2010, that is true but we are

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 1      dealing with a different situation now.                       We are

 2      dealing with the census that has shifted significantly

 3      in certain places.

 4             Q.            And when you say that we're dealing with

 5      a census that has shifted, we have areas of the state

 6      which have lost population, correct?

 7             A.            I wouldn't say that they were the same.

 8             Q.            I didn't say they were the same, ma'am.

 9      I will restate my question.                We have areas of the state

10      that have lost population, correct?

11             A.            Correct.

12             Q.            Okay.     And we have areas of the state

13      that have gained population, correct?

14             A.            Yes.

15             Q.            Okay.     And those losses and gains dictate

16      to a substantial extent where districts need to be drawn

17      or re-drawn, correct?

18             A.            Yes.

19             Q.            And the African American population of

20      South Carolina according to the census is less -- the

21      black voting population is less in the 2010 census than

22      it was in the 2010 (sic) census.                  Correct or incorrect?

23             A.            May I answer the question and make a

24      statement?

25             Q.            You may.       Yes, ma'am, you may.

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 1             A.            Yes, it has but there are several

 2      variables that we need to be aware of.

 3             Q.            And what are those variables, ma'am?

 4             A.            In terms of the census, is it truly

 5      reflective of the numbers of the black population and

 6      maybe it's not.          And I'm making a statement here that

 7      are we saying -- or a question.                 Are we saying that

 8      because of the perceived decrease in the black

 9      population, we should decrease the number of African

10      American or black representatives in our House or

11      should we do everything we can to maintain at least

12      competitive districts.

13             Q.            Is that a statement?

14             A.            That's a statement.           I'm not asking for

15      an answer.

16             Q.            Okay.    I believe that -- do you recall

17      using the phrase -- and we can listen to this whole

18      recording if we need to.              Do you recall using the phrase

19      we need opportunity districts?

20             A.            I say that often.          I may have.

21             Q.            Okay.    What's an opportunity district?

22             A.            The opportunity for at least candidates

23      of our race, black people at least have the

24      opportunity to be considered as a candidate if they so

25      desire and have the potential of winning.                    That does

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 1      not mean that they have to have a fifty plus

 2      percentage to win but at least a reasonable

 3      opportunity to win.

 4              Q.           And I believe -- correct me if I'm

 5      wrong -- you said at some point in this video that there

 6      were at least four districts where you might lose

 7      representation.          Do you recall saying that?

 8              A.           Yeah, I did.

 9              Q.           Okay.     What are those four districts?

10              A.           I didn't say district.            I said there

11      are four -- that we have the potential of losing four

12      representatives in the current districts that we have.

13              Q.           Who are those four representatives and in

14      which districts?

15              A.           I'm not going to give names of that

16      because I don't deal with names.                 I'm dealing with

17      opportunities for individuals to be candidates.

18                           (Simultaneous crosstalk.)

19              A.           -- those opportunities.

20              Q.           I believe that you told me that there was

21      four districts where you might lose representation.

22      Okay.    What four districts are you talking about?

23              A.           No, no.

24                           MR. INGRAM:       Objection.        Asked and

25      answered.

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 1                            MR. MOORE:         Asked again.           Not answered.
 2               Q.           What's your response, Ms. Murphy?                     Are
 3      you going to identify those four districts for me?
 4               A.           What I said during this interview was
 5      basically there was the potential to lose
 6      representation of four -- of four potential
 7      opportunities to have representation.
 8               Q.           And what are those four opportunities?
 9               A.           Well, you know --
10               Q.           Ma'am?
11               A.           When you go through those counties,
12      those areas that have been defined, I will discuss
13      them at that time if it's okay.
14               Q.           So you're not going to answer my question
15      as I sit here and ask you what four areas?                          You're not
16      going to answer that?
17                            MR. INGRAM:         Asked and answered.
18               Q.           Is that right, Ms. Murphy?                  Is that
19      right?        You're not going to identify them for me now?
20               A.           I will identify the counties if you
21      want me to.          Orangeberg County, Richland County, and
22      Florence County.            I think those are the four, four
23      areas -- three areas.
24               Q.           I think that's three.                  I'll move on.        Ms.
25      Murphy, you mentioned the coalition and I'm not going

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 1      to -- because I'm not going to take the time to show you

 2      each and every one of these letters but you're aware

 3      that this coalition that you referred to, the redistrict

 4      sent letters to the ad hoc committee.                     Is that right?

 5             A.            Yes.

 6             Q.            Okay.     I believe that there was a

 7      letter -- give you the dates.                 There's one that's

 8      undated.     There's one that's dated August 30, 2021.                      One

 9      that's dated September 27, 2021.                  One that's dated

10      October 8, 2021.            One that's dated November 15, 2021.

11      One that's dated November 19, 2021 and one that's dated

12      November 30th.          Do you recall those letters?

13             A.            Yes, I remember -- I recall the letters

14      being forwarded.

15             Q.            Okay.     And you were a signatory on those.

16      Is that correct?

17             A.            I've explained why I was earlier in

18      testimony.

19             Q.            Okay.     Well, my question is were you?               Do

20      you agree with me you were a signatory on each of those

21      letters?

22             A.            Yes.

23             Q.            Okay.     Did you write any of those

24      letters?

25                           MR. INGRAM:        Objection.        Asked and

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 1      answered.
 2              Q.            Please answer my question, Ms. Murphy.
 3              A.            As I explained earlier, the letters
 4      were drafted by the coalition.                    They were agreed upon.
 5      They were edited prior to my signature being placed on
 6      it.
 7              Q.            Were they drafted by lawyers for the
 8      coalition, Ms. Murphy?
 9              A.            They were drafted -- well, I think in
10      terms of the letters being -- as I mentioned earlier,
11      the letters were composed by the coalition.                         We put
12      our ideas and thoughts together.
13                            The actual -- I stated to you earlier
14      our office is closed due to COVID.                      I did not have the
15      resources to do those letters so they were done by I
16      think LDF in terms of the actual letter being
17      forwarded to the committee, the committee chair,
18      committee members.
19              Q.            Well, and each of the letters, I guess a
20      signature from one or more lawyers from the LDF is the
21      first signature.            Were they primarily drafted by the
22      LDF?    Just a yes or no and you can explain if you would
23      like.
24                            MR. INGRAM:         Objection.         Asked and
25      answered.

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 1              Q.            Can you answer my question, Ms. Murphy?
 2              A.            Do you want to know if they typed the
 3      letters?      Yes, they typed the letters.
 4              Q.            All right.         So are you --
 5              A.            And they were again -- and may I add
 6      and they were again reviewed by the coalition to make
 7      sure that every point that we wanted included was
 8      included.
 9              Q.            All right.         So are you familiar with the
10      ad hoc committee's redistricting guidelines?
11              A.            You mean -- yes.
12              Q.            Okay.
13              A.            Guidelines.         In terms of compliance
14      with the Constitution, the one man, one vote,
15      communities of interest?                 Are you talking that
16      criteria?
17              Q.            Ma'am, are you familiar that the ad
18      hoc -- I mean you studied what the ad hoc redistricting
19      committee put out on its website?                      Is that a yes or no?
20              A.            Yes.
21              Q.            And are you familiar with the fact that
22      the ad hoc committee issued guidelines that they
23      intended to follow in performing their duty to comply
24      with the law?           Are you familiar with that?
25              A.            Yeah, I'm familiar with that.

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 1             Q.            Okay.     Have you reviewed those

 2      guidelines?

 3             A.            Yes, I have.         I wouldn't say that I

 4      reviewed them today or this past week, no.

 5             Q.            Okay.     Did you review those guidelines

 6      before signing on to any of these letters if you know?

 7             A.            Yes.

 8             Q.            And these letters talk about complying

 9      with section -- strike that.                I'm just not going to ask

10      that question.          Your letters raise the issue of

11      transparency.         Is that right?

12             A.            We always encourage transparency.

13             Q.            You are aware that there were at least

14      twelve public hearings across the state.                      Is that right?

15             A.            I am aware but I also need to mention

16      that those hearings were held at times that were not

17      convenient for many and there were only two actually

18      scheduled virtuals which was near the end.                      When you

19      look at that compared to what the Senate did, it was

20      not as widespread in terms of the community being able

21      to respond.

22             Q.            Well --

23             A.            Many more virtual opportunities for

24      Senate hearings than there was for the House.

25             Q.            Okay.     I don't think that's in response

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 1      at all to my question and you keep adding as we go
 2      along.        You didn't answer the question yes or no.
 3      Here's my question.              Are you aware that that's more
 4      hearings than the House has held in other cycles?                           Are
 5      you aware of that?             Yes or no.
 6               A.           What's your question again?
 7               Q.           Are you aware that this is more hearings
 8      than the House has held previously?                          Are you aware of
 9      that?     Yes or no.
10               A.           Ten years ago, I wasn't as involved.
11               Q.           And are you aware that at least two of
12      the hearings included virtual testimony presentation --
13      participation and allowed members of the public to
14      attend virtually for both of those hearings?
15               A.           Yes.
16               Q.           Yes or no.
17               A.           I just stated that.
18               Q.           Okay.      So have you taken the position
19      that public input was not considered in the drafting of
20      these maps?
21               A.           I'm going to answer that public input,
22      yes, it was taken, but in terms of whether or not it
23      was enough, I'm going to say no.
24               Q.           Okay.      And on what do you base that?                On
25      what --

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 1                           (Simultaneous crosstalk.)

 2               Q.          Let me finish, ma'am.

 3               A.          Okay.

 4               Q.          On what evidence do you base your

 5      position that public input was not appropriately

 6      considered if that is in fact your position?

 7               A.          Oh, in terms of public input being

 8      considered?

 9               Q.          Yes.

10               A.          If you look at the outcome of the maps.

11      And that's from testimony given by not only the NAACP

12      but others that were participated, that did

13      participate in the hearings.

14               Q.          Anything else that you have to add to

15      that?

16               A.          Nothing else.

17               Q.          One moment.        In the letter dated November

18      15, 2021, the letter that you signed onto, identified

19      certain districts that you asked the ad hoc committee to

20      reconsider after the release of its plan, right?

21               A.          Sir, would you please not say that I

22      asked.        It was the coalition's overall agreement that

23      those areas be identified.

24               Q.          Okay.     So your letter -- okay.          You

25      signed onto it, correct, ma'am?

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 1              A.            I signed onto it with the input of the
 2      coalition.
 3              Q.            Okay.      And so District 102, 103 and 111
 4      were listed first.             Is that right?           And they were in
 5      Berkeley and Charleston Counties, correct?
 6              A.            I can't remember.             I don't have the
 7      letter in front of me.                I didn't have the opportunity
 8      to bring it up for review.
 9              Q.            It was provided to your counsel and it
10      was noted for your counsel several days ago that we
11      intended to go over these with you.                          So I reject the
12      consideration that you didn't have the opportunity to
13      review it.
14              A.            Yes, sir.
15              Q.            But if you'd like to look at it, I'll be
16      glad to show it to you.
17              A.            Go ahead.        What is your question?
18              Q.            Okay.      So it's the November 15, 2021.
19              A.            Sir, what is your question?
20              Q.            I'm going to put up the document and then
21      I'm going to ask you a question, okay, Ms. Murphy?
22              A.            Okay.
23                            MR. MOORE:         It's loading.           It should be
24      in your folder, Mr. Ingram.
25                            MR. INGRAM:         One second.

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 1                           MR. MOORE:        What exhibit number is it on

 2      the PDF list, 7 or 8?

 3                           MR. PARENTE:         Number 8.

 4                            (Whereupon, Defendant's

 5                            Exhibit 8 was marked for

 6                            identification.)

 7                           MR. MOORE:        Is it not popping up?        Can

 8      you see it, Mr. Ingram?

 9                           MR. INGRAM:        Yes.

10                           MR. MOORE:        You can see it?

11                           MR. INGRAM:        Correct.

12             Q.            Okay.     All right.        So on the first page,

13      it says that you asked the committee to reconsider its

14      proposed boundary lines for House Districts 102, 103,

15      and 111.     Is that right?

16             A.            Yes.

17             Q.            Okay.     None of those districts were among

18      the challenged districts.               Is that right?        If you know.

19             A.            No.     No.    I can't -- I don't have my

20      list in here, sir, so I don't want to admit to any one

21      so -- do you have a listing of the districts that we

22      listed?

23             Q.            Yes, ma'am.        There's a complaint and it

24      was drafted by your lawyers and I'm going to go over it

25      in minute.     Do you know if those three districts are the

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 1      in the challenged districts?               As you sit here today, do

 2      you know?     Yes or no.

 3             A.            Berkeley County -- you said Charleston

 4      County?

 5             Q.            Those three districts are in Berkeley and

 6      Charleston County.            Do you know if you challenged any of

 7      the Berkeley or Charleston County districts in your

 8      lawsuit, Ms. Murphy?

 9             A.            I know of challenges in those areas but

10      I'm not --

11             Q.            I'm going to move on.            I'm going to move

12      on and ask you about -- hold on for one moment.

13             A.            Okay.

14             Q.            I'm not going to spend a whole lot on

15      discussing what she did or didn't do.                    So I'm going to

16      move on.     Okay.

17             A.            Okay.

18             Q.            I'm going to move on because I could

19      spend thirty minutes doing this and I don't know that at

20      the end of the day that's the best use of our time.

21             A.            Okay.

22             Q.            So what do you believe are traditional

23      redistricting principles in South Carolina?

24             A.            What they should be?

25             Q.            No.     What are to you traditional

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 1      redistricting principles?                 Are you familiar with that
 2      phrase?
 3              A.            No.
 4              Q.            Okay.      All right.
 5              A.            In terms of traditional redistricting
 6      preferences?          Is that --
 7              Q.            Principles.         I used the words traditional
 8      redistricting principles.                 Are you familiar with that
 9      phrase?
10              A.            No.     No, I'm not.
11              Q.            Okay.      Do you have any criticism of the
12      ad hoc committee's redistricting guidelines?
13              A.            The only comment that I said regarding
14      their guidelines was just in terms of being a little
15      bit more in what I say transparent, just more -- being
16      a little bit more clearer in terms of some of the
17      criteria, especially as it related to how communities
18      were identified, communities of interest.
19              Q.            Okay.      And I believe we touched on this
20      before but would you agree that a smaller geographic
21      area is more likely to consist of fewer communities of
22      interest?
23              A.            A smaller area?
24              Q.            Yes, ma'am.
25              A.            Now we just -- you know, we have to

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 1      consider not just communities of interest because when
 2      we are dealing with criteria, we also have to be aware
 3      of the population.
 4              Q.            I wasn't asking -- I wasn't asking you
 5      about criteria at this point.                    I'm asking you about
 6      communities of interest.                 Would you agree with me that
 7      it's important to keep communities of interest whole?
 8      Is that right or wrong?
 9              A.            Yes, I agree with that.                I do.
10              Q.            All right.         And would you agree, for
11      example, that the town of Ridge Spring which has a
12      population of 579 might be a community of interest?
13              A.            There may be -- Ridge Spring.                  There
14      may be other similar areas around that community.                            You
15      know, it may be a little bit more widespread.                           So
16      should a district be composed of -- just because it's
17      579 individuals in Ridge Spring doesn't mean that that
18      community could be larger than that when you look at
19      community of interest.
20              Q.            Okay.      Well, but you would agree with me
21      that you should take pains not to split communities of
22      interest.      Is that right?
23              A.            Yes.
24              Q.            Okay.      And you would agree with me that
25      you shouldn't split voting precincts, right, to the

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 1      greatest extent?

 2             A.            Yes.

 3             Q.            Okay.     Would you agree with me that the

 4      map that your organization proposed split way more

 5      voting precincts than the map that was ultimately passed

 6      by the House?         Would you agree or disagree with that

 7      proposition?

 8             A.            I will agree that there may have been

 9      some more splitting but it provided the opportunity

10      for more -- no.          In terms of representation for

11      communities, there was an increase of opportunity to

12      do that.     So it was done in such a way to provide that

13      opportunity to us as black folk, as black people.

14             Q.            Do you consider the city of Columbia to

15      be one entire community of interest?

16             A.            We have to look -- I think what you

17      have to look at -- when we say a community of

18      interest, when you look at Columbia, South Carolina --

19             Q.            As an entire city, yes, ma'am.             Do you

20      consider that to be a community of interest, one entire

21      community of interest?              Yes or no.

22             A.            You're talking about the city of

23      Columbia or --

24             Q.            Yes, ma'am.        I'm talking about the city

25      of Columbia.

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 1             A.            The city of Columbia, yes.

 2             Q.            Okay.     Do you consider the city of

 3      Anderson to be a community of interest?

 4             A.            Yes.

 5             Q.            But did your map split the city of

 6      Columbia?

 7             A.            There was some splitting.

 8             Q.            Okay.     And on what basis do you claim

 9      that the city of Columbia is one solitary community of

10      interest?     Please explain that to me.

11             A.            We have to consider population.             We

12      cannot consider totally in terms of -- you know, we

13      have to follow the law.              We can't just say Columbia

14      has 509 -- a population of 509 so we're going to let

15      that be a district by itself when we know the number

16      is greater in terms of what the law permits.

17             Q.            Ma'am, I'm asking you a very simple

18      question and I would appreciate a simple answer.                      On

19      what specific facts do you rely on to support your

20      position that the city of Columbia is one community of

21      interest?     And if you want to tell me that you no longer

22      take that position, fine, tell me that, but if you're

23      going to take that position, I want to know what

24      specific facts support your assertion that the city of

25      Columbia is one entire community of interest.

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 1              A.           I need to ask you a question before I

 2      answer that.         Do you live in Columbia?

 3              Q.           Yes, ma'am, I do.

 4              A.           Okay.    The city of Columbia is pretty

 5      large in terms of population.                Would you agree to

 6      that?

 7              Q.           Well, I'm not going to engage in a back

 8      and forth do I agree or disagree.

 9              A.           Okay.    All right.        Well --

10                           (Simultaneous crosstalk.)

11              Q.           Let me stop you for a moment.              My

12      question was simply upon what do you rely to support

13      your assertion that you just made a few minutes ago that

14      the city of Columbia is a community of interest?                       Just

15      tell me quickly if you can.

16              A.           The resources in the area.              What

17      happens in Columbia is different than what happens say

18      in maybe another part of the county.                   Interest,

19      available resources to share.

20              Q.           How much time have you spent in Anderson?

21              A.           Let me -- I'll just share this with you

22      because I think you all need to know this and I think

23      I said this before.           I have traveled the state of

24      South Carolina.          I've gotten to know the presidents in

25      the different areas.            I visited different branches.              I

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 1      have visited Anderson and the president from their
 2      membership up there several times, a number of times
 3      so I'm very familiar with Anderson.
 4              Q.            All right.         And so --
 5              A.            Have I visited -- I have visited -- I
 6      can frankly say I visited every county in the state.
 7              Q.            Okay.      All right.         So upon what specific
 8      evidence do you rely on to support your assertion that
 9      Anderson, the city of Anderson is one unitary community
10      of interest?
11              A.            You're talking the city or the county?
12              Q.            City.      Yes, ma'am.
13              A.            Again the same variables that I
14      mentioned in Columbia that are very different in
15      Anderson but they are similar to those individuals
16      that live in that area.
17              Q.            Okay.      I'm going to shift gears for a
18      moment.      Okay.       I believe that you provided some
19      training.      Is that correct?
20              A.            Training?
21              Q.            Yes, ma'am.
22              A.            Regarding the redistricting process?
23              Q.            Yes, ma'am.
24              A.            Yes.
25              Q.            Okay.      What sort of training did the

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 1      NAACP or its local branches receive on redistricting if
 2      you know?
 3              A.            I think I said that earlier.                Regarding
 4      the process, regarding the importance of us being
 5      involved in that process, and the importance of us
 6      giving feedback to those that represent us.
 7              Q.            And --
 8              A.            I did not perform the training.                  The
 9      training was done by primarily Dr. Ruoff.
10              Q.            Okay.      And so what sort of training did
11      Dr. Ruoff put on?
12              A.            It was a classroom setting in terms of
13      just the redistricting process, those things that I
14      just talked about.
15              Q.            Did you pay him to conduct that training?
16              A.            He's a consultant, not -- he's a
17      consultant for us.             We pay him a minimal fee but just
18      for consultation.
19              Q.            Okay.      So who paid him a fee?
20              A.            We did.
21              Q.            Who is the "we"?
22              A.            The South Carolina State Conference.
23              Q.            Okay.      And when did you begin paying him?
24              A.            Last year in June.
25              Q.            2021?

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 1               A.           Yes.
 2               Q.           Was he also paid by the League of Women
 3      Voters if you know?
 4               A.           I don't know.
 5               Q.           I believe you attended public hearings
 6      where he has testified alongside Ms. Teague.                          Is that
 7      right?
 8               A.           Yes, I did.
 9               Q.           And let me ask you this question.                     Was
10      Mr. Ruoff involved at all in the drawing of the maps
11      that you submitted for consideration?
12               A.           No, he was not.
13               Q.           Okay.      Who drew those maps?
14               A.           With our input, they were drawn by the
15      ACLU resource that had expertise in that area.
16               Q.           So who drew them?             Who?
17               A.           ACLU had a resource.
18               Q.           Who was that resource?                  Who was the
19      person that did the drawing?
20               A.           I cannot answer that.                  All I know is we
21      did not pay anyone for drawing up any lines and we
22      used individuals that had expertise that were on
23      our -- a part of our coalition.
24                            You know, we learned the basics about
25      methods, but in terms of that being critiqued and

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 1      making us aware of certain variables that needed to be
 2      considered and make sure that we were inclusive, that
 3      was done by ACLU with someone with expertise in that
 4      area.
 5               Q.           So the ACLU drew your maps for you.                   Is
 6      that what you're telling me?
 7               A.           With our input, yes.
 8               Q.           Okay.      And do you know the name of the
 9      person who was involved in drawing of the maps?
10               A.           I don't -- no, I don't.                I can't tell
11      you off the top of my head, no.
12               Q.           Have you ever heard that name?
13               A.           No, not the -- I can't tell you the
14      name of the person.              That is someone that has
15      expertise in that area.                We did not have the resources
16      or the funding to do that.                  So you know that you have
17      to have certain programs to assist in that process and
18      so ACLU had that -- had that resource.
19                            So with them being a part of coalition,
20      looking at past history, getting information from
21      those our presidents and others, then the maps were
22      drawn.        They were critiqued by NAACP members and
23      leadership and they were finalized before submission.
24               Q.           Okay.      But you don't know who did the map
25      drawing, right?

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 1             A.            I can't give you a name, no.

 2             Q.            Okay.    Did you ever meet that person?

 3                           MR. INGRAM:       Objection.        Asked and

 4      answered.

 5             Q.            Did you ever meet that person, Ms.

 6      Murphy?

 7             A.            No, I did not.

 8             Q.            Okay.    Did you ever see a resume from

 9      that person?

10                           MR. INGRAM:       Objection.        Asked and

11      answered.

12             Q.            Did you ever see a resume from that

13      person?

14             A.            I do not know the person, sir.

15             Q.            Okay.    All right.        So if you don't know

16      the name of the person and if you've never seen a resume

17      from the person, how can you tell me under oath that

18      that person had expertise in the drawing of maps?

19             A.            Based on the member of our coalition

20      that was ACLU.

21             Q.            You don't have any other evidence to

22      support that.         Is that right?

23             A.            No.

24                           MR. INGRAM:       Objection.        Asked and

25      answer.

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 1              Q.            Did you personally participate in the
 2      drawing of the maps?
 3              A.            Yes.     Not putting the pencil to the
 4      paper, but in terms of suggestions, what might needed
 5      to be changed somewhat, if something was considered,
 6      yes, I participated in this way.                     No, I did not
 7      actually draw a map.              Were there people that looked at
 8      drawing maps during this process?                      Yes, there were
 9      people that looked at drawing maps and commenting
10      about what their thoughts were.
11              Q.            Did you have access to the addresses of
12      incumbents in drawing those maps?
13              A.            No.
14              Q.            Do you know if the members of the ACLU
15      that drew the maps who you can't identify had
16      information about the addresses of incumbents when
17      drawing maps?           Do you know?         Yes or no.
18              A.            No.
19              Q.            Okay.      So you can't tell me that --
20      strike that.          Did you have election data available when
21      drawing the maps?
22              A.            No.     We didn't per se, no.
23              Q.            Do you know if the people who drew your
24      maps had election data?
25              A.            Sir, that is something you will have to

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 1      ask ACLU.

 2               Q.          Okay.     Do you know how many incumbents

 3      your plan combined?

 4               A.          That's public knowledge.                 It's been in

 5      the press.

 6               Q.          Okay.     So are you aware that your plan

 7      combined nineteen incumbents?                 Are you aware of that?

 8               A.          That what, our plan combined nineteen

 9      incumbents?

10               Q.          Combined nineteen incumbents.                 Yes,

11      ma'am.

12               A.          I know our plan -- I think in terms of

13      incumbents, there was greater opportunity for --

14               Q.          Ms. Murphy, Ms. Murphy --

15               A.          Yes.

16               Q.          -- I'm going to stop you.                 I'm sorry.     I

17      asked you a very simple question.                   I would really

18      appreciate an answer to the question.                     Do you agree that

19      your plan combined nineteen incumbents?                        Yes, no or I

20      don't know is an appropriate answer.

21               A.          I will answer but I would like to make

22      a comment.

23               Q.          Well, please do but how about answering

24      the question first and how about keeping the commentary

25      restricted to the subject matter of the question?

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 1              A.            Okay.
 2              Q.            Did your plan combine nineteen
 3      incumbents?
 4              A.            Yes.
 5              Q.            Now what do you want to say about that?
 6              A.            What I would like to say is maybe there
 7      were less but there was greater opportunity for black
 8      people to be involved in the political process or the
 9      political decision-making regarding black people.
10              Q.            Okay.      Do you know --
11                            MR. INGRAM:         Can we take a break?
12                            MR. MOORE:         Excuse me?
13                            MR. INGRAM:         We would like a break.
14                            MR. MOORE:         Okay.      Well, you're not
15      supposed to discuss her testimony during that break.
16      I'm happy to give you a five-minute break.
17                            (Brief recess.)
18              Q.            (BY MR. MOORE:)            Ms. Murphy, did you
19      speak to your counsel while you were away?
20              A.            No, I did not.
21              Q.            Okay.      So I believe we're at three hours
22      and thirty something minutes, and while I want to
23      endeavor to keep my questions under to five hours, it
24      will be a lot easier for me to do that if I get
25      responsive answers to questions rather than

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 1      nonresponsive answers and so I'm going to be a little

 2      more stringent perhaps in to trying to police that as we

 3      go forward.

 4                           So I believe that you told me a few

 5      minutes ago that you understand -- you understood that

 6      nineteen incumbents were in your plan combined.                      Is that

 7      right, Ms. Murphy?           That's a yes or no.

 8                           MR. INGRAM:       Objection.        Asked and

 9      answered.

10               Q.          Okay.    Could you answer the question, Ms.

11      Murphy?

12               A.          In our plan?

13               Q.          Yes, ma'am.       In the NAACP plan, yes,

14      ma'am.

15               A.          That there were nineteen incumbents?

16               Q.          Yes, ma'am, combined.            Do you agree -- I

17      believe you told me a minute ago that you agreed.                       Is

18      that right?

19               A.          No.

20               Q.          You don't agree now?

21               A.          I may be interpreting what you're

22      saying differently.           When I -- when I spoke -- if I

23      can comment, sir.

24               Q.          Ma'am, I'm not -- let me ask the

25      question.

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 1             A.            I need --

 2             Q.            No, ma'am.       I'm going to stop you, okay.

 3      I'm sorry.     I didn't ask you about when you spoke.                   So

 4      here's -- I mean if you mean when you spoke to me a few

 5      minutes ago, then, yes, explain.                 I'm not asking about

 6      when you spoke to the House.               I'm not asking --

 7             A.            No, no.     I'm not -- that isn't my

 8      question.

 9             Q.            Okay.     Then what's your question?

10             A.            My question is are you saying that with

11      our plan there -- and this is for -- I'm trying to

12      clarify it.         Are you asking me that our plan has the

13      potential for nineteen incumbents to remain?                    Is that

14      your question?

15             Q.            No, ma'am.       Here's my question.

16             A.            Okay.

17             Q.            Are you aware -- and I believe this is

18      the exact question I asked a few minutes ago.                    Are you

19      aware that nineteen current incumbents were combined --

20      that is, put against each other -- in your plan?                     Were

21      you aware of that?

22             A.            No.

23             Q.            Okay.     And are you aware that of those

24      nineteen, seventeen of those incumbents were Republican?

25      Were you aware of that?

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 1               A.          No.     May I comment?

 2               Q.          Go ahead.

 3               A.          Our plan was developed without

 4      considering incumbents.

 5               Q.          Ma'am, are you sure of that because that

 6      may contrast with public statements made by your lawyers

 7      and other representatives so are you sure of that?

 8      Ma'am?

 9               A.          I'm thinking, sir.          I don't want to

10      give an incorrect answer.

11               Q.          And I'm trying to be as fair as I can.

12      That's why I'm asking that question.

13               A.          No.     I'm sorry.      I wasn't.       I have to

14      say no.

15               Q.          Okay.     All right.       Do you like that

16      figure, seventeen of nineteen are Republicans?

17               A.          Do I like it?

18               Q.          Yes, ma'am.       Does that sound like

19      something that looks like it was done -- that was not

20      the product of reverse political gerrymandering?

21               A.          Let me say this.         What we as the state

22      conference and our coalition -- our intent was not to

23      consider incumbents but to look at drawing a map that

24      would provide opportunities for competition, okay.

25      And that's all I can say because we didn't consider

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 1      incumbents.          I'm sorry.
 2              Q.            Is it generally preferable to keep
 3      smaller counties whole when possible?                        Would you
 4      agree --
 5              A.            Smaller counties?
 6              Q.            Yes, ma'am.
 7              A.            If it's possible to keep them whole --
 8      small counties?            Yes, I think that should be done.
 9              Q.            Is avoiding voter confusion one of the
10      goals of your organization?
11              A.            Yes.
12              Q.            Okay.      And does splitting voter precincts
13      increase or decrease voter confusion in your mind?
14                            (Phone ringing.)
15              Q.            We're sorry.          My question was does
16      splitting voter precincts increase or decrease voter
17      confusion in your mind?
18              A.            It depends.         It could -- that's a maybe
19      question and I will say that depending on the size of
20      the precinct.
21                            MR. MOORE:         Okay.      Can we pause for
22      just one moment and put that on mute for just one
23      second.
24                            (Off-the-record discussion.)
25              Q.            So let me ask you this question.                   And I'm

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 1      sorry for that interruption.               Are you aware that the

 2      number of precincts that were split in Act Number 117,

 3      the act that are here to talk about, is 365?                       Are aware

 4      of that?

 5              A.           Which -- it depends on the area.

 6      What --

 7              Q.           Let me ask this question.                Do you have

 8      any reason to doubt that the plan that passed the House

 9      and Senate with respect to the House districts only

10      split 365 districts, voting precincts?                       Do you have any

11      reason to doubt that figure?

12              A.           No.

13              Q.           Okay.    Do you have any reason to doubt

14      the fact that 628 precincts were split in your plan?

15              A.           I know they were.          May I make a

16      comment?      May I make a comment?

17              Q.           Sure.    Sure, you may.

18              A.           Okay.    There are certain communities

19      greater in number and when you look at the number --

20      when you look at the number of precincts and numbers

21      that precinct may serve, it could contribute to

22      problems in terms of voters being able to cast their

23      vote.

24              Q.           Okay.    Well, let me ask you this, Ms.

25      Murphy.      You would agree with me that the plan, that the

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 1      2011 plan that was upheld by a federal district court

 2      split only 500 precincts, correct?                   Would you agree or

 3      disagree with that?

 4             A.            Yes.

 5             Q.            Okay.     And you would agree that the

 6      number of precincts that were split by 117 was way less

 7      than that, 365, correct?

 8             A.            You're talking Berkeley?

 9             Q.            No, ma'am, I didn't say Berkeley.              I

10      said --

11             A.            What county?

12             Q.            I said --

13             A.            I'm sorry.

14             Q.            I said in 2011, the bill that was enacted

15      into law and upheld by a three judge federal panel split

16      500 precincts.          Do you agree with that?

17             A.            Yes.

18             Q.            Okay.     The bill that was signed into law

19      here, the House plan, improves upon that by only

20      splitting 365 precincts, correct?

21             A.            Yes.

22             Q.            But your proposed plan would split 628

23      precincts, correct?

24             A.            Yes.     May I comment?

25             Q.            Yes, ma'am, you may.

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 1              A.            I'm sorry.         The population in South
 2      Carolina has increased significantly, and when you
 3      look at the number of precincts back then, it may have
 4      been lower but we have a greater number of people to
 5      serve as well as even then there were some precincts
 6      that were problematic still with numbers increasing
 7      since that 2010, 2011 in terms of when the plan --
 8      precincts were -- the districts were determined and
 9      precincts were determined.                  So we had --
10                            (Simultaneous crosstalk.)
11              A.            Okay.      That's it.
12              Q.            Okay.      And I believe you agreed with me a
13      few minutes ago that splitting more voter precincts can
14      lead to more voter confusion.                    Right or wrong?
15              A.            It can.       May I -- and I'm going to make
16      a statement.          It can if the information does not get
17      to the voters in the manner that it should.
18              Q.            All right.         I want to talk to you about
19      some challenged districts and you mentioned that you
20      were familiar with Anderson.                   Is that correct?
21              A.            Yes.
22              Q.            Okay.      All right.         And can you explain
23      the allegations in your complaint with regards to
24      Anderson and splitting the city of Anderson?
25              A.            I think -- and I don't have that right

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 1      in front of me but I think it was related to in terms

 2      of how that was split, some on one side of the highway

 3      and some on the other side of the highway.                    I mean

 4      that contributes to problems itself when someone may

 5      be living across the street from each other and

 6      they're in different precincts.

 7              Q.           Ma'am, are you telling me that your plan

 8      doesn't split people across streets and highways and the

 9      like?    Are you telling me that that doesn't happen in

10      your plan?

11              A.           I'm trying to say that we are doing

12      whatever we can not for it to occur.

13              Q.           Okay.     Well, you take issue with the fact

14      that Anderson, the city of Anderson is split between

15      four House districts.             Is that right?

16              A.           Yes.

17              Q.           Is that right?

18              A.           Yes.

19              Q.           Okay.     And would you agree with me that

20      it was split in a very thorough manner to the way that

21      it was split back in 2011?

22              A.           I'm going to say yes but, you know, I

23      think my comment regarding how our state has changed

24      is not being considered.               We have a greater number of

25      people, yes, but in terms of maps, the district should

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 1      be contiguous of each other.               We should make every

 2      effort for that to be if possible.

 3               Q.          Well, and would you agree with me that

 4      the plan that was passed in 2011 was upheld by a federal

 5      court?

 6               A.          I will say yes but the situation is not

 7      the same.

 8               Q.          How can you tell me that the situation is

 9      not the same and requires a radical redrawing of the

10      House districts in Anderson?               Explain that to me.

11               A.          Did I say radical?          Did we use the term

12      radical?

13               Q.          No, ma'am.       I used the term radical.

14               A.          Okay.     Well, I did not -- I would not

15      agree with that.

16               Q.          Okay.     Are you familiar with District

17      Number 7?

18               A.          Okay.     Location just to make sure I'm

19      in the right place.            I don't have the list in front of

20      me.

21               Q.          Are you familiar with it?

22               A.          Location.      I asked if you would give me

23      the location.

24                           MR. MOORE:       Should we pull up the

25      complaint or not?            One moment.

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 1                           MR. INGRAM:       If you have the complaint to

 2      clarify, that's helpful.

 3                           MR. MOORE:       It just takes a few minutes

 4      to load the complaint.             Hold on one second.

 5                           MR. INGRAM:       We need to be able to verify

 6      your question so we can wait.

 7                           MR. MOORE:       What exhibit -- what was the

 8      complaint?     The amended.           Give me a page, Mr. Parente.

 9                           (Off-the-record discussion.)

10             Q.            Okay.    Can you look page 34?           And this is

11      on page 34 of your complaint which lists the map that

12      you submitted --

13                           MR. INGRAM:       Give me one second.         We're

14      scrolling.     Give us one second.              And just to clarify,

15      when you say 34, UCF 34 or the actual pagination on the

16      document?

17                           MR. MOORE:       Pagination on this document.

18                           MR. INGRAM:       Perfect.

19                           MR. MOORE:       I believe it's the same.

20                           MR. INGRAM:       It is not.        Here you go.

21             Q.            Are you familiar with the district that

22      is drawn here as District Number 7 in your proposed map,

23      Ms. Murphy?

24             A.            I'm looking at this -- I'm looking at

25      it now.

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 1              Q.            Okay.
 2              A.            Okay.      Your question?
 3              Q.            Yes, ma'am.         Can you explain to me how
 4      this District Number 7 as drawn here is not packing, to
 5      borrow the phrase you have used previously?                         How is it
 6      not packing?
 7              A.            Considering the population and in terms
 8      of that county being -- has a high percentage of white
 9      population to a minimal -- when compared, it's very
10      low for a black population and in order to draw an
11      opportunistic or competitive district because of
12      numbers.
13              Q.            Do you agree or disagree that this
14      District Number 7 is surgically drawn around high black
15      voting age population census blocks?                         Do you agree or
16      disagree with that statement?
17              A.            That's where the black folks live.
18              Q.            Okay.      And so was race the predominant
19      factor that you used in drawing that district?
20              A.            That's an opportunistic district.
21                            MR. INGRAM:         Objection.          Calls for a
22      legal conclusion.
23              Q.            You may answer, Ms. Murphy.                 Was race the
24      predominant factor used to draw that district in your
25      proposed map?

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 1              A.            I will say race was considered.
 2              Q.            That wasn't my question.               Was it the
 3      predominant factor used in drawing that district?
 4              A.            No.
 5              Q.            Why not?
 6              A.            We have to consider all factors.                  You
 7      know, race may in terms of drawing a competitive
 8      district with such a low population of black
 9      residents.          Then in order for them to be able to be
10      influenced somewhat what happens in that district, it
11      would need to be drawn in such a manner.
12              Q.            Are you familiar with the towns of Belton
13      and Honea Path?
14              A.            Yes, I am.
15              Q.            Okay.      Why did your plan put these two
16      towns in different House districts?
17              A.            Now that's a question that I cannot
18      answer individually because that was a decision made
19      by us as a whole.             And I'm sure if -- Honea Path.
20      Belton, Belton sits -- the intent was to draw a
21      district that could be competitive but not totally
22      packed -- packing an area, any community.
23              Q.            Why did your map split the town of Belton
24      in half if you know?
25              A.            Well, I'd have to -- I can't say that

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 1      right now.      I really can't.           I don't have an answer to

 2      that.

 3              Q.           Are you familiar with the allegations

 4      that your plan has made with respect to Chester?

 5              A.           With respect to --

 6              Q.           Chester.

 7                           MR. INGRAM:       Are you referring to the

 8      complaint?

 9                           MR. MOORE:       I'm going to refer to it when

10      I ask a specific question.

11              Q.           My question first is are you familiar

12      with the allegations that your lawsuit makes concerning

13      the county of Chester?             Yes or no, Ms. Murphy.

14              A.           Right now, I can't say because there

15      were so many different areas.                I would hate to say --

16      give an answer not looking at my records.

17              Q.           All right.       Let's look at page 36.

18              A.           Thirty-six?

19              Q.           Yes, ma'am.       This alleges that District

20      41, a majority black district mostly made up of

21      Fairfield County, reaches up past the Fairfield County

22      line to create a bizarrely-shaped bunny ear appendage

23      that grabs the black majority city of Chester as well as

24      other areas comprised heavily of black voters in Chester

25      County.      In the process, defendant split eight precincts

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 1      in Chester County across Districts 41 and 43.                          Do you
 2      see that allegation?
 3              A.            That's based on the fact that, you
 4      know, that unusual shape as well as it should be
 5      contiguous.          Now and I -- may I make a statement?
 6              Q.            Yes, ma'am.
 7              A.            It will be brief.             It will be brief.         I
 8      promise you.          When we look at how -- such as looking
 9      at Chester County and we look back at Anderson, when
10      you look at the populations within those two areas,
11      the populations of -- with the number of blacks are
12      significantly lower than it is -- well, significantly.
13                            We are talking maybe 70 percent white,
14      17 percent black.             I'm using that figure.              It may not
15      be exactly right but we have to look at that and in
16      terms of how representation can be done in certain
17      areas and do we have -- is that a factor?                         Yes, it is
18      in some situations.
19              Q.            Do you support these allegations as we
20      sit here today, Ms. Murphy?
21              A.            You mean in terms of the lines being
22      drawn in such a way that it's not a situation that
23      could be influential district?
24              Q.            No, ma'am.         No, ma'am.          No, ma'am.    I'm
25      asking a very simple question.                    Your complaint -- and

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 1      I'll rephrase it.             Your complaint asks the Court to
 2      redraw the lines for Districts 41 and 43.                        Is that what
 3      you're asking for?
 4               A.           Yes.
 5               Q.           Okay.      And you want the district that's
 6      currently represented by Representative McDaniel to be
 7      redrawn.      Is that right?             That's what you want?
 8               A.           No, I didn't ask that Ms. McDaniel's
 9      line be drawn.           I am asking that the lines be drawn in
10      such a fashion that there is an opportunity for there
11      to be -- an opportunity for competitiveness.
12               Q.           There's a difference between
13      competitiveness and purposeful racial discrimination,
14      right?
15               A.           Yes, I agree to that.
16               Q.           Okay.      And so did you attend the hearing
17      in Columbia where Representative McDaniel spoke in
18      public?
19               A.           Yes, I was there.
20               Q.           Okay.      And do you recall some concerns
21      that she raised about only representing rural areas and
22      concerns about Chester as a city?                      Do you recall her
23      raising those concerns that she was only representing
24      rural districts and not -- do you recall any such
25      concern expressed by her?

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 1              A.           No, I don't recall that.                That may have

 2      been another session.            No, I do not.

 3              Q.           All right.       Okay.     Do you see that -- do

 4      you understand that the House plan and the House plan

 5      that was passed keeps the city of Chester whole and puts

 6      it in a district that is currently represented by

 7      Representative McDaniel?              Do you understand that?

 8              A.           So if I'm interpreting you correct,

 9      you're saying -- and I think we need different --

10      let's not talk names.            I would prefer that we not do

11      that.    When we're looking at this in terms of a rural

12      area, you are saying Chester and --

13              Q.           I'm talking about District Number 41,

14      okay.    I'm talking District Number 41, okay.

15              A.           Okay.

16              Q.           And are you telling me that you think it

17      is a bad thing to include the city of Chester as a whole

18      entity in that one district?

19              A.           The intent -- well, the intent is to

20      keep as many counties whole but also the goal is to

21      ensure that we have representatives from that area --

22      if it's a possibility to have a representative from

23      the community of choice, that that is possible, at

24      least an opportunity for that.

25              Q.           Okay.    Let's look on page 37 of that

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 1      document.
 2              A.            I'm having --
 3              Q.            Because I want to focus on the allegation
 4      about the bunny eared appendages.
 5              A.            Wait a minute.           Wait a minute.        Okay.
 6              Q.            You talked about the shape a few minutes
 7      ago, right?
 8              A.            I'm sorry.
 9              Q.            You talked about the shape.
10              A.            Just a second.
11                            MR. INGRAM:         What page should she be on?
12                            MR. MOORE:         Thirty-seven.        Can you see
13      page 37, Mr. Ingram?
14                            MR. INGRAM:         We're on 37, yes.
15              Q.            Okay.      All right.         You see this so-called
16      bunny eared appendage.                Is that right, Ms. Murphy?
17              A.            Yes.
18              Q.            And that's one of your criticisms.                   Is
19      that right?
20              A.            Yes.
21              Q.            Okay.      Are you familiar with your plan
22      for the congressional districts?
23              A.            I don't have those in front of me.
24              Q.            I'm about to put one in front of you,
25      okay?

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 1                            MR. INGRAM:         Objection.         This is about
 2      the House maps.
 3                            MR. MOORE:         It is about the House maps,
 4      Mr. Ingram, and I'm going to put a document in front of
 5      her.    And I'm going to ask a question and I believe
 6      you'll see the relevance of it, but if not, you can
 7      object.      What is the exhibit, Michael?
 8                            (Off-the-record discussion.)
 9                            MR. MOORE:         I am very concerned about
10      Veritext and this Exhibit Share platform today and I
11      apologize for the fact that it's making it way more
12      difficult for us to do this deposition than it should.
13                            THE DEPONENT:          Thank you.
14                            MR. INGRAM:         Are we waiting for a
15      document to load in the platform?
16                            MR. MOORE:         I'm trying to load a
17      document, yes, sir.              I'm trying to load the NAACP's
18      proposed map.
19              Q.            And while I do, I'm going to ask you a
20      question, Ms. Murphy, and you know the answer to it or
21      not, okay.          Do you agree with me or not agree with me
22      that proposed District 6 in your map shares a similar
23      bunny-shaped appendage as the map that you criticize in
24      the House district?              Yes or no.
25              A.            Do you have that up?

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 1             Q.            I'm trying to get it.            I'm trying --

 2                           MR. INGRAM:        She needs to see the

 3      document you're referring to.

 4                           MR. MOORE:       Okay.     We're going to take a

 5      short break so we can see if we can pull up this

 6      document.

 7                           (Brief recess.)

 8                            (Whereupon, Defendant's

 9                            Exhibit 9 was marked for

10                            identification.)

11             Q.            (BY MR. MOORE:)          Does everyone see the

12      document that's in front of you?                 And this would be

13      exhibit number what?            Nine.     Do you see that, Ms.

14      Murphy?

15             A.            Yes, I see it.

16             Q.            Okay.    And do you see the line that's

17      drawn up through Fairfield and into Chester?

18             A.            Yes, I do.

19             Q.            Okay.    Would you agree with me that this

20      is a very similar bunny-eared appendage as the one you

21      criticize in your amended complaint with respect to

22      House District 41?           Would you agree or disagree with me?

23             A.            I think it's similar, yes.

24             Q.            Okay.    And your plan here pairs portions

25      of the county of Chester with Fairfield County and puts

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 1      it in District 6, correct?

 2             A.            Yes, that's District 6 congressional

 3      map.

 4             Q.            Okay.    Explain to me, given this, what

 5      your specific complaint is about the House drawn

 6      District 41.         Explain to me -- and I want you to explain

 7      to me what is your concern about it now having seen what

 8      you guys drew and proposed with respect to the

 9      congressional lines.

10                           MR. INGRAM:       Objection.        Is this map from

11      the amended complaint?             I don't recognize this map.

12                           MR. MOORE:       This map is the map that you

13      submitted in support of your position with respect to

14      the congressional maps.             This is your congressional map

15      proposal.

16                           MR. INGRAM:       And this is introduced as an

17      exhibit today?

18                           MR. MOORE:       Yes, it is.

19                           MR. INGRAM:       For the record, you can't

20      spring last minute exhibits on us without proper

21      preparation.

22                           MR. MOORE:       It was sent to you on

23      Tuesday, Mr. Ingram.            It's an attachment to your letter

24      which is identified as Exhibit Number 16 in the batch

25      that you were sent.           So it wasn't sprung on you today

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 1      and I can ask questions about it.                  If you feel -- if you

 2      had the opportunity to go out and talk to her about it,

 3      you could but you don't have the opportunity to go out

 4      and talk to her about it because I submitted this to you

 5      on Tuesday.

 6                           MR. INGRAM:       Proceed.

 7               A.          I would like to go back to the previous

 8      map.

 9               Q.          I'd like an answer to my question before

10      you go back to the previous map, ma'am, but --

11               A.          Well, you know, I think what you're

12      asking me or what you're doing is you're comparing

13      drawings for congressional maps with a House map which

14      is very different.           Now you're talking about shape but

15      more than just shape is considered when it comes to

16      maps.     So congressional may be very different than

17      what the House map is but I would like to go back to

18      the House map or the document that you showed me prior

19      to putting up this map.

20                           MR. MOORE:       Can you get it, Michael?

21      Do it.

22               A.          It was page -- what are we on, 37?

23                           MR. MOORE:       Thirty-six or 37, yes,

24      ma'am.

25               A.          Okay.    Okay.      The comments -- do you

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 1      see the comments?             Bring it down, please, sir.                The
 2      figure below reveals how the irregular and noncompact
 3      district lines in Chester County were drawn to carve
 4      out black communities in a manner that allowed map
 5      drawers to maintain black voters -- minimize black
 6      voters' influence in neighboring districts.                          That's --
 7              Q.            That's your allegation, right?
 8              A.            Yes.
 9              Q.            That's your allegation.                Okay.    I'm
10      asking you today what evidence do you have to support
11      the allegation that irregular noncompact district lines
12      in Chester County were drawn to carve out black
13      communities in a manner that allowed map makers to
14      minimize black voters' influence in neighboring
15      districts?          Explain to me what evidence --
16                            (Simultaneous crosstalk.)
17              Q.            Let me finish my question, ma'am.
18      Explain to me what evidence you have to support that
19      specific allegation.
20              A.            The map itself.
21              Q.            Do you have any other evidence other
22      than, as you say, the map itself?
23              A.            The population within those
24      communities.
25              Q.            Okay.      What evidence with respect to the

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 1      population in those communities supports your

 2      allegation?

 3             A.            Well, if you look at the demographics

 4      and I don't have the demographics in front of me.                      If

 5      you look at the demographics of Chester and where the

 6      population white versus black, where the communities

 7      are, that needs to be considered as well.

 8             Q.            My question again is you're alleging that

 9      there was purposeful drawing to carve out black

10      communities to minimize black voters' influence.                      Do you

11      have any evidence to support that other than what you

12      just indicated?

13             A.            I am saying -- I don't know what was in

14      the minds of those folks but I'm talking about the

15      outcome in terms of what happened, in terms of how the

16      map's drawn.

17                           That's all I can do is looking at

18      demographics, trying to draw maps in a way that there

19      at least may be some influence on the outcome of an

20      election.     Maybe not fully what we want it to be but

21      at least some influence by the black community.                      Now

22      that has to be considered and so I'm not reading the

23      minds of the people that drew this map.                      I'm looking

24      at what happened.

25             Q.            And you're drawing conclusions but

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 1      without any evidence for those conclusions other than
 2      the alleged evidence that you just gave me.                         Is that
 3      right or wrong, Ms. Murphy?
 4                            MR. INGRAM:         Objection.         Argumentative.
 5              Q.            Please answer my question, Ms. Murphy.
 6              A.            Right now, I don't know exactly what
 7      the question was.
 8              Q.            I said you're drawing conclusions based
 9      on your own suppositions without any actual evidence to
10      support it.          Is that right or wrong?
11              A.            Wrong.
12                            MR. INGRAM:         Objection.         Argumentative.
13              Q.            Okay.      And what specific evidence do you
14      have to support that conclusion?                     You just told me --
15              A.            I am saying we have to look at
16      demographics for a community.
17              Q.            All right.         Let's go down --
18              A.            In order to create districts at least
19      that black voters may have influence.
20              Q.            So let's look at your allegations
21      concerning Sumter and we're going to stick with this
22      complaint, Mr. Parente.                Okay.      Are you familiar with
23      your allegations concerning Sumter?
24              A.            Sir, I think we're dealing with very
25      similar situations here so my answer will be the same.

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 1               Q.           All right.         So have you done a comparison
 2      between the districts that are drawn in the current
 3      House plan as enacted and the lines that were drawn in
 4      2011?     Have you done that?
 5               A.           No, I did not personally do that.
 6               Q.           Okay.      Do you think that it might be wise
 7      to look at that before making an allegation here?
 8               A.           I did not -- this is not a personal
 9      plan of Brenda Murphy, sir.                  This is a plan that was
10      developed with input from individuals from the Sumter
11      area, from the Chester area, from the Anderson County
12      area.     So this is not a Brenda Murphy plan.
13               Q.           Who are the individuals from Anderson
14      County who gave you the information that --
15               A.           I have said to you as much as I can.
16      The president, the leadership from the branches,
17      members of the branches.                 That is all I can say to
18      you, sir.
19               Q.           I'm asking you for names, Ms. Murphy.
20      Can you give me any names?
21                            MR. INGRAM:         Objection.         I'm instructing
22      my client not to answer.                 We've already been through
23      this.     We're not giving you names of members of the
24      NAACP.
25                            MR. MOORE:         Well, you've already given me

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 1      several, Mr. Ingram.
 2                            MR. INGRAM:         Those are available on
 3      public websites and documents.                    You're asking for
 4      confidential names which she will not provide.
 5                            MR. MOORE:         Then you're going to need to
 6      file a motion for protective order.
 7                            MR. INGRAM:         I'm aware of the rules.
 8              Q.            And I'm going to ask this question again.
 9      Can you give me -- and we go back to Anderson.                          Can you
10      give me the names of the alleged NAACP members who live
11      in the challenged districts who are challenging those
12      districts?
13                            MR. INGRAM:         Asked and answered and
14      objection still stands.
15              Q.            Okay.      Are you going to answer that
16      question, Ms. Murphy?
17                            MR. INGRAM:         I'm instructing her not to
18      answer that question.
19              Q.            Okay.      With respect to Chester County,
20      can you give me the name of any person who lives in
21      District Number 41 who alleges that their rights have
22      been violated by the passage of this House plan?                           Ms.
23      Murphy?
24              A.            I will not provide names of NAACP
25      members.

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 1             Q.            Okay.    Well, let me ask you this

 2      question, Ms. Murphy.            Can you tell me on what date

 3      someone from District Number 41 was interviewed or

 4      contacted by you or a member of your coalition and who

 5      told you that they wanted to challenge House District

 6      Number 41?

 7             A.            I have not had individual contact with

 8      anyone.

 9             Q.            Okay.

10                           (Simultaneous crosstalk.)

11             Q.            Although -- correct me if I'm wrong -- I

12      believe that you were on a committee that was

13      responsible for recruiting witnesses as plaintiffs, were

14      you not, Ms. Murphy?            I'm going to go over that in a

15      minute but were you not on such committee?

16             A.            No, I was not on a committee that was

17      responsible for recruiting names of witnesses.

18             Q.            Okay.    All right.        So if Brenda -- let me

19      ask you this question, Ms. Murphy.                  If Brenda Murphy

20      didn't contact anybody, okay, then how can Brenda Murphy

21      tell me that someone was contacted with respect to House

22      District Number 41 who resides in that district and that

23      person said I want to challenge this district because my

24      rights have been impacted by the passage of this plan?

25      How can Brenda Murphy tell me that today?

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 1                            MR. INGRAM:         Objection.         Misstates
 2      testimony.
 3              Q.            Can you answer that question, Ms. Murphy?
 4              A.            I will not answer that question.
 5              Q.            So you cannot or you will not?
 6              A.            My contacts are members of the NAACP
 7      and I will not reveal the names of anyone.
 8              Q.            I didn't ask you to reveal a name, Ms.
 9      Murphy, and so I'm going to repeat my question again
10      just so we're crystal clear.
11              A.            Sir, I think I have been clear.                  I did
12      not operate independently.                  This was a -- and not only
13      a coalition but there was -- there were meetings with
14      presidents and leadership from throughout the state of
15      South Carolina.            I did not contact anyone personally.
16              Q.            So if you didn't contact anyone
17      personally, you cannot attest under oath that someone
18      who resides in each of these challenged districts was
19      contacted and asked you to challenge these districts,
20      can you?
21              A.            I can attest to the fact that someone
22      from all of these counties that are mentioned in -- as
23      being concerned about the lines in their area have
24      stated in one way or another to members of their
25      leadership that they were concerned.

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 1               Q.           Okay.      And you believe that that's
 2      sufficient to give standing upon you and your
 3      organization to challenge these districts.                         Is that
 4      right?
 5                            MR. INGRAM:         Objection.          Calls for a
 6      legal conclusion.
 7               Q.           You can answer that question, Ms. Murphy.
 8               A.           Yes, because their leadership in the
 9      NAACP state conference.
10               Q.           And is there a record -- does the NAACP
11      State Conference have any record of any such
12      communication with any such person to your knowledge?
13      Yes or no.
14               A.           To my knowledge?
15               Q.           Yes, ma'am.
16               A.           In a written document?
17               Q.           Yes, ma'am.
18               A.           I don't know.
19               Q.           Okay.      So you can't tell me that there's
20      a record of that.             Is that right?
21                            MR. INGRAM:         Objection.          Asked and
22      answered.
23               Q.           Can you tell me if there's a record?
24               A.           I don't know.
25               Q.           You don't know.            Okay.       Who at the South

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 1      Carolina NAACP would know the answer to that question,

 2      Ms. Murphy?

 3              A.           Presidents throughout the state of

 4      South Carolina who are members of the state

 5      conference.

 6              Q.           So are you telling me that I'd have to

 7      talk to each and every one of your presidents to get the

 8      answer to that question?

 9              A.           You may.      I don't know that they would

10      give you a name.          They would not give you a name of

11      their members.

12              Q.           We'll see if the Court orders you to give

13      us a name of a member, Ms. Murphy.

14                           MR. MOORE:       Let's take a short break.

15                           (Brief recess.)

16              Q.           (BY MR. MOORE:)         So I'm going to go a few

17      new exhibits and all of these exhibits are exhibits that

18      were provided to us last night, but before I go to the

19      new exhibits, I do want -- on this particular exhibit

20      that's still in front of you, I want you to look at page

21      number 7.

22              A.           It's not on there.

23              Q.           He's trying to pull it up.              Paragraph 18.

24      Okay.    All right.          Do you see this page, Ms. Murphy?

25              A.           I do.

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 1               Q.          Okay.    All right.        I'm going to read

 2      paragraph 18.         It says -- and when you use the term

 3      "its", it's clearly referring to the South Carolina

 4      NAACP.        And it says its member and constituents

 5      currently live in racially gerrymandered and

 6      intentionally dilutive state legislative districts.

 7      Specifically members live in the challenged districts.

 8      Okay.     Are you prepared to tell me which members live in

 9      the challenged districts?

10               A.          No.

11                           MR. INGRAM:       Objection.        We've already

12      discussed this.

13                           MR. MOORE:       I'm going to continue to

14      discuss it, Mr. Ingram.             I understand that that's your

15      objection.

16               Q.          You're refusing to answer that question,

17      is that right, which members --

18                           MR. INGRAM:       Counsel, you can continue to

19      ask.     We can take it to court, but if you're going to

20      keep asking the witness, she will not provide you names

21      in the NAACP membership list.

22               Q.          Can you tell me what process was used to

23      support the allegation here, Ms. Murphy?

24               A.          Concerns voiced by members of the

25      coalition and NAACP leadership and members.

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 1             Q.            Okay.    It then says, these members have

 2      been and if H4493 is not enjoined will continue to be

 3      harmed by H4493's assignment of them to unconstitutional

 4      racially gerrymandered districts and purposely dilutive

 5      districts.

 6                           Can you tell me -- and I'm not asking for

 7      names at this point but I'm asking you can you tell me

 8      if you had a list of members in each of these challenged

 9      districts that would be, according to your complaint,

10      continued to be harmed?             Did you have such a list of

11      those people before you filed this complaint?

12                           MR. INGRAM:       Objection.        Asked and

13      answered.

14             Q.            Did you have such a list, Ms. Murphy?

15             A.            I don't have a list, sir, but I have

16      members that live in these areas.

17             Q.            Okay.    And you told me that --

18             A.            That have expressed concerns, yes.

19             Q.            Okay.    But you can't tell me specifically

20      the name of a specific member or even the fact that you

21      spoke to a specific member who was allegedly harmed by

22      the passage of the act that relates to this District 41,

23      can you?

24                           MR. INGRAM:       Objection.        Asked and

25      answered.

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 1             Q.            Can you, Ms. Murphy?

 2             A.            No, I cannot.

 3             Q.            Okay.    And you mentioned a few minutes

 4      ago that the people who spoke to all of these various

 5      people who you refuse to identify were state presidents.

 6      Is that right?

 7             A.            State presidents or members.

 8             Q.            Okay.    And who are those presidents that

 9      spoke to these folks and who in turn spoke to you?

10             A.            I can't --

11                           MR. INGRAM:       Objection.        At this point,

12      this is badgering the witness.

13             Q.            Is it that you cannot answer or that you

14      will not, Ms. Murphy?

15                           MR. INGRAM:       Objection.        Asked and

16      answered.     We already said we will not disclose the

17      names of the members.            Our allegation is there are

18      members in every district.               Asked and answered.

19             Q.            Okay.    My question -- you may answer the

20      question, Ms. Murphy.            Is it that you cannot or you will

21      not because those are two different things?

22                           MR. INGRAM:       Objection.        Asked and

23      answered.

24             Q.            Ms. Murphy?

25             A.            I cannot.

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 1               Q.           You cannot.         All right.
 2               A.           Now --
 3                            MR. INGRAM:         Let her finish.
 4               Q.           Sure.
 5               A.           Let me make sure you understand what
 6      I'm saying.          When I say that I cannot, I mean I cannot
 7      identify those names for you.
 8               Q.           Because you don't know them?                Because you
 9      don't know the names or because --
10               A.           No, that's not -- I'm not saying I
11      don't know the names.
12               Q.           Okay.      Do you know the names?             Here's my
13      next question.           Do you know the names of someone who
14      lives in each of those challenged districts who have
15      alleged to you that they have been harmed?                        Do you know
16      the names of people from each of those challenged
17      districts that said they've been harmed?
18                            MR. INGRAM:         Objection.         Asked and
19      answered.
20               Q.           Ms. Murphy?
21               A.           I will not answer that question.
22               Q.           You will not answer that question.                   All
23      right.
24                            MR. MOORE:         So let's pull up the next
25      exhibit which is going to be what exhibit, Mr. Parente?

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 1      Exhibit Number 10.            Is that correct?          And we did not

 2      send this document to you this morning, Mr. Ingram.                       So

 3      if you want to take a minute --

 4                           MR. INGRAM:        I object to a last minute

 5      exhibit.

 6                           MR. MOORE:        Mr. Ingram, we weren't

 7      provided these exhibits until yesterday by your group.

 8      I can ask her any question about any exhibit.                    My point

 9      is if you want to pause and talk to her about this

10      exhibit before I proceed to ask her questions, then

11      despite the fact you didn't produce it until yesterday,

12      I'm giving you an opportunity to do that.

13                           So if you want to take that opportunity,

14      okay, then we'll stop.              We'll break and you let us know

15      when you're ready to come back on the record, okay?

16                           (Brief recess.)

17                            (Whereupon, Defendant's

18                            Exhibit 10 was marked for

19                            identification.)

20             Q.            (BY MR. MOORE:)          I want to look at the

21      second page.         It says update from the desk of president.

22      Do you see that?

23             A.            Yes.

24             Q.            Okay.     It says President Murphy reported

25      she and SC NAACP Political Action Group would go through

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 1      identified areas to discuss and identify potential
 2      plaintiffs from those areas.                   Attorney Boykin and
 3      Attorney Aden with LDF volunteered to work with the
 4      plaintiffs to prepare them emotionally for testifying
 5      during litigation should it become necessary.
 6                            So my question is did you along with
 7      members of the SC NAACP Political Action Group go
 8      through the identified areas to identify potential
 9      plaintiffs?
10               A.           I'm going to say there was an effort
11      made to do that but there was concerns voiced.                          I
12      never received a list, I know that, in terms of
13      identifying plaintiffs.                So was that actualized?              No.
14               Q.           Okay.      So when there was a concern
15      voiced, a concern voiced by whom?
16               A.           About presidents regarding a listing of
17      names.
18               Q.           How many people are members of the
19      SC NAACP Political Action Group?
20               A.           I would say maybe ten.
21               Q.           Okay.      And who are those people?
22                            MR. INGRAM:         Objection insofar as these
23      are members of the NAACP whose names are not publicly
24      available.          I'm instructing her not to answer --
25               Q.           I'd also like you to look at the last

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 1      page where you identify a number of people.                    Meeting

 2      attendees and contact information.                   I take it you

 3      identified the members of the NAACP who were involved in

 4      these meetings with the other members of your coalition,

 5      correct?

 6               A.          Yes.

 7               Q.          Okay.     So, for example, you didn't hide

 8      the identities of NAACP members from people from the

 9      ACLU, did you?

10               A.          Those were members of the coalition.

11               Q.          Okay.     So, for example, when I'm looking

12      at this list, there are a number of people identified.

13      It lists Ms. Elizabeth Kilgore, SC State Conference

14      NAACP.        This list which you produced to us identifies

15      her as someone associated with the SC State Conference

16      of the NAACP.         Is that right?

17               A.          Yes, it does.

18               Q.          Okay.     And it identifies Marvin Neal as

19      the third vice president of the SC State Conference of

20      the NAACP.        Is that right?

21               A.          Yes, it does.

22               Q.          Okay.     So you are identifying people by

23      producing these documents to us.                  Is that correct, Ms.

24      Murphy?

25               A.          Well, admitting attendees and then

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 1      minutes were requested, they were not redacted.

 2             Q.            Okay.     And is Mr. McLawhorn a member of

 3      the NAACP?

 4             A.            I will not answer that question.              You

 5      see there who he represents.

 6                           MR. INGRAM:       Objection.

 7             Q.            I see a couple of other names here that

 8      identifies Eloise Fomby-Denson, Ph.D., SC State

 9      Conference NAACP.            Is she a member of the South Carolina

10      State Conference of the NAACP?

11             A.            She is identified on the document as a

12      member of the coalition.

13             Q.            Is she a member of the NAACP --

14                           MR. INGRAM:       Objection.        She is not

15      confirming nonpublicly disclosed names of the NAACP.

16      They are publicly posted on websites.

17             Q.            On what publically available websites is

18      the name of Eloise Fomby-Denson disclosed?

19                           MR. INGRAM:       If you look at leadership --

20                           MR. MOORE:       Mr. Ingram, the question is

21      directed to her, not you.

22                           MR. INGRAM:       I'm sorry.        I thought you

23      were talking to me.

24             A.            She is the assistant --

25                           MR. MOORE:       I was not talking to you.

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 1      You made a statement.               I'm asking her.
 2              Q.            What publicly available website is the
 3      name Eloise Fomby-Denson identified as belonging to the
 4      SC State Conference of the NAACP?
 5              A.            All of our officers are identified.
 6      She is --
 7              Q.            Is she an officer?
 8              A.            She is -- yeah, she's the assistant
 9      secretary for the state conference.
10              Q.            Okay.      Is Elizabeth Kilgore an officer?
11              A.            Yes, she is.
12              Q.            What's her office?
13              A.            She's the secretary.
14              Q.            Okay.      Did you provide a list of members
15      of the SC NAACP to the other members of your coalition?
16              A.            Only on the minutes.              Do they have
17      access to the minutes?                Yes, they do.
18              Q.            Let me ask you this.              Were members of the
19      ACLU or other members of your coalition involved in
20      helping identify plaintiffs?
21                            MR. INGRAM:         Objection.         Privileged
22      communications related to litigation.                        I'm instructing
23      my client not to answer.
24                            MR. MOORE:         Okay.      You're going to have
25      to file a motion for protective order on that point,

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 1      too.    Let's look at the next document which is listed
 2      October 7, 2021 and it's the former 49 (sic),
 3      Mr. Parente.          Bear with us.
 4                              (Whereupon, Defendant's
 5                              Exhibit 11 was marked for
 6                              identification.)
 7              Q.            Okay.      I'm going to ask you questions.
 8      Do you see this document in front of you, Ms. Murphy?
 9              A.            Yes.
10              Q.            Okay.      And there's an agenda here and it
11      says identification of perspective witnesses and it
12      lists you and Attorney Charles Boykin as the speakers
13      with respect to that topic.                  Is that right?
14              A.            Yes, it does.
15              Q.            Who is Attorney Charles Boykin?
16              A.            He's a member of the executive
17      committee.
18              Q.            Of what?
19              A.            I identified him previously.                He is --
20      he's a member of the South Carolina State Conference
21      executive committee.
22              Q.            Okay.      Fine.      Did you and Mr. Boykin give
23      a presentation on the identification of perspective
24      witnesses on October 7, 2021 as is reflected in your
25      agenda?

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 1             A.            No.

 2             Q.            Why not?

 3             A.            We didn't have the information.

 4             Q.            Then why is it listed as something on an

 5      agenda?

 6             A.            It's listed there in hopes of being

 7      able to complete that task but it was not completed.

 8             Q.            Was that task ever completed, Ms. Murphy?

 9             A.            No, it was not.

10             Q.            Okay.    But you still made that -- you

11      still made that a representation in your amended

12      complaint, correct?

13             A.            Regarding?

14             Q.            Regarding the fact that you have a member

15      who was harmed who resided in each one of the challenged

16      districts?

17                           MR. INGRAM:       Objection.        Misstates

18      testimony.

19             Q.            You may answer my question, Ms. Murphy.

20             A.            Okay.    You're asking me in terms of the

21      listing of being able to state that we have witnesses

22      or members within the districts that are mentioned?

23             Q.            Yes, ma'am.       And let me just -- so we're

24      clear, you told me a moment ago that this project was

25      never completed with respect to the identification of

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 1      perspective witnesses, correct?                 You told me that --

 2                           MR. INGRAM:       Objection.        Misstates

 3      testimony.     Misstates testimony.

 4             Q.            You may answer, Ms. Murphy.

 5             A.            I said this task was not completed by

 6      myself or Attorney Boykin.

 7             Q.            Was it completed by anyone?

 8                           MR. INGRAM:       Objection.        Asked and

 9      answered.

10             Q.            Please answer my question, Ms. Murphy.

11      Was it completed by anyone if you know?

12             A.            I think I mentioned earlier that

13      members that were impacted in those areas we

14      could emphatically state could be identified.

15             Q.            Was the project completed by anyone?

16                           MR. INGRAM:       Objection.

17             Q.            Yes or no.       That's a yes or no with an

18      explanation if you want to.

19                           MR. INGRAM:       Objection.        Asked and

20      answered.     She's already said her answer multiple times.

21      Stop badgering the witness.

22                           MR. MOORE:       I'm not badgering the

23      witness, Mr. Ingram.            I'm trying to get an answer to a

24      simple question.

25             Q.            I'd like a yes or no answer.             To your

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 1      knowledge --
 2              A.            Repeat the question.
 3              Q.            Let me finish.           My question is a yes or
 4      no question.          Was the project to your knowledge ever
 5      completed by someone other than you or Mr. Boykin?
 6                            MR. INGRAM:         Objection.         Asked and
 7      answered.
 8                            MR. MOORE:         Asked but not answered.
 9              Q.            What's your answer, Ms. Murphy?                  Yes or
10      no and explain, please.
11              A.            I don't know.
12              Q.            You don't know.            All right.
13                            MR. INGRAM:         Objection.
14                            MR. MOORE:         What's your objection?
15                            MR. INGRAM:         Misstating testimony.
16                            MR. MOORE:         You could object to the form
17      and stop your speaking objections, please, Mr. Ingram.
18      I think you might need to go read our local rules.                            I'm
19      about to ask my next question.                    All right.      So
20      Mr. Parente, we are going to turn to the minutes of
21      Thursday, November 18, 2021.
22                              (Whereupon, Defendant's
23                              Exhibit 12 was marked for
24                              identification.)
25              Q.            Do you recognize this document which is

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 1      exhibit number what, Mr. Parente?                   Twelve.   Do you

 2      recognize Exhibit Number 12, Ms. Murphy?

 3             A.            Yes.

 4             Q.            Okay.     And what is it?

 5             A.            Yes.

 6             Q.            What is it?

 7             A.            They're minutes from the redistricting

 8      committee.

 9             Q.            Okay.     And of course this redistricting

10      committee did not only include members of the SC NAACP,

11      correct?

12             A.            Sir, I have gone over the membership of

13      the committee and they have been identified under

14      attachment in terms of who is present and their

15      specific role.

16             Q.            So you see here where it says update on

17      mapping for redistricting.                It says, Dr. Ruoff explained

18      on local redistricting, his focus with branches is on

19      county councils by drawing map proposals before

20      councils.     He has been asked if he can draw a fifty

21      percent black district in Kershaw County and said he

22      could draw fifty percent plus two bodies plan.                     Do you

23      see that?

24             A.            Sir, may I comment?

25             Q.            I'm asking you first of all if you see

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 1      it.

 2               A.          I see it.       Yes, I do see it.

 3               Q.          Okay.     Do you know what he was talking

 4      about is going to be my question.                   Do you know what he's

 5      talking about?

 6               A.          He's talking about local redistricting.

 7      Local.        County, city, municipalities.               This is in no

 8      way related to the House.

 9               Q.          The next block however says -- is titled

10      update state redistricting, correct?

11               A.          Yes.

12               Q.          Okay.     And let's flip to the second page.

13      It appears to be asking some questions.                        Is he asking

14      questions about the Senate or the House?

15               A.          I don't think he's asking -- I don't

16      know.     I'd have to read that.

17               Q.          Why don't you take a minute and read it

18      and I'm going to ask you a question.

19               A.          Sir.

20               Q.          Yes, ma'am.

21               A.          I have to -- I have to defer back to --

22      that question to someone else.                 I cannot answer that

23      question.

24               Q.          Okay.     I understand and I don't want you

25      to answer questions you cannot answer.                        So I'm going to

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 1      go up to the previous line which says that President

 2      Murphy said a meeting would be scheduled with the SC

 3      Legislative Black Caucus to get their input.                    Do you see

 4      that?

 5               A.          Yes.

 6               Q.          Okay.     Did you schedule a meeting with

 7      the South Carolina Legislative Black Caucus to get

 8      input?

 9               A.          No, we did not.

10               Q.          Can you tell me why not?

11               A.          Well, at this point and if you look at

12      the date on this -- on these minutes, we were at a

13      point that our mapping had been completed.                    We never

14      met with the black caucus.

15                           (Simultaneous crosstalk.)

16               Q.          I'm sorry.

17               A.          And because they were not met with

18      initially to have input at the beginning, they did not

19      feel it necessary to meet with us.

20               Q.          Was there ever a time when members of the

21      black caucus, any member of the black caucus requested

22      that they come and meet with your committee or your

23      office to discuss redistricting?

24               A.          I think -- and I have to give an

25      historical background on this and I can only say what

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 1      I was told.         I don't know how true it was but it was

 2      stated to me that they were involved in the process.

 3      I don't know if that's true or not true.

 4                           There was -- you know, I think there

 5      were attempts to meet with us but I made it clear from

 6      the outset we would not be discussing maps until

 7      mapping was done because we were not going to accept I

 8      would say feedback or any concerns from the black

 9      caucus regarding the mapping because we were doing it

10      without considering incumbents and that wasn't too

11      pleasing to their ears.

12             Q.            To whose ears?

13             A.            The ones that asked to meet.

14             Q.            Who were those -- who were the ones that

15      asked to meet?

16             A.            I will not give those names, sir.

17      That's not important.            The thing is the attempt was

18      made and because it was made, I made it very clear

19      from the beginning that they would not be involved as

20      those maps were being -- as the mapping was done.

21             Q.            President Murphy, you can't refuse to

22      give me names just because you don't want to give me

23      names, okay.         So you said that there were members of the

24      Legislative Black Caucus who asked to meet with you.

25      What were the names of those people?

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 1                           MR. INGRAM:       Objection as far as those

 2      names overlap with the membership list of NAACP South

 3      Carolina conference.

 4                           THE DEPONENT:        They do.

 5                           MR. INGRAM:       I'm instructing her not to

 6      answer.

 7                           MR. MOORE:       All right.       Again that's

 8      another issue for your protective order, Mr. Ingram.                        I

 9      want to go next, Mr. Parente to what's listed as 25 here

10      which is the agenda for August 5, 2021.

11                            (Whereupon, Defendant's

12                            Exhibit 13 was marked for

13                            identification.)

14             Q.            All right.       So at the bottom of the page,

15      there are some statements about Mr. Ruoff.                   It says

16      Attorney Teague was present at the House meeting.                      Is

17      that a reference to Lynn Teague?

18             A.            Yes, it is.

19             Q.            Okay.    Is Lynn Teague an attorney to your

20      knowledge?

21             A.            I don't really know.           I never -- I

22      don't know.

23             Q.            Okay.    So you don't have any information

24      that suggests that she is actually an attorney, right?

25             A.            I'm saying -- well, he said attorney.

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 1      That may have slipped by me.                   Maybe she is.        I
 2      don't -- I can't say that I knew that.
 3              Q.            But you do know Lynn Teague, right?
 4              A.            Yes, I know her.
 5              Q.            And --
 6              A.            And, you know, as an associate, not
 7      personally.
 8              Q.            Okay.      And she's done a lot of speaking
 9      out in the media about the issues of redistricting, has
10      she not?
11              A.            Yes, she has.
12              Q.            Okay.      And --
13              A.            She provided testimony.
14              Q.            She's provided testimony but she's made a
15      lot of comments to the press.                    Is that right?
16              A.            Yes.
17              Q.            Okay.      And at one point, she made a
18      comment indicating that she wasn't going to challenge
19      the maps.      Her role was out vocalizing concerns.                       Have
20      you read any such attribution to her, Ms. Murphy?
21              A.            I don't recall.            I didn't read that
22      article, no.
23              Q.            Okay.      All right.         Let me ask you this
24      question.      Did you participate in a discussion with Ms.
25      Teague where it was decided that she would go out and

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 1      raise concerns repeatedly in the media?

 2             A.            No.

 3             Q.            Okay.     Did you ever discuss with her

 4      launching some sort of media or public relations

 5      campaign?

 6             A.            No.

 7             Q.            She's certainly spoken out in the media

 8      far more than you.            Is that right, Ms. Murphy?

 9             A.            Yes.     And may I make a comment?

10             Q.            Yes, ma'am.

11             A.            Ms. Teague did not join our group until

12      after she completed her mapping so they are not

13      associated with each other.

14             Q.            But Mr. Ruoff was involved in both her

15      map -- the map drawing for her and in consultations with

16      you.   Is that right or wrong?

17             A.            Right.

18             Q.            I'm going to page 2.            Do you see a

19      reference to Attorney Leah Aden who's an attorney of

20      record in this case responding to Mr. Matthew's concern

21      regarding how the House and Senate had different

22      criteria and definitions of communities of interest and

23      how it can be defined uniformly and is there community

24      input and access.            And it says that Ms. Aden concluded

25      by stating it is exceedingly difficult to uniformly

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 1      define communities of interest because of a host of
 2      community differences within the state.                         Do you recall
 3      that?
 4               A.           When was this?           What's the date on
 5      this?
 6               Q.           It's August 5th.            Excuse me.       The one at
 7      the top says August 5th.                 The one at the bottom says
 8      August 12th.          So it's hard for me to tell you what date
 9      it is.
10               A.           I'm going to say this.                 I was not the
11      chair of this committee nor the co-chair.                         There
12      were -- I don't recall those comments and sometimes I
13      may not have been present at all of the meetings.                            I
14      do not recall that conversation.
15               Q.           Okay.      All right.         And do you know if you
16      were present for that discussion?
17               A.           No.     I don't know.          I don't know.
18               Q.           I mean it does describe a statement from
19      you about the Senate definition of communities of
20      interest.      Do you see that again on page 2?
21               A.           Where?
22               Q.           Before where I quoted the line that says
23      Attorney Leah Aden, LDF.                 It says President Murphy
24      commented.          Do you see that?
25               A.           Okay.      My comment was in response to I

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 1      guess Mr. Matthews who commented -- he questioned the

 2      legality of the two different housing processes,

 3      different redistricting standards defining

 4      communities, da-da-da, and whatever I said, it was in

 5      relationship to what he had said.

 6                           MR. MOORE:       Okay.     All right.     So I'm

 7      next going to go to August 26th, Mr. Parente, which is

 8      Number 27 in here.

 9                           MR. INGRAM:       We need a break.

10                           MR. MOORE:       Okay.

11                           (Brief recess.)

12                            (Whereupon, Defendant's

13                            Exhibit 14 was marked for

14                            identification.)

15                           MR. MOORE:       All right.       So we're back on

16      the record.         I just have a couple of more questions, but

17      again before I finish my questions and cede the floor,

18      I'm going to note that we intend to keep this deposition

19      open because we have not received all of the documents

20      that might be relevant to a deposition of Ms. Murphy.

21                           We just received a number of the

22      documents.     We barely had a chance to go over them last

23      night and I will say that -- we both said this for the

24      record.    I do not believe it is appropriate objection

25      and an appropriate position to take that you will not

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 1      reveal information about members of the SC NAACP,

 2      particularly when there's a confidentiality order in

 3      place in this litigation and -- but we will deal with

 4      that at the appropriate time.                 So I'm going to pull up

 5      the next exhibit which is exhibit number what, Mr.

 6      Parente?     Is it 14?         Okay.      You can go down for just a

 7      moment.

 8             Q.            Do you see this document, Ms. Murphy?

 9             A.            August the 26th?

10             Q.            Yes, ma'am.

11             A.            Yes, I do.

12             Q.            It's dated at the top August the 26th.

13      It's dated at the bottom September 2nd.                       I'm assuming --

14      you correct me if I'm wrong -- that the meeting was

15      actually held on August the 26th but maybe the other

16      date is the date the minutes were done.                       Is that right?

17      Do you know?

18             A.            Yes.     The calendar -- I guess you could

19      determine that by looking at the calendar, the day of

20      the week it is.          If it's a Thursday, that would be

21      correct.

22             Q.            Okay.     And it first says that Attorney

23      Teague identified as an attorney reported attending the

24      SC Democratic caucus meeting as a nonpartisan observer.

25      Is that what it says?

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 1              A.            Where are you at?
 2              Q.            Where it says update on mapping for
 3      redistricting.
 4              A.            Oh, Attorney Lynn Teague?
 5              Q.            Yes, ma'am.
 6              A.            I see that.
 7              Q.            Okay.      Again she's identified as an
 8      attorney there, correct?
 9              A.            I see.      Uh-huh.
10              Q.            And it says that she attended the SC
11      State Democratic caucus meeting.                     Do you know if she --
12      she takes the position that her organization is also
13      nonpartisan.          Is that right?
14              A.            That's a question -- we invited
15      nonpartisan participants.
16              Q.            Okay.      And do you know if she attended
17      any Republican caucus meetings if you know?
18                            MR. INGRAM:         Objection.
19              Q.            Please answer.
20              A.            No, I do not know.             That's a question
21      you will have to ask Ms. Teague.
22              Q.            Okay.      Later it says Dr. Ruoff stated he
23      is working on state maps and his work reveals that
24      Charleston, York, and Myrtle Beach would gain new
25      districts based on population increases.                       As a result,

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 1      three districts will go away.                 Do you see that?

 2             A.            I see that.

 3             Q.            And you understood, did you not,

 4      President Murphy, that there were population increases

 5      in certain areas of the state like Charleston, York, and

 6      Myrtle Beach.         Is that right?          Did you understand that?

 7             A.            Yes.

 8             Q.            Okay.     And did you also understand that

 9      there were population decreases in a number of areas?

10             A.            Yes.

11             Q.            And when you have an increase in

12      population, you sometimes have to draw new districts in

13      relation to that because the map is dictated by the

14      population.         Do you agree or disagree with that?

15             A.            Yes.

16             Q.            All right.        Now I'm going to ask maybe

17      one or two more questions and then I'm done and I'll

18      cede the floor.            Ms. Murphy, could you tell me -- can

19      you identify for me the last time you voted for a

20      Republican candidate for any office?

21                           MR. INGRAM:        Objection.

22             Q.            Okay.     Please answer my question, Ms.

23      Murphy.

24             A.            No.

25             Q.            You cannot identify any such vote?

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 1               A.          No.

 2               Q.          Okay.    Do you think you voted for a

 3      Republican candidate for office in the last twenty

 4      years?

 5                           MR. INGRAM:       Objection.        I'm instructing

 6      her not to answer.           That's not relevant to her testimony

 7      as a representative of the South Carolina National

 8      Conference of NAACP.

 9                           MR. MOORE:       You can't instruct her not to

10      answer a question because you don't believe it's

11      relevant, Mr. Ingram, under our rules.                       And I believe

12      that a number of your instructions have been

13      inappropriate.

14               Q.          Are you going to answer that question or

15      not, Ms. Murphy?

16               A.          Based on my instructions from the

17      attorney, I am not.

18               Q.          Okay.

19                           (Simultaneous crosstalk.)

20                           MR. INGRAM:       First amendment

21      constitutional rights, you can't -- especially in this

22      case where it's not even relevant toward the claims of

23      the case.

24                           MR. MOORE:       You can take -- you will need

25      to file a motion for protective order with respect to

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 1      that, Mr. Ingram, okay.             So with that, I think I'm done.

 2      So who is going next?            Is it going to be counsel for any

 3      of the other defendants?              You, Mr. Ingram?         How are we

 4      going to proceed?

 5                           MR. INGRAM:       I need to redirect but first

 6      see if there's any other questions from other

 7      defendants.

 8                           MR. TYSON:       I'd like to ask some

 9      questions if this is a good time.

10                           MR. INGRAM:       Sure.     You know we're

11      already significantly over our five hour time frame

12      but -- and I don't believe you were noticed.                     Did you

13      notice that you wanted to ask questions?                     We just had a

14      notice from the House defendants.

15                           MR. TYSON:       Yeah, he noticed the

16      deposition.         I'm a defendant.         I'm Rob Tyson.       I

17      represent the Senate.            I'm allowed to ask questions.

18                           (Audio interference.)

19                           MR. TYSON:       Guys, you need to get on

20      mute.    And, Mr. Ingram, since this thing is going to be

21      held open, I think we're okay.                 Ms. Murphy, do you have

22      about fifteen minutes for me?                I see you rolling your

23      eyes.

24                           MR. INGRAM:       I would prefer we just wait

25      to a later date since they don't seem to be -- we've

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 1      already had a long day today.
 2                            MR. TYSON:         I don't have a whole lot of
 3      questions right now and it would be kind of following
 4      up.     It's not going to be on new material.                      So Ms.
 5      Murphy, if you're okay, I've got some questions I can
 6      ask.
 7                            THE DEPONENT:          Go ahead.
 8
 9      EXAMINATION BY MR. TYSON:
10               Q.           Ms. Murphy, thank you.                 Again I'm Rob
11      Tyson and I represent the Senate defendants in this
12      case.     I just want to -- I have a couple of -- several
13      buckets of questions.
14               A.           Buckets?
15               Q.           But Mr. Moore kind of went from A to B to
16      C to D so I'm going to try to stay in one bucket before
17      I go to another but I'm not promising I'm going to be
18      that organized.
19                            Let me just ask you a question to start
20      off.     Mr. Moore asked right off the bat if you had ever
21      been deposed and you said you had been deposed
22      previously one time in some case and I think Mr. Moore
23      asked you about whether Judge Lydon was the judge in
24      that case or something.                Do you remember that?
25               A.           I recall the question.

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 1             Q.            Okay.    And do you recall your answer?

 2      That's what I'm interested in.

 3             A.            It was about the Myrtle Beach case,

 4      yes.

 5             Q.            And the question was have you ever been

 6      deposed before.          And do you remember you were deposed by

 7      me two years ago?

 8             A.            What was that in reference to?

 9             Q.            Absentee ballot voting when you were a

10      plaintiff, the NAACP was the plaintiff in the Thomas

11      lawsuit?

12             A.            Absentee ballots.          I may have.

13             Q.            It was July the 27th.

14             A.            Okay.

15             Q.            Yes, ma'am.       2020.     I'm not a memorable

16      person but I just wanted to make sure that the record

17      was accurate that you have been deposed before.

18             A.            Thank you.       Thank you for reminding me

19      of that.

20             Q.            Yes, ma'am.       This bucket that I wanted to

21      ask questions about is kind of about process.                    And some

22      of the complaints that the NAACP raised -- oh, let me

23      ask you something.           I'm really confused about how your

24      deposition is.

25                           Sometimes you say you're representing --

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 1      you're there today representing the state conference.

 2      Other times -- your attorney started off and said you're

 3      just there individually.              So I'm trying to figure out --

 4      I think these questions are going to be addressed to you

 5      individually.         Is that okay?

 6             A.            How is it relevant to this conversation

 7      when we're here about the state conference?

 8             Q.            Because there are two types of

 9      depositions and your attorney started off making sure --

10      his first question, his first comment that he said was

11      this wasn't a 30(b)(6) where you would be speaking on

12      behalf of the organization.               And Mr. Moore said, no, I'm

13      not doing that.          If I did that, I'd have to give you the

14      topics.     I'd have to do that.

15                           And so you're here speaking, testifying

16      individually.         I just wanted to make sure that that's

17      clear so when I ask these questions, you're able to

18      answer those?

19                           MR. INGRAM:       For clarification as I said

20      before, she's here in her personal capacity as the

21      president of the state conference.                  She is not here as

22      Brenda Murphy.          She's not a named plaintiff.            She's here

23      representing the state conference.                  This is not a

24      30(b)(6) deposition.

25             Q.            Okay.    So part of the complaint that's

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 1      gone throughout and Mr. Moore asked you some questions
 2      was about process and I just wanted to ask some
 3      questions about that.               Isn't it fair to say that the
 4      NAACP has been an active participant in the
 5      redistricting process?
 6               A.           We have been an active participant in
 7      terms of attending sessions.                   Not to the extent that
 8      we would like to be but we have provided testimony
 9      that's been -- you know, in terms of the testimony
10      being received, I will say we have been active in that
11      respect, yes.
12               Q.           And I think you testified earlier that
13      you and/or your members participated in a significant
14      number of the meetings that were held across the state,
15      right?
16               A.           Oh, I didn't say that.                 I said a number
17      was -- in terms of the hearings, yes, they were
18      encouraged to participate but there was difficulty in
19      terms of some attending the meetings because they were
20      during the day.            You know, the majority of those
21      sessions were done at the hours that were not good for
22      some of the membership of the NAACP.
23               Q.           And I think in each of those, you could
24      have provided written comments.                     In fact, I think maybe
25      the NAACP did provide comments on those, correct?

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 1             A.            We did.

 2             Q.            So you did participate in a number of the

 3      statewide hearings across the state, right?

 4             A.            Me personally?

 5             Q.            No.     The NAACP, your members, you and

 6      your members.

 7             A.            I can't say what number.                 I can only

 8      say that the time was difficult.                  In terms of virtual

 9      capability because some could not come to the sites

10      where they were being held, they were unable to attend

11      because they were not virtual.                 There was not the

12      virtual capability.

13             Q.            I understand that.           But didn't you say

14      earlier that you attended some of those meetings,

15      correct?

16             A.            Yes, I did.

17             Q.            And didn't you say earlier that you

18      attended some of the meetings held by the redistricting,

19      the ad hoc committee?             Not the public meetings held

20      across the state but the ones back in Columbia once they

21      got here.

22             A.            I did.      I attended two meetings.

23             Q.            And you testified at both of them?

24             A.            Yes.

25             Q.            And, you know, we've had -- Mr. Moore's

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 1      talked to you for a long time about all the different

 2      letters that you and I think you called your

 3      coalition -- but y'all wrote a number of letters to the

 4      state House of Representatives concerning redistricting,

 5      didn't you?

 6             A.            The letters were written, yes.

 7             Q.            A number of them, correct?

 8             A.            The ones that were mentioned today.

 9             Q.            I think it was at least a dozen but it

10      might be more.

11             A.            I don't think it was a dozen.

12             Q.            Okay.    But it was a lot of letters.             You

13      had an opportunity and you did take advantage of that

14      opportunity, correct?

15             A.            I would say me personally as

16      attending -- I attended two.               I testified at two.

17             Q.            Yeah, but I'm talking about --

18             A.            Letters were written.            Letters were

19      written.

20             Q.            Yes, ma'am.

21             A.            I'm not saying that is adequate

22      representation from the full body.                  I still as a

23      matter of record say the opportunities were not as

24      great to participate in testimony as was provided by

25      the Senate.         It was a difference.

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 1             Q.            And as the lawyer for the Senate, I say

 2      thank you but today we're here about the House and you

 3      did write -- and your group did write a bunch of letters

 4      and you also provided a number of maps, correct?

 5             A.            Not a number of maps.

 6             Q.            How many maps did you provide -- did your

 7      organization --

 8             A.            That was provided for the House.

 9             Q.            Right.     More than one?

10             A.            I'm thinking one, maybe one revision.

11             Q.            Yes, ma'am.       So at least a couple.         And

12      you provided comments on various drafts of the House

13      maps, right?

14             A.            I did.     May I comment, sir?

15             Q.            Yes, ma'am.

16             A.            My -- we may have provided comments.

17      The goal, it was not just to make comments but it was

18      for our voices to be heard and at least considered and

19      to see some type of outcome in terms of what we had

20      recommended.

21             Q.            And that was --

22             A.            That was the intent.

23             Q.            And I appreciate that.            But my point is

24      just a simple one.            You did express your right and you

25      did voice it, right?

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 1               A.          Yes.

 2               Q.          And in many ways.           From meetings,

 3      testimony, letters, letters from your lawyers, legal

 4      positions, maps.            You did a variety of things to provide

 5      input in the process, correct?

 6               A.          Yes, we did.

 7               Q.          Okay.     But that doesn't mean that you

 8      always get your way though, does it?

 9               A.          It's not just my way.             There were many,

10      many concerns that were expressed by many at those

11      hearings.

12               Q.          I understand that but I'm talking about

13      you specifically at the NAACP, your comments.

14               A.          This is not about me specifically or

15      the state conference.             It's about outcomes.

16               Q.          Okay.     But isn't it fair to say that just

17      generally speaking on legislative actions, the

18      legislative process takes in multiple views, correct?

19               A.          They may.       I can't answer that for them

20      but --

21               Q.          Well, you know they do.

22               A.          I cannot speak for the legislators.

23               Q.          You know people have different opinions

24      on different issues, right, Ms. Murphy?

25               A.          Yeah, everybody has different opinions

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 1      but you are there to represent us as citizens of the

 2      state.        The input that we provide should be not only a

 3      consideration --

 4               Q.          But --

 5                           MR. INGRAM:       Let her finish.

 6               A.          Not only considered but acted upon.

 7               Q.          Now what if somebody else said the same

 8      thing?        What if the ACLU said the same thing or the

 9      League of Women Voters said the same thing or the South

10      Carolina Homebuilders said the same thing?                    If they said

11      we're entitled to have our views heard and you must act

12      on them, how would that work?

13               A.          Sir, you represent us.

14               Q.          Correct.      And that's what I'm just trying

15      to make sure that you understand that you are able and

16      were afforded the opportunity to provide in the process

17      and I appreciate you doing that.

18                           Okay.    Let me ask you questions about

19      your membership.          I know we've had a lot of discussion

20      about that and your lawyer there has a whole bunch of

21      motions for protective order that he has to file here

22      shortly but let me ask you something.                    Mr. Moore asked

23      why did you sue the House?               And your answer was

24      opportunity districts are not there but could have been.

25      And so he said why did you sue -- why did you bring the

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 1      suit?     And you said we heard from members across the
 2      state.        Do you remember that?
 3                            MR. INGRAM:         Objection.         Misstates --
 4                            MR. TYSON:         For what?
 5                            MR. INGRAM:         Misstates testimony.
 6                            MR. TYSON:         Does she get to answer that
 7      before you do?
 8                            MR. INGRAM:         That's how objections work.
 9               Q.           Ms. Murphy?
10               A.           Yes.
11                            MR. TYSON:         I don't think that's how
12      objections work but I appreciate that late on a Friday
13      afternoon.
14                            MR. INGRAM:         We can read back the
15      testimony if we want to quote what she earlier said in
16      the deposition.
17                            MR. TYSON:         I'm a pretty good transcriber
18      because it took my attention.                    I'm glad if you want to
19      go back, Mr. Ingram, and make it -- read it but I want
20      to ask her a question, not talk to you.
21               Q.           Ms. Murphy, do you remember that
22      testimony?
23               A.           I'm not --
24                            MR. INGRAM:         Objection.         She's not going
25      to respond to your summary of her words when there's a

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 1      record that we can refer to.

 2               Q.          Let's try it again, Ms. Murphy.               Do you

 3      remember Mr. Moore's question why did you bring this

 4      suit?

 5               A.          I remember the question but it was much

 6      more detailed than what you have just said.

 7               Q.          Give me an answer then, whatever you

 8      believe the detailed question is.                  Why did you bring the

 9      suit?

10               A.          Why did I bring the suit?               Why did the

11      state conference bring the suit?

12               Q.          Correct.

13               A.          The suit was brought because of several

14      reasons.      The maps are not representative of districts

15      that provide the opportunity for representation,

16      especially I will note black representation.                      There

17      has been -- the numbers have been minimized in terms

18      of potential opportunities for representation.

19               Q.          Did you hear from any members across the

20      state?

21               A.          I think I answered that, too.

22               Q.          And what was your answer?

23               A.          My answer is we have branches

24      throughout the state which we regularly communicate

25      with.

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 1              Q.            And so my question is did you hear from
 2      those branches and those members before bringing this
 3      lawsuit?
 4                            MR. INGRAM:         Objection.         Asked and
 5      answered.
 6              Q.            Go ahead.        You get to answer the
 7      question.
 8              A.            Let me say again we started planning
 9      and talking about redistricting long before the
10      numbers were in.            We encouraged -- we met with our
11      members.      We encouraged them.                We provided information
12      to make them more familiar with the process in order
13      for them to be involved in the redistricting process
14      also because of the importance of that.
15                            How districts is drawn we know impacts
16      on our citizens, particularly black citizens.                          And so
17      in terms of dilution of the vote, it's very important
18      that they be drawn in such a way that the votes are
19      not diluted and that they are in compliance with the
20      Constitution.           One man, one vote.             What else did I
21      have to say?          Do you want me to repeat everything I
22      said?
23              Q.            No.     I just want you to be responsive to
24      my simple question.              Did you hear from members across
25      the state?

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 1              A.            Of course I did, sir.                  I just said I
 2      did because we were --
 3              Q.            Okay.      How did you hear from them?                 Did
 4      you get written communications?                     Was it --
 5              A.            Sir --
 6                            MR. INGRAM:         Objection.           Asked and
 7      answered.
 8              A.            Sir --
 9                            MR. TYSON:         I just got here.           I just
10      started.      Let me finish my question before you yell
11      that.     So let's hold on, Mr. Ingram.                       Let me finish my
12      question.      I know you and Mr. Moore didn't gee haw but
13      give me a second here.
14              Q.            The question is how did you hear from
15      those members?           I'm not asking you to identify them.
16      I'm asking, Ms. Murphy --
17              A.            We have --
18              Q.            Hold on.        Let me ask my question.              Did
19      you get emails from them?                 Did you get phone calls from
20      them?     Did you get -- were you at meetings?                       I'm just
21      asking a simple question.                 When you say you heard from
22      members before you bought the suit, what does that
23      process look like?
24              A.            Our membership meets at least monthly.
25      We had symposiums and by virtue of meetings.                          And I

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 1      don't know if symposium is the right word but it was

 2      where we came together to look at the maps that have

 3      been drawn and it was done in such a manner that

 4      everyone had input that wanted to have input.                    And we

 5      had representation from throughout the state and there

 6      were at least two of those sessions.                   By Zoom meetings

 7      if you want to know.

 8             Q.            Ms. Murphy, here is just -- I'm sorry.

 9      Did I interrupt?

10             A.            No.    I'm listening.

11             Q.            Here's the problem.           You say you heard

12      from your membership and you heard from registered

13      voters.     That's in your complaint.               And you say that

14      you've got specific members in each of these challenged

15      districts.

16                           And what you're telling us today is just

17      trust us because you did, you heard from them.                     And what

18      we're trying to figure out is there any way, any

19      communication, anybody that can tell us who in the world

20      lives in any of these 29 districts or who in the world

21      wanted to bring this lawsuit.                Is there any way?

22             A.            I cannot give you those names, sir,

23      because they are members of the NAACP so I cannot give

24      you those names.

25             Q.            One of the comments that you responded

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 1      when I was talking about your answer just a second ago,

 2      you said that you wanted to -- the opportunity districts

 3      are not there that could have been.                   How many

 4      opportunity districts do you think there should have

 5      been?

 6              A.           Oh, I'm not going to answer that

 7      question because I think that was a group discussion

 8      about that.         I don't have those notes in front of me

 9      and I wouldn't attempt to answer it.

10              Q.           So not very much or a whole lot more or

11      just --

12                           MR. INGRAM:       Objection.        Asked and

13      answered.

14              Q.           I'm still waiting for the answer.

15              A.           I don't have an answer for you, sir.

16              Q.           Okay.    So when you said that they are not

17      there but could have been, how would we get that answer?

18              A.           They are not there but could have been?

19              Q.           That's what you said.            That was your

20      testimony.

21              A.           That's probably a part of a phrase that

22      you took, sir, but I think the opportunity for there

23      to have been more competitive districts does exist.

24              Q.           And I hear you saying that and the

25      question is how many more and what's that based on?                        How

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 1      do we factor that into --

 2             A.            Sir, I can't --

 3                           MR. INGRAM:        Objection.        Asked and

 4      answered.

 5             Q.            Ms. Murphy, I asked a question.

 6             A.            Sir?

 7             Q.            I asked a question.            How would we find

 8      that out?     You just said -- you just testified --

 9             A.            Sir, I'm going to ask a question.                 Why

10      am I being asked the same questions over and over

11      again when I've answered them?

12             Q.            Well, I'm just asking you is there -- I

13      want to know is there somebody that can testify that can

14      tell us because your testimony was there weren't enough

15      opportunity districts there.                I'm just asking is there

16      somebody that can tell us that answer?                        If it's not you

17      on a Friday afternoon, who else?

18             A.            I don't have -- I was instructed not to

19      bring any notes, any of my documents.                     I'm in the

20      office which is closed and I came in due to COVID.                           I

21      do not have access to those records.                    I cannot speak

22      off the top of my head regarding this.

23                           There is -- there is a great deal of

24      information and I think it's very unfair to ask me

25      questions and I not have access to information which

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 1      you all instructed me not to have in front of me,

 2      beside me, behind me or whatever.

 3                           MR. MOORE:        Can I interpose a point?              Who

 4      is the "you all" who instructed you not to have any

 5      document in front of you?               Because I can tell you that

 6      "you all" is not me.

 7                           MR. TYSON:        It's not me.           I don't know

 8      who she's talking about.

 9                           MR. MOORE:        Who is "you all"?

10             A.            Well, I was asked that question from

11      the beginning, did I have any documents with me.

12             Q.            I'm not asking that.            I'm just trying

13      to -- your testimony was there were not enough

14      opportunity districts that were drawn.

15             A.            I can only --

16             Q.            My question is -- and I hear you.                 I

17      respect your answer.             I think what you're saying you

18      have the answer to that but you just don't have it there

19      today with you because you don't have those materials --

20             A.            That's right.

21             Q.            -- that you're able to say that, right?

22             A.            Yes.     I can review the documents and

23      provide that information.

24             Q.            Okay.     I was just trying to -- the way

25      that you first said it, it was just kind of like a I

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 1      just think there should have been more and I was just

 2      trying to find out if there was any documentation to

 3      support it.         So I appreciate that you don't have them

 4      there.        So we will figure out how to get that answer

 5      from you when you can review your documentation, okay?

 6                           One of the things that you went through

 7      that was kind of a discussion and it rambles throughout

 8      the complaint and it was about this -- the prior history

 9      of South Carolina redistricting and how it has been

10      unfavorable to black voters.               And so I want to make sure

11      that I follow up on some of the questions that Mr. Moore

12      said because that's not true for 2010, correct?

13               A.          The numbers increased in 2010 and we

14      know why it did.

15               Q.          What does that mean, the numbers

16      increased?        What numbers?

17               A.          The number of black legislators.

18               Q.          Okay.    So there were opportunities for

19      more African American --

20               A.          Because there were even fewer than

21      there are currently.

22               Q.          I'm just trying to ask a question about

23      in 2010.        I want to be clear on this.              When the

24      complaint makes these assertions about the prior

25      problems with racial gerrymandering in South Carolina,

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 1      that's not accurate for 2010, correct?

 2             A.            I can say and, you know, I base things

 3      on how -- and I say this word often -- in terms of

 4      outcomes.     The numbers did increase in 2010.                  So were

 5      they better than before?               Yes.

 6             Q.            Well, I'm speaking in legal terms.

 7             A.            I'm not an attorney, sir.

 8             Q.            But it pre-cleared plans from President

 9      Obama's Department of Justice, correct?

10                           MR. INGRAM:        Objection.        Calls for legal

11      conclusion.

12                           MR. TYSON:        No, it doesn't.

13             Q.            It's just a simple yes or no.              Did these

14      plans, the House, the Senate and the congressional

15      plans, all get pre-cleared by the Department of Justice?

16      You've already testified yes.

17             A.            In 2010.

18             Q.            In 2010.

19             A.            '11.

20             Q.            Right.

21             A.            No.

22             Q.            And then there was a complaint that was

23      brought in the United States District Court of South

24      Carolina claiming that the districts were racially

25      gerrymandered in a section two plan (sic).                     Do you know

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 1      anything about the Ficus (sic) case?

 2               A.          No, I don't.

 3               Q.          Okay.     But --

 4               A.          Fifteen minutes, sir.

 5               Q.          I might have twenty.            Mr. Moore asked you

 6      a question and I think you just kind of spoke on it a

 7      few minutes ago.            When you analyze these maps or

 8      whatever, you testified -- or let me make sure.                     I don't

 9      want Mr. Ingram to say that I'm putting words in your

10      mouth.        I think it was something along the lines that --

11      help me if I'm not -- that when you analyzed these maps,

12      you looked at the outcomes.                Do you remember saying

13      anything like that or is that accurate?

14               A.          You mean me, Murphy, or Moore?

15               Q.          You.     You said you looked at the outcome

16      of the maps, how --

17               A.          Yes.

18               Q.          -- they affected black districts and the

19      opportunity for black people to be in competitive

20      districts.

21               A.          Yes.

22               Q.          Okay.     And so did you look at any other

23      factors when you analyzed these before your organization

24      brought the lawsuit?

25               A.          Let me say this.          We looked at data.

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 1      We look -- we had in terms of individuals that could
 2      be helpful, in terms of looking at data, looking at
 3      the variables that we needed to consider.                        It's not
 4      that we independently -- we're not attorneys.                          We are
 5      not demographers and so we had to depend on others
 6      with those skills that could do that.
 7                            So with those skills that we -- that
 8      they had that complimented us in terms of knowing how
 9      to evaluate these maps, the decision was made that --
10      in relevance to what you're asking me.
11                            So it was not an independent decision
12      by the state conference.                 We had to use demographers.
13      We had to have individuals with expertise in certain
14      areas.        Legally.      Even in terms of the need for legal
15      guidance, we needed that as well.                      We are not
16      attorneys.          There was one -- we have one attorney
17      that's a member of our committee but his expertise is
18      not in redistricting.
19               Q.           But, Ms. Murphy, I just wanted to know --
20      you said that you looked just at the outcomes and my
21      question was did you look at --
22                            (Simultaneous crosstalk.)
23               Q.           And did you look at any of the other
24      redistricting criteria or did your consultants --
25               A.           Yes, of course.            That's why I said we

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 1      used demographers.            We used individuals with expertise

 2      in terms of redistricting and to ensure that we

 3      considered all the factors that needed to be

 4      considered.         So this was -- this was a comprehensive

 5      look at this with the consultation of individuals that

 6      have expertise in the area.

 7              Q.           And Mr. Moore asked you about the -- I

 8      think he called it redistricting principles and you said

 9      you weren't fully aware of that but you understood the

10      criteria, right?

11              A.           Yes.

12              Q.           And you know the House had a whole list

13      of criteria that they use that weren't race-related,

14      traditional redistricting criteria, right?                    Compactness.

15      They needed to be contiguous, needed to protect

16      communities, right?            You know about all those, right?

17              A.           Yeah.     Yes, I do.

18              Q.           And so what I'm asking is this.             You

19      know, I know you looked at the numbers to see what the

20      feedback is.         You've got that throughout your complaint.

21      I'm trying to figure out did you look at any of those

22      factors to analyze those specific 29 challenged

23      districts and why they were drawn that way?

24              A.           Of course they were -- we did look at

25      that.    That's why I said this was not looked at just

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 1      as a specific district did one way or the other.

 2      Factors were or variables were considered and that was

 3      with the expertise of demographers, individuals

 4      experienced in mapping.

 5                           So it's not just a shot in the dark

 6      regarding potential for mapping to increase

 7      opportunities for representation by black people.

 8             Q.            I think Mr. Moore asked you some

 9      questions about District 95 which Representative Govan's

10      is a member of that but --

11             A.            He didn't ask me about that, not 95,

12      but what is your question about 95?

13             Q.            So for District 95, there were questions

14      and there is all kinds of data throughout the complaint

15      about the BVAP and I was just wondering what are these

16      other redistricting criteria used by the state

17      conference to analyze whether those were used to draw

18      District 95?

19             A.            Let me just say and I said this before

20      no district was drawn in such a way it was reflective

21      or to ensure an incumbent.               That was not considered as

22      one of the factors that we used.

23             Q.            But what I'm asking about is do you know

24      whether you or your experts analyzed whether the

25      district was compact?            Did you analyze --

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 1              A.            I'm sure that -- well, I'm certain that
 2      was considered, yes.
 3              Q.            Did they look to see whether it was
 4      contiguous?
 5              A.            That was one of the consistent
 6      criteria.
 7              Q.            Did they look to see whether the
 8      population fell within the deviation?
 9              A.            Sir, I just said to you that all of the
10      variables were considered.
11              Q.            And so who would we ask to determine if
12      these 29 challenged districts that you have said you
13      just looked at the results, who would be able to --
14              A.            I did not say --
15              Q.            Hold on.        Hold on.
16              A.            Well, I just don't want you putting
17      words in my mouth because I did not say that I just
18      looked at results.
19              Q.            I thought we just went through this.                    Do
20      you want me to repeat those?
21              A.            We look at outcomes.              Outcomes.
22              Q.            Outcomes.        Okay.      And tell me how outcome
23      is different than results.
24              A.            It may have more variables.                I may -- I
25      know.     Let's just say we looked at it from a

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 1      comprehensive standpoint considering all of the
 2      variables that needed to be considered, and if a
 3      district could be mapped in such a way that it could
 4      be reflective or competitive, then that's the way the
 5      mapping was done by our group.
 6              Q.            So let me just -- so you recognize that
 7      the House used traditional redistricting criteria to
 8      draw some of these districts, right?
 9              A.            Traditional?
10              Q.            Compactness, continuity, communities of
11      interest, deviation, all of those traditional issues.
12              A.            I hope that was the intent.
13              Q.            I'm sorry?
14              A.            I hope that was the --
15              Q.            Let me ask that question again.                  Isn't it
16      clear that the House used those criteria for drawing
17      some of these districts?
18                            MR. INGRAM:         Objection.         Asked and
19      answered.
20              A.            I cannot answer that question because
21      it was -- I was not sitting on the committee when they
22      drew the maps.
23              Q.            But somebody in your group has looked at
24      them and they can tell that they're compact, right?
25              A.            Oh, I'm certain, yes.

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 1             Q.            And they can tell that they're

 2      contiguous, right?

 3             A.            Yes, they are.

 4             Q.            And they can tell they preserve

 5      communities of interest, right?

 6             A.            Yes, they did.

 7             Q.            Okay.     That's my point.           Mr. Moore went

 8      through a whole bunch of examples of communities of

 9      interest so let me try this one last time.                     Is it fair

10      to say or accurate to say that the House did follow its

11      criteria when drawing its districts?

12                           MR. INGRAM:        Objection.        Asked and

13      answered.

14             Q.            Go ahead and answer that, please.

15             A.            I was not a member of the subcommittee

16      so I don't know if they were consistent or not.

17             Q.            Do you have any reason to think that they

18      weren't?

19             A.            I don't know.

20             Q.            You looked at the maps.              You said you

21      studied them.         They're compact.           You can tell me that,

22      can't you?     You can look at a map and tell me.                     We can

23      pull one of those up that's still over there.                     We can go

24      back through it ourselves.

25             A.            Sir.     Sir, right now the attorney

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 1      doesn't have to speak for me but I'm telling you you

 2      are badgering me.           Would you please be succinct in

 3      your questions so we can get on with this and I can go

 4      home.    We've been at this since 10:00 a.m.                    It is now

 5      five o'clock and I was told this deposition would only

 6      take five hours.

 7                           MR. TYSON:       Ms. Murphy, can I just say

 8      one thing?     I appreciate your patience.                   This isn't an

 9      easy issue.         So with that, I will take your advice.                  I

10      apologize if I was badgering you.                  I was trying to

11      make sure I understood your answer, but with that, I

12      don't have any more questions.                I hope you have a good

13      weekend.     Thank you for your time.

14                           THE DEPONENT:        Thank you.

15                           MR. INGRAM:       Does counsel for the

16      governor or any other defendants have questions before I

17      redirect?

18                           MR. LIMEHOUSE:        Yes, I do.         This is

19      Thomas Limehouse for Governor McMaster.                      I have a couple

20      of quick questions.

21

22      EXAMINATION BY MR. LIMEHOUSE:

23              Q.           Good afternoon, Ms. Murphy.               My name is

24      Thomas Limehouse.           I represent Governor Henry McMaster.

25      I have a few quick questions for you.                    It shouldn't be

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 1      fifteen.      Try to keep it as quick as possible.                       Are you
 2      aware that Governor McMaster is named as a defendant in
 3      this lawsuit?
 4              A.            Yes.
 5              Q.            Both in the original complaint and the
 6      amended complaint, right?
 7              A.            Yes.
 8              Q.            I believe you testified that you were
 9      involved in the NAACP's decision to file this lawsuit.
10      Is that correct?
11              A.            Involved in the decision to?                Yes.
12              Q.            Who else was involved in the decision, if
13      anyone?
14              A.            The coalition.           We made a group
15      decision to do it.
16              Q.            Okay.      Who made the decision to sue the
17      governor?
18              A.            The governor has final overall
19      authority, responsibility.
20                            MR. TYSON:         I was badgering.
21                            MR. INGRAM:         Can you put it on mute?
22                            THE DEPONENT:          Yes, you were badgering
23      me.
24                            MR. INGRAM:         And objection.         Objection.
25      Calls for a legal conclusion.

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 1                            MR. LIMEHOUSE:            I'm sorry.       The reference
 2      to badgering?
 3                            MR. INGRAM:         No.
 4                            (Simultaneous crosstalk.)
 5                            MR. INGRAM:         Your question about who made
 6      the decision to sue the governor.
 7                            MR. LIMEHOUSE:            I'm sorry.       You were
 8      speaking over the witness.                  The witness' reference to
 9      badgering.
10              Q.            Ms. Murphy, what were you referring to?
11              A.            The voice in the background, not you.
12              Q.            Okay.      Got you.        Okay.       Try that again.
13      Who made the decision to sue the governor?
14                            MR. INGRAM:         Objection.          Calls for a
15      legal conclusion.
16              Q.            You can answer.
17              A.            The coalition decided.
18              Q.            Which members of the coalition?
19              A.            The coalition that's listed on our
20      correspondence.
21              Q.            Okay.      When was the decision made to file
22      this lawsuit?
23                            MR. INGRAM:         Objection.          This is
24      attorney-client privilege.                  Legal strategy.         I'm going
25      to direct my client not to answer.

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 1             Q.            Why did the NAACP sue the governor?

 2                           MR. INGRAM:       Objection.        Privileged.      I'm

 3      going to direct my client not to answer.

 4             Q.            What do you or the NAACP claim the

 5      governor did or didn't do related to the claims in this

 6      lawsuit?

 7             A.            The governor has ultimate

 8      responsibility for the final House plan which has been

 9      signed off.

10             Q.            Anything else?

11             A.            Because the plan as we see it as a

12      coalition still has -- we still have concerns about

13      specific areas and we want our voices to be heard.

14                           MR. LIMEHOUSE:        All right.        Thank you.

15      I have no further questions.               Appreciate your time.

16                           THE DEPONENT:        Thank you.

17                           MR. INGRAM:       Okay.     I need five minutes

18      to clear my thoughts for redirect.

19                           (Brief recess.)

20

21      EXAMINATION BY MR. INGRAM:

22             Q.            Ms. Murphy or President Murphy, I have

23      just a few questions for you.                First, earlier today, you

24      were asked questions about your preparation for a

25      deposition.         You testified to meeting twice.              Do you

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 1      remember if that was once or twice a day on either of

 2      those days?

 3                           MR. MOORE:       Object to the form.

 4             Q.            You may answer.

 5             A.            Twice on one day.

 6             Q.            On which day?

 7             A.            My days running -- today is Friday?

 8      Thursday.

 9             Q.            Okay.    And I have a couple of questions

10      about discovery.          So you were asked about discovery in

11      this case and about your role in discovery.                      So without

12      disclosing specifically what you discussed, do you

13      recall whether you worked with an attorney in this case

14      to respond to different questions that the defendants

15      were seeking from the South Carolina NAACP?

16                           (Audio interference.)

17                           THE DEPONENT:        Somebody is talking in the

18      background.

19                           MR. INGRAM:       Can we please go on mute?

20      Someone is speaking.

21             Q.            I'll repeat the question.               Without

22      disclosing specifically what you discussed, do you

23      recall when you worked with any attorney in this case to

24      respond to different questions that the defendants were

25      seeking of you?

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 1              A.            No.
 2              Q.            Do you remember discussing discovery
 3      responses with any of your attorneys?
 4              A.            No.
 5              Q.            Do you remember your attorneys asking you
 6      to collect documents for this case?
 7                            MR. MOORE:         Object to the form.
 8              Q.            You may respond.
 9              A.            In terms of documents that were needed?
10              Q.            Correct.
11              A.            I was requested by someone by email
12      that the documents were needed and I instructed the
13      staff to send those forms that were requested.
14              Q.            Thank you.         I have a couple of questions
15      about the distinction between the coalition and the
16      South Carolina NAACP.               President Murphy, you testified
17      about working with the coalition on redistricting or
18      what otherwise may be reapportionment, slash,
19      redistricting committee.                 Are these one and the same?
20      That is, is the coalition and the reapportionment
21      committee the same thing or are they separate things?
22              A.            They are the same.
23              Q.            Can you describe off the top of your head
24      if you can the various groups who are part of the
25      coalition?

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 1              A.            They are reflected in the minutes.                   The
 2      coalition -- I don't want to miss anybody.
 3              Q.            Okay.
 4              A.            You know, I would rather you refer to
 5      the listings on the minutes to have an accurate
 6      membership.
 7              Q.            And just to clarify, the coalition is
 8      different from the South Carolina NAACP?
 9              A.            Yes, it is.
10              Q.            And what role in the coalition would the
11      South Carolina NAACP have?
12              A.            Your question again?
13              Q.            What role in the coalition does the South
14      Carolina NAACP have?
15              A.            Ask that -- could you rephrase it?
16              Q.            The South Carolina NAACP is a part of a
17      broader coalition, correct?
18              A.            That's a different organization.
19              Q.            Correct.        You would say the coalition is
20      an umbrella group of different groups, right?
21              A.            That's correct.            Yes.
22              Q.            And what role does the South Carolina
23      NAACP have within that larger group?
24              A.            We are participants.
25              Q.            Are you -- would you consider yourself a

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 1      leader of the coalition?                 Is it a democracy?          How does
 2      that work?
 3              A.            It is a democracy.             We spearheaded the
 4      initiative but it was a group pulled together to work
 5      together on the redistricting process.
 6              Q.            Thank you.         Now I'm going to turn to a
 7      few questions about the legislative cycle to get some
 8      clarification.           You testified about individuals not
 9      being able to participate in legislative proceedings.
10      What do you mean by that?
11              A.            Some were not able to participate
12      because of the scheduled time for the hearing.
13              Q.            What time were the hearings scheduled?
14              A.            During the day.
15              Q.            Do you remember what hours?
16              A.            Ten a.m.        Maybe 1:00 p.m.
17              Q.            Does the conflict with many of the
18      schedules of the NAACP members?
19              A.            Yes, it does.          Many of them work.            The
20      only individuals that were able to attend were those
21      that were retired pretty much.
22              Q.            How many proceedings were at night or on
23      the weekend?
24              A.            None on the weekend.              At night?      I
25      don't recall any at night.

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 1              Q.            And did you attend hearings by the House
 2      on proposed state House maps?
 3              A.            Yes.
 4              Q.            What do you recall from those meetings
 5      regarding concerns people had about the impact of the
 6      maps on black voters?
 7              A.            There were many concerns expressed,
 8      disagreements in terms of how the maps had been drawn.
 9      Not just from the members that did participate that
10      were giving testimony but also from others.                         Concerns
11      and disagreements regarding with how lines were drawn.
12              Q.            And did those concerns overlap with some
13      of the challenged House districts in the amended
14      complaint?
15              A.            They did.
16              Q.            And do you recall if your plans combined
17      nineteen incumbents?
18                            MR. MOORE:         Objection as to form.
19              Q.            You may respond.
20              A.            Okay.      You're asking me if --
21              Q.            Do you remember if the map submitted by
22      the South Carolina conference combined nineteen
23      incumbents against each other?
24              A.            No.     I think I said no before.              That's
25      something I would have to look at.                      I can't -- I can't

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 1      state yes or no on that.

 2             Q.            Thank you.       I just have a few last

 3      questions about South Carolina NAACP membership.                     So

 4      you've been asked about the identity of South Carolina

 5      NAACP members by Mr. Moore and you stated your

 6      unwillingness to disclose names.                 Why are you concerned

 7      about disclosing the names of your membership?

 8             A.            I'm very concerned about disclosing the

 9      names because I have to look at the history in this

10      state in terms of what happened to people in past

11      years in some of these counties where their names were

12      disclosed.     They lost their jobs.               Some even had to

13      move out of state so that is a big concern, a great

14      concern for not disclosing the names of our

15      membership.

16             Q.            Thank you.       And do you have concerns

17      today about the same sort of reprisal that you just

18      described?

19             A.            I will and I always will.

20                           MR. INGRAM:       Thank you.        That is all I

21      have on redirect.

22                           MR. MOORE:       Mr. Tyson, do you have any

23      questions before I begin because I only have one or two?

24                           MR. TYSON:       No, I don't have any

25      questions.

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 1                           MR. MOORE:       Mr. Lambert.           Excuse me.

 2      Mr. Limehouse.

 3                           MR. LIMEHOUSE:        I do not.

 4

 5      EXAMINATION BY MR. MOORE:

 6             Q.            So Ms. Murphy, do you believe that you

 7      shouldn't have to disclose the names of your members in

 8      discovery?     Is that correct?

 9             A.            Well, not only is it a personal belief,

10      it is a national -- in terms of our constitution and

11      bylaws, we cannot disclose the names of members and

12      it's for a reason such as I have stated that we do

13      not.

14             Q.            You also don't want to disclose the

15      process by which you say trust us, we have people in

16      these challenged districts.               You don't want to disclose

17      that process either, do you, ma'am?

18                           MR. INGRAM:       Objection.        Misstating

19      testimony.

20             Q.            Please answer my question, Ms. Murphy.

21             A.            I stated as a requirement of our

22      national office, we are not to disclose the names of

23      our membership.

24             Q.            I didn't ask you a question about names.

25      I asked a question about process because -- I'm going to

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 1      ask you again.           Can you tell me what process and what
 2      records there are at the SC NAACP that can identify
 3      these members for names in the challenged districts?
 4                            MR. INGRAM:         Objection.         Asked and
 5      answered.
 6              Q.            Yes or no.
 7                            MR. INGRAM:         Objection.         Asked and
 8      answered.
 9              Q.            The answer is yes or no, ma'am.                  Can you
10      describe that for me?
11              A.            No.
12              Q.            Okay.      However --
13              A.            No.     Excuse me.         I cannot answer that
14      because of my restrictions because of policy from the
15      national organization that we do not disclose that
16      information.
17              Q.            But yet you're aware that your counsel
18      has taken the position that the House by virtue of your
19      challenge must subject all of its documents that are
20      arguably shielded by legislative privilege to scrutiny
21      by you.      Is that correct?
22                            MR. INGRAM:         Objection.         Objection.
23      Calls for a legal conclusion.
24              Q.            You may answer that question, Ms. Murphy.
25              A.            I would have to refer you to our

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 1      general counsel, the NAACP national office.

 2             Q.            And, Ms. Murphy, again as we sit here

 3      today, you can't give me a bit of evidence that you have

 4      to support your claim of purposeful racial

 5      discrimination, can you?

 6                           MR. INGRAM:       Objection.        Asked and

 7      answered.

 8             Q.            You can answer, Ms. Murphy.

 9             A.            I will again say in terms of looking at

10      the districts and how the lines have been drawn and

11      who live in those areas which is the outcome, the vote

12      for black people has been diluted.                  That's the outcome

13      statement.

14             Q.            There's a difference between outcome --

15      and that's your opinion that the votes of black people

16      have been diluted, right?              That's an opinion by you?

17             A.            Well --

18                           MR. INGRAM:       Objection.

19             A.            I again respond I'm a member of a

20      coalition.     We have evaluated these mappings, the

21      drawings, the mapping that has been done and that is

22      our opinion based on consultation with individuals

23      that have expertise in the area.

24                           MR. MOORE:       I don't have any further

25      questions.     Thank you.          As I said earlier, we're

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 1      leaving this deposition open because of the late

 2      production of documents.

 3                           Ms. Murphy, I didn't tell you this

 4      deposition would only take five hours.                       It was a goal

 5      but I will also say that in my opinion the reason this

 6      deposition went so long is because instead of giving

 7      responses, direct responses to questions, you engaged

 8      in soliloquy rather than answering the question.

 9      That's my opinion.

10                           MR. INGRAM:       This is harassment at this

11      point.

12                           MR. MOORE:       I just wanted to say that.

13                           MR. INGRAM:       This is harassment at this

14      point.    I want to make a record that you just launched a

15      diatribe at my client.

16                           MR. MOORE:       I didn't want to diatribe.

17      This is in response to her comments about the length of

18      the deposition so --

19                           MR. INGRAM:       Can I get on the record by

20      the court reporter about how long this deposition has

21      taken?

22                           THE COURT REPORTER:           Just a second.       Six

23      hours and six minutes.

24                           MR. INGRAM:       Thank you.

25                           MR. MOORE:       Again we will leave this

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 1      deposition open provided -- pending resolution by the

 2      Court of the issues surrounding the unanswered questions

 3      and the providing of other documents.                    I don't have

 4      anything further.           Mr. Tyson?

 5                           MR. TYSON:       No.    I'm good.       Thanks,

 6      everybody.     It's been a long day.               Thank you.

 7                           MR. INGRAM:       Thank you.

 8

 9                          FURTHER DEPONENT SAITH NOT

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 1                              C E R T I F I C A T E
 2
 3
 4      STATE OF ALABAMA)
 5      MOBILE COUNTY)
 6
 7                            I hereby certify that the above
 8      proceedings were taken down by me and transcribed by me
 9      and that the above is a true and correct transcript of
10      the said proceedings given by said witness.
11                            I further certify that I am neither of
12      counsel nor of kin to the parties nor in anywise
13      financially interested in the outcome of this case.
14
15
16
17                                       <%18286,Signature%>
18
19                                       JAN A. MANN
20                                       COMMISSIONER - NOTARY PUBLIC
21                                       ACCR NO. 321
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                      Federal Rules of Civil Procedure

                                        Rule 30



          (e) Review By the Witness; Changes.

          (1) Review; Statement of Changes. On request by the

          deponent or a party before the deposition is

          completed, the deponent must be allowed 30 days

          after being notified by the officer that the

          transcript or recording is available in which:

          (A) to review the transcript or recording; and

          (B) if there are changes in form or substance, to

          sign a statement listing the changes and the

          reasons for making them.

          (2) Changes Indicated in the Officer's Certificate.

          The officer must note in the certificate prescribed

          by Rule 30(f)(1) whether a review was requested

          and, if so, must attach any changes the deponent

          makes during the 30-day period.




          DISCLAIMER:       THE FOREGOING FEDERAL PROCEDURE RULES

          ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

          THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

          2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

          OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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          COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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     as submitted by the court reporter. Veritext Legal
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